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                       Exhibit 11D
                                REDACTED
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                     ....
                 -E•-...
                .~         ,
             ., I Chase Bank, NA
                                                                                December 31, 2022 through January 31, 2023
                                                                                 Account Number:                      2511
           .JX 182051

        .,mbus, OH 43218-2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                             Web site:                         Chase.com
                                                                             Service Center:               1-800-242-7338
    00252395 DRE 021 210 03223 NNNNNNNNNNN   1 000000000 64 0000             Para Espanol:                 1-888-622-4273
    MICHAEL WOLF                                                             International Calls:          1-713-262-1679

    SARASOTA FL 34236-5125




We're changing how we charge fees for ACH Payment Services
On March 1, 2023 we'll remove the $25 monthly subscription fee, and you'll only pay when you use the service.

Here's how the fees will change:

            Today: Monthly subscription cost + transaction fees
            •   $25 per month monthly subscription cost
            •    First 25 payments each month at no additional cost
            •    After that, each payment costs an additional $0.15 each

           Starting March 1: Transaction fees only
           •     First 10 payments each month: $2.50 each
           •     After that, each payment costs an additional $0.15 each

If you have questions, please call the number on this statement. We appreciate your business.

ICH ECKi NG SUMMARY I_ch_a_se_Bu_s_in_es_s_C_o_m_pl_et_e_C_he_c_ki_ng_ _ _ _ _ _ _ _ _ _ _ _ __
                                              INSTANCES                      AMOUNT
 Beginning Balance                                                      $108,805.05
 Deposits and Additions                               31                  34,300.61
 ATM & Debit Card Withdrawals                         93                 -16,449.91
 Electronic Withdrawals                               42                 -25,571.88
 Ending Balance                                      166                $101,083.87


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.




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            CHASEO                                                                 December 31, 2022 through January 31, 2023
                                                                                    Account Number:                     2511



How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 Maccount in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $100,939.49.
    •    $2,000 Chase Payment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
    For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
    Business Accounts at chase.com/business/disclosures or visit a Chase branch.


1   DEPOSITS AND ADDITIONSl---1- - - - - - - - - - - - - -
    DATE        DESCRIPTION                                                                                                   AMOUNT
    01/03       Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                    $385.86
                Descr:Transfer Sec:CCD Trace#:091000016338117 Eed:230103 Ind
                ID: St-R3Q7U5O7B0O2            Ind Name:Mmqb Trn: 0036338117Tc
    01/03       Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:     CO Entry                                     258.02
                Descr:Transfer Sec:CCD Trace#:111000022333976 Eed:230103 Ind
                ID:St-E3W6F9B3G1 K4            Ind Name:Mmqb Trn: 0032333976Tc
    01/05       Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                8,875.87
                Descr:Transfer Sec:CCD Trace#:091000013523263 Eed:230105 Ind
                ID:St-F7H5G8L9F5O6           Ind Name:Michael Wolf Trn: 0053523263Tc
    01/05       Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                1,157.13
                Descr:Transfer Sec:CCD Trace#:091000013548126 Eed:230105 Ind
                ID:St-A9S8V8Q1 C0U0           Ind Name:Mmqb Trn: 0053548126Tc
    01/05       Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                     576.80
                Descr:Transfer Sec:CCD Trace#:091000013538666 Eed:230105 Ind
                ID:St-S3P8T8V8Q2F9           Ind Name:Mmqb Trn: 0053538666Tc
    01/05       Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:     CO Entry                                      57.56
                Descr:Transfer Sec:CCD Trace#: 111000028343298 Eed:230105 Ind
                ID:St-P9P4D7V8Y8F7           Ind Name:Mmqb Trn: 0058343298Tc
    01/06       Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                     182.17
                Descr:Transfer Sec:CCD Trace#:091000016360107 Eed:230106 Ind
                ID:St-P5Q9F8I7C8E9          Ind Name:Michael Wolf Trn: 0066360107Tc
    01/10       Card Purchase Return 01/10 Hotelscom7245951064846 Hotels.Com WA Card 7957                                      396.64
    01/10       Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     182.17
                Descr:Transfer Sec:CCD Trace#:091000011397316 Eed:230110 Ind
                ID:St-U3V7V3X6Z6O1            Ind Name:Michael Wolf Trn: 0101397316Tc
    01/11       Orig CO Name:Formaspace, Lp           Orig ID:1141962605 Desc Date:230111 CO Entry                        4,500.00
                Descr:Payment Sec:CCD Trace#:053100307578451 Eed:230111 Ind ID:529708
                Ind Name:Mmqb Inc Trn: 0117578451Tc
    01/11       Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     769.73
                Descr:Transfer Sec:CCD Trace#:091000017804152 Eed:230111 Ind
                ID:St-S1O7G1 H5G0B0             Ind Name:Mmqb Trn: 0117804152Tc
    01/11       Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     580.06
                Descr:Transfer Sec:CCD Trace#:091000017857452 Eed:230111 Ind
                ID:St-A5O4Z2W2G5D3              Ind Name:Mmqb Trn: 0117857452Tc
    01/11       Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:     CO Entry                                      66.92
                Descr:Transfer Sec: CCD Trace#: 111000027624539 Eed:230111 Ind
                ID:St-P8I6K8L3A6K1         Ind Name:Mmqb Trn: 0117624539Tc
    01/17       Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     960.67
                Descr:Transfer Sec:CCD Trace#:091000018451521 Eed:230117 Ind
                ID:St-F8X3B1G2N9C8            Ind Name:Mmqb Trn: 0178451521Tc
    01/17       Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:     CO Entry                                     315.33
                Descr:Transfer Sec:CCD Trace#: 111000025620469 Eed:230117 Ind
                ID:St-N2U4Z3P4I2S1          Ind Name:Mmqb Trn: 0175620469Tc


                                                                                                                Page 2 of 8
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            .SEO                                                        December 31, 2022 through January 31, 2023
                                                                        Account Number:                     2511



IDEPOSITS AND ADDITIONS 1-r_co_nt_inu_e_dJ_ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE      DESCRIPTION                                                                                             AMOUNT
01/18     Orig CO Name:Ais              Orig ID:1029268000 Desc Date:230118 CO Entry                         7,500.00
          Descr:Payments Sec:CCD Trace#:021000029413464 Eed:230118 Ind ID:812913                                            =
01/19
          Ind Name:Mmgb/ Michael Wolf Trn: 0189413464Tc
          Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:    CO Entry                               771.72    ==
                                                                                                                            =

                                                                                                                            ==
          Descr:Transfer Sec:CCD Trace#:091000014298188 Eed:230119 Ind
          ID: St-P7G5F3L5F6Q0          Ind Name:Mmqb Trn: 0194298188Tc
                                                                            CO Entry                              545.12
                                                                                                                            ==
                                                                                                                            -
01/19     Orig CO Name:Stripe

          ID:St-P6D2F9O7V0A9
                                          Orig ID:4270465600 Desc Date:
          Descr:Transfer Sec:CCD Trace#: 111000022436296 Eed:230119 Ind
                                        Ind Name:Mmgb Trn: 0192436296Tc
                                                                                                                            --
                                                                                                                             =
01/19     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                              290.03
          Descr:Transfer Sec:CCD Trace#:091000014298305 Eed:230119 Ind                                                      =
                                                                                                                            =
          ID:St-N4S1T7P6Y685           Ind Name:Mmqb Trn: 0194298305Tc                                                      =
                                                                                                                            ===
01/20     Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                              385.86
          Descr:Transfer Sec:CCD Trace#:091000012190902 Eed:230120 Ind
          ID:St-B2F4Z5X3V3B6           Ind Name:Mmqb Trn: 0202190902Tc
01/20     Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:     CO Entry                               37.74
          Descr:Transfer Sec:CCD Trace#: 111000021283597 Eed:230120 Ind
          ID:St-T7M8Z9V4G2K7            Ind Name:Mmqb Trn: 0201283597Tc
01/23     ATM Check Deposit      01/23 3500 S Tamiami Tri Sarasota FL Card 7957                               1,025.00
01/23     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                            182.17
          Descr:Transfer Sec:CCD Trace#:091000019868124 Eed:230123 Ind
          ID: St-N4H0Y7Y6G4S8            Ind Name:Michael Wolf Trn: 0239868124Tc
01/25     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                          1,160.12
          Descr:Transfer Sec:CCD Trace#:091000017239208 Eed:230125 Ind
          ID:St-W1 F1 K9N1 J1 KO        Ind Name:Mmqb Trn: 0257239208Tc
01/25     Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:    CO Entry                              962.66
          Descr:Transfer Sec:CCD Trace#:091000017236720 Eed:230125 Ind
          ID: St-G8GOC9M6B7Q3              Ind Name:Mmgb Trn: 0257236720Tc
01/25     Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:    CO Entry                              181.14
          Descr:Transf er Sec: CCD Trace#:111000027847925 Eed:230125 Ind
          ID:St-X6K1O8E1 F0V1           Ind Name:Mmqb Trn: 0257847925Tc
01/26     Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:    CO Entry                              385.86
          Descr:Transfer Sec:CCD Trace#:091000018889559 Eed:230126 Ind
          ID: St-Z3E3N4G2U8E3            Ind Name:Mmqb Trn: 0268889559Tc
01/26     Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:    CO Entry                              364.34
          Descr:Transfer Sec:CCD Trace#:091000018926242 Eed:230126 Ind
          ID:St-D2B5Z8G0O1O6              Ind Name:Michael Wolf Trn: 0268926242Tc
01/27     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                              771.72
           Descr:Transfer Sec:CCD Trace#:091000013324383 Eed:230127 Ind
           ID:St-F1 U1W7O4S3H8             Ind Name:Mmqb Trn: 0273324383Tc
01/27      Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:    CO Entry                              290.03
           Descr:Transfer Sec:CCD Trace#:091000013325013 Eed:230127 Ind
           ID:St-O2W2B8M4H4I2             Ind Name:Mmgb Trn: 0273325013Tc
01/31      Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:    CO Entry                              182.17
           Descr:Transfer Sec:CCD Trace#:091000013112689 Eed:230131 Ind
           ID: St-T5D0W5HOJ2I1         Ind Name:Michael Wolf Trn: 0313112689Tc
Total Deposits and Additions                                                                               $34,300.61


IATM & DEBIT CARD WITHDRAWALS I
 DATE   DESCRIPTION                                                                                               AMOUNT
01/03   Card Purchase          12/30 Amazon.Com*Bg1 Br6E73 Amzn.Com/Bill WA Card 7957                             $102.70
01/03   Card Purchase          01/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                10.00
01/03   Card Purchase          01/02 Amazon.Com*8I6X96th3 Amzn.Com/Bill WA Card 7957                                39.99
01/03   Card Purchase          01/02 Amzn Mktp US*515B021 Amzn.Com/Bill WA Card 7957                                28.90
01/03   Card Purchase          01/03 Amzn Mktp US*J52IA8W Amzn.Com/Bill WA Card 7957                                18.75
01/04   Card Purchase          01/03 Quad Lock Prahran Card 7957                                                    34.19


                                                                                                    Page 3 of 8
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       CHASEO                                                          December 31, 2022 through January 31, 2023
                                                                       Account Number:                     2511



jATM & DEBIT CARD WITHDRAWALS! (continued)
DATE    DESCRIPTION                                                                                              AMOUNT
01/04   Card Purchase       01/04 Amzn Mktp US*893A24N Amzn.Com/Bill WA Card 7957                               25.63
01/04   Card Purchase       01/04 Amzn Mktp US*8L3L172 Amzn.Com/Bill WA Card 7957                                6.39
01/05   Card Purchase       01/04 Amzn Mktp US*Mp9Ag7Q Amzn.Com/Bill WA Card 7957                               47.74
01/05   Card Purchase       01/04 Amzn Mktp US*Yc8Sv3S Amzn.Com/Bill WA Card 7957                               24.60
01/05   ATM Withdrawal       01/05 3500 S Tamiami Tri Sarasota FL Card 7957                                  1,D00.00
01/06   Card Purchase       01/06 Amzn Mktp US*3O7T81Q Amzn.Com/Bill WA Card 7957                              117.65
01/06   Card Purchase       01/06 Amzn Mktp US*0E4Jl92 Amzn.Com/Bill WA Card 7957                               29.22
01/06   Card Purchase With Pin 01/06 Usps PO 11843003 1661 Sarasota FL Card 7957                               507.20
01/06   Card Purchase With Pin 01/06 Usps PO 11843003 1661 Sarasota FL Card 7957                               212.00
01/09   Card Purchase       01/06 Amzn Mktp US*7D4Kf86 Amzn.Com/Bill WA Card 7957                              106.99
01/09   Card Purchase       01/06 Amzn Mktp US*So9B15K Amzn.Com/Bill WA Card 7957                               20.32
01/09   Card Purchase       01/06 Amzn Mkte US*Lx8B68C Amzn.Com/Bill WA Card 7957                               37.40
01/09   Card Purchase       01/06 Usps.Com Clicknship 800-344-7779 DC Card 7957                                   9.90
01/09   Card Purchase       01/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                      15.99
01/09   Card Purchase       01/09 Mast Market Mastmarket.CO NY Card 7957                                        88.07
01/09   ATM Withdrawal        01/09 3500 S Tamiami Tri Sarasota FL Card 7957                                 1,000.00
01/10   Card Purchase       01/09 Amzn Mkte US*H99271 H Amzn.Com/Bill WA Card 7957                              26.70
01/10   Card Purchase       01/09 Amazon.Com*Ji8812O83 Amzn.Com/Bill WA Card 7957                               16.04
01/10   Recurring Card Purchase 01/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                  10.69
01/10   Card Purchase       01/10 Amzn Mkte US*NC54W9R Amzn.Com/Bill WA Card 7957                                 5.02
01/11   Card Purchase       01/10 Amzn Mktp US*Ld0Dm36 Amzn.Com/Bill WA Card 7957                               27.54
01/11   Card Purchase       01/11 Amzn Mktp US*Eb8F32F Amzn.Com/Bill WA Card 7957                                 8.55
01/11   Card Purchase       01/11 Amzn Mktp US*Np1855M Amzn.Com/Bill WA Card 7957                               32.09
01/11   Card Purchase       01/10 Amzn Mktp US*W77Xh5R Amzn.Com/Bill WA Card 7957                               15.34
01/11   Card Purchase       01/10 Amzn Mkte US*Ys4453M Amzn.Com/Bill WA Card 7957                               12.50
01/11   Card Purchase       01/10 Amzn Mktp US*1G1Fd4O Amzn.Com/Bill WA Card 7957                               26.63
01/11   Card Purchase       01/10 Amzn Mktp US*9M4Qa3U Amzn.Com/Bill WA Card 7957                               54.00
01/11   Card Purchase       01/10 Delta Air 00623584672 Delta.Com CA Card 7957                                 685.90
01/11   Card Purchase       01/11 Amzn Mktp US*Q50Gk6G Amzn.Com/Bill WA Card 7957                               37.45
01/12   Card Purchase       01/12 Amzn Mkte US*IL50O4O Amzn.Com/Bill WA Card 7957                               42.69
01/12   Card Purchase       01/11 Amazon.Com*R91 Mj0R23 Amzn.Com/Bill WA Card 7957                              20.85
01/12   Card Purchase       01/11 Amzn Mktp US*2W8Mw88 Amzn.Com/Bill WA Card 7957                               11.76
01/12   Card Purchase       01/12 Amzn Mktp US*9C1Op8E Amzn.Com/Bill WA Card 7957                               17.11
01/12   Card Purchase       01/12  Amzn Mktp US*At6F125 Amzn.Com/Bill WA Card 7957                              14.99
01/12   Recurring Card Purchase 01/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                           30.00
01/12   Card Purchase With Pin 01/12 Wholefds Sar 101 1451 Sarasota FL Card 7957                                93.47
01/13   Card Purchase        01/12 Amzn Mktp US*Ez92V6Y Amzn.Com/Bill WA Card 7957                              14.95
01/13   Card Purchase        01/12 Amzn Mktp US*Ej9Lb0X Amzn.Com/Bill WA Card 7957                               18.08
01/13   Card Purchase        01/13 Amzn Mktp US*9Y35D33 Amzn.Com/Bill WA Card 7957                              65.47
01/13   Card Purchase        01/12 Amzn Mktp US*Ji0O56Z Amzn.Com/Bill WA Card 7957                              31.02
01/13   Card Purchase        01/12 Amzn Mktp US*Ka7Br1M Amzn.Com/Bill WA Card 7957                              27.99
01/17   Card Purchase        01/13 Amzn Mktp US*Xw68Q14 Amzn.Com/Bill WA Card 7957                               14.93
01/17   Recurring Card Purchase 01/16 Audible*Dq21A5X33 Amzn.Com/Bill NJ Card 7957                               14.95
01/17   Recurring Card Purchase 01 /16 Apple. Com/Bill 866-712-7753 CA Card 7957                                  4.27
01/17   Recurring Card Purchase 01 /16 Apple. Com/Bill 866-712-7753 CA Card 7957                                 35.04
01/17   Recurring Card Purchase 01 /16 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                           97.98
01/18   Card Purchase        01/18 Amzn Mktp US*V209E5T Amzn.Com/Bill WA Card 7957                             168.73
01/18   Card Purchase        01/18 Amzn Mktp US*Pj75C1W Amzn.Com/Bill WA Card 7957                               29.95
01/18   Card Purchase        01/18 Amzn Mktp US*Z96Sh61 Amzn.Com/Bill WA Card 7957                               29.95
01/20   Card Purchase        01/20 Amzn Mktp US*Nu5Vs33 Amzn.Com/Bill WA Card 7957                               17.07
01/23   Card Purchase        01/20 Amzn Mktp US*Wp8T84F Amzn.Com/Bill WA Card 7957                           3,734.30

                                                                                                   Page 4 of 8
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                                                                        December 31, 2022 through January 31, 2023
                                                                        Account Number:                      2511




        . & DEBIT CARD WITHDRAWALSl_(c_on_tin_u_ed_~_ _ _ _ _ _ _ _ _ __
   ,E    DESCRIPTION                                                                                              AMOUNT
 1/23    Card Purchase       01/21 Amazon.Com*C11 Gt82H3 Amzn.Com/Bill WA Card 7957                              16.04
01/23    Card Purchase       01/20 Amzn Mkte US*2O3Y55H Amzn.Com/Bill WA Card 7957                               40.85     =
                                                                                                                           ===:::
01/23
01/23
         Card Purchase
         Card Purchase
                             01/21 Amzn Mktp US*To9Kr0H Amzn.Com/Bill WA Card 7957
                             01/21 Amzn Mktp US*3P2Mw3W Amzn.Com/Bill WA Card 7957
                                                                                                                 17.07
                                                                                                                 21.39
                                                                                                                           ===
                                                                                                                           ==
01/23    Card Purchase       01/21 Amazon.Com*As0Nw69C3 Amzn.Com/Bill WA Card 7957                                8.40     ====
01/23
01/23
         Card Purchase
         Card Purchase
                             01/20 Magic Village Views 407-992-8802 FL Card 7957
                             01/21 Amzn Mkte US*9W7CU0O Amzn.Com/Bill WA Card 7957
                                                                                                                339.59
                                                                                                                  9.54     -====
01/23    Card Purchase       01/21 Amzn Mktp US*T78Yz5A Amzn.Com/Bill WA Card 7957                               88.79
01/23    Card Purchase       01/21 Amzn Mktp US*Rf7O06D Amzn.Com/Bill WA Card 7957                               74.89
01/23    Card Purchase       01/21 Amzn Mktp US*NV2L650 Amzn.Com/Bill WA Card 7957                               20.32
01/23    Recurring Card Purchase 01/22 Covenant Health Produc 800-6276518 NC Card 7957                           41.15
                                                                                                                           =
01/23    Card Purchase       01/23 Amzn Mkte US*Qc1J~3J Amzn.Com/Bill WA Card 7957                               18.07
01/23    Card Purchase       01/23 Amazon Prime*Ox2K80T Amzn.Com/Bill WA Card 7957                              140.30
01/24    Card Purchase       01/23 Amzn Mktp US*D92Ld6S Amzn.Com/Bill WA Card 7957                               16.00
01/24    Card Purchase       01/23 Amzn Mkte US*Ow4Kz7J Amzn.Com/Bill WA Card 7957                               18.07
01/24    Card Purchase       01/23 Amzn Mktp US*4V7Km2V Amzn.Com/Bill WA Card 7957                                6.40
01/24    Card Purchase       01/23 Amzn Mktp US*IA4A512 Amzn.Com/Bill WA Card 7957                               51.35
01/24    Card Purchase       01/23 Amzn Mktp US*O283O1 B Amzn.Com/Bill WA Card 7957                               9.58
01/24    Recurring Card Purchase 01/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                  12.20
01/24    Recurring Card Purchase 01/23 Apele.Com/Bill 866-712-7753 CA Card 7957                                  11.08
01/24    Card Purchase       01/24 Sq *Fpl Evolution - Lan Gosq.Com FL Card 7957                                 14.13
01/24    Recurrin~ Card Purchase 01/24 Apele.Com/Bill 866-712-7753 CA Card 7957                                  16.64
01/25    Card Purchase       01/25 Apple.Com/US 800-676-2775 CA Card 7957                                     5,454.94
01/25    Card Purchase       01/25 Apple.Com/US 800-676-2775 CA Card 7957                                       298.53
01/25    Card Purchase       01/24 Amazon Kids+*Ch4Kg34W 888-802-3080 WA Card 7957                                4.99
01/25    Card Purchase       01/24 Amzn Mktp US*Am26813 Amzn.Com/Bill WA Card 7957                               43.95
01/25    Card Purchase       01/24 Aladdin Tour New York NY Card 7957                                            56.18
01/26    Card Purchase       01/25 Warby Parker Warbyparker.C NY Card 7957                                       80.00
01/26    Card Purchase       01/25 Warby Parker Warbyparker.C NY Card 7957                                      160.00
01/26    Card Purchase       01/26 Amz*Consumer Reeorts Customerservi NY Card 7957                               39.00
01/27    Card Purchase       01/26 Wdw Confectionery Lake Buena VI FL Card 7957                                  19.99
01/30    Card Purchase       01/27 Amzn Mkte US*Eq2Wb8N Amzn.Com/Bill WA Card 7957                               28.99
01/30    Recurring Card Purchase 01 /28 Apple. Com/Bill 866-712-7753 CA Card 7957                                17.19
01/30    Card Purchase       01/29 Tst* Food Plus Beer - 941-444-1101 FL Card 7957                               28.76
01/30    Recurring Card Purchase 01 /30 Tmobile* Auto Pay 800-937-8997 WA Card 7957                             197.92
01/31    Card Purchase        01/31 Amzn Mkte US*Ls7Cf8T Amzn.Com/Bill WA Card 7957                              49.99
Total ATM & Debit Card Withdrawals                                                                         $16,449.91



1 ATM & DEBIT CARD SUMMARY -1- - - - - - - - - - - - -

Michael A Wolf Card 7957
                       Total ATM Withdrawals & Debits                                                      $2,000.00
                       Total Card Purchases                                                               $14,449.91
                       Total Card Deposits & Credits                                                       $1,421.64
ATM & Debit Card Totals
                       Total ATM Withdrawals & Debits                                                       $2,000.00
                       Total Card Purchases                                                                $14,449.91
                       Total Card Deposits & Credits                                                        $1,421.64



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        CHASEO                                                              December 31, 2022 through January 31, 2023
                                                                            Account Number:                      2511




!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                                    AMOUNT
01/03   Zelle Payment To Peter Wolf Jpm999Kasi5Q                                                                 $5,000.00
01/03   Orig CO Name:Pwp Smartstop S         Orig ID: 626060084 Desc Date:     CO Entry                             146.97
        Descr:Privacycomsec:Web Trace#:021115087383213 Eed:230103 Ind ID:TN: 3728068
        Ind Name:(844) 771-8229 Trn: 0037383213Tc
01/03   Orig CO Name:Pwp Google Gsu          Orig ID: 626060084 Desc Date:     CO Entry                                  30.19
        Descr:Privacycomsec:Web Trace#:021115087382743 Eed:230103 Ind ID:TN: 5288798
        Ind Name:(844) 771-8229 Trn: 0037382743Tc
01/03   Orig CO Name:Pwp Pocket            Orig ID: 626060084 Desc Date:     CO Entry                                     4.99
        Descr:Privacycomsec:Web Trace#:021115087383197 Eed:230103 Ind ID:TN: 6446702
        Ind Name:(844) 771-8229 Trn: 0037383197Tc
01/03   Orig CO Name:Thebainbridge-10        Orig ID:9000326709 Desc Date:010323 CO Entry                          2,835.79
        Descr:Web Pmts Sec:Web Trace#:111924682498285 Eed:230103 Ind ID:Fq2W5C
        Ind Name:Peterwolf
        805-699-2040 Trn: 0032498285Tc
01/03   Orig CO Name:Yardi Service Ch       Orig ID:9000278329 Desc Date:010323 CO Entry                                  0.95
        Descr:Web Pmts Sec:Web Trace#:111924682491012 Eed:230103 Ind ID:K41V5C
        Ind Name:Peterwolf
        805-699-2040 Trn: 0032491012Tc
01/03   Orig CO Name:Pwp The Economi          Orig ID: 626060084 Desc Date:     CO Entry                                199.00
        Descr:Privacycomsec:Web Trace#:021115081195470 Eed:230103 Ind ID:TN: 1412312
        Ind Name:(844) 771-8229 Trn: 0031195470Tc
01/04   Orig CO Name:Pwp Intuit *Qbo       Orig ID: 626060084 Desc Date:     CO Entry                                    25.00
        Descr:Privacycomsec:Web Trace#:021115082191090 Eed:230104 Ind ID:TN: 1575302
        Ind Name:(844) 771-8229 Trn: 0042191090Tc
01/05   Zelle Payment To Caren Baltasi 15959527531                                                                      500.00
01/05   Orig CO Name:Unitedhealthcare       Orig ID:1836282001 Desc Date:     CO Entry                                  188.83
        Descr:Premium Sec:Web Trace#:021000028727448 Eed:230105 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 0058727448Tc
01/05   Orig CO Name:Pwp Bogner Ecom           Orig ID: 626060084 Desc Date:    CO Entry                                133.75
        Descr:Privacycomsec:Web Trace#:021115083325165 Eed:230105 Ind ID:TN: 8914402
        Ind Name:(844) 771-8229 Trn: 0053325165Tc
01/06   Orig CO Name:Wepay               Orig ID:5551232356 Desc Date:230106 CO Entry                                     9.95
        Descr:Payments Sec:PPD Trace#:021000020214374 Eed:230106 Ind ID:21104992
        Ind Name:Michael A Wolf          Nte*Zzz*Acct Recovery\ Trn: 0060214374Tc
01/09   Orig CO Name:Pwp Hidden Harb         Orig ID: 626060084 Desc Date:     CO Entry                            2,016.95
        Descr:Privacycomsec:Web Trace#:021115087272863 Eed:230109 Ind ID:TN: 8532929
        Ind Name:(844) 771-8229 Trn: 0097272863Tc
01/09   Orig CO Name:Pwp Courts/Usdc         Orig ID: 626060084 Desc Date:     CO Entry                                 505.00
        Descr:Privacycomsec:Web Trace#:021115087272646 Eed:230109 Ind ID:TN: 1388463
        Ind Name:(844) 771-8229 Trn: 0097272646Tc
01/09   Orig CO Name:Pwp Courts/Usdc         Orig ID: 626060084 Desc Date:     CO Entry                                 505.00
        Descr:Privacycomsec:Web Trace#:021115087272647 Eed:230109 Ind ID:TN: 1809181
        Ind Name:(844) 771-8229 Trn: 0097272647Tc
01/09   Orig CO Name:Pwp Courts/Usdc         Orig ID: 626060084 Desc Date:     CO Entry                                 505.00
        Descr:Privacycomsec:Web Trace#:021115087272648 Eed:230109 Ind ID:TN: 3478742
        Ind Name:(844) 771-8229 Trn: 0097272648Tc
01/09   Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:       CO Entry Descr:Transfer                      314.00
        Sec:CCD Trace#:091000016997678 Eed:230109 Ind ID:St-B4S9A4B3P2L0                    Ind
        Name:Mmqb Trn: 0096997678Tc
01/09   Orig CO Name:Pwp Niceboard.C         Orig ID: 626060084 Desc Date:     CO Entry                                 179.00
        Descr:Privacycomsec:Web Trace#:021115083970480 Eed:230109 Ind ID:TN: 7460759
        Ind Name:(844) 771-8229 Trn: 0093970480Tc
01/09   Orig CO Name:Pwp Grammarly C           Orig ID: 626060084 Desc Date:    CO Entry                                139.95
         Descr:Privacycomsec:Web Trace#:021115083970478 Eed:230109 Ind ID:TN: 7285766
         Ind Name:(844) 771-8229 Trn: 0093970478Tc
01/10   Orig CO Name:Ollo              Orig ID:9000002835 Desc Date:      CO Entry Descr:Mobile                        1,515.92
         Pymsec:Web Trace#:124384601707364 Eed:230110 Ind ID:230090313977738                    Ind
         Name:Michael Wolf Trn: 0101707364Tc
01/10   Zelle Payment To Peter Wolf Jpm999Kpnbsq                                                                        209.00
01/10   Zelle Payment To Peter Wolf Jpm999Kpnv5L                                                                        439.39

                                                                                                         Page 6 of 8
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                                                                             December 31, 2022 through January 31, 2023
                                                                             Account Number:                    2511



               AIC WITHDRAWALSj_(c_o_nt_inu_e_d)_ _ _ _ _ _ _ _ _ _ _ _ _ __
           ,~RIPTION                                                                                               AMOUNT
         .Jrig CO Name:Vw Credit, Inc.     Orig ID:1382362409 Desc Date:230112 CO Entry                            247.10
         Descr:Auto Debitsec: Web Trace#:02200002207 4581 Eed:230112 Ind I D:000008132333861
                                                                                                                              =
01/17
         Ind Name:Michael Wolf
         65202301100000000007Trn: 0122074581Tc
         Orig CO Name:Pwp VAN Wezel P          Orig ID: 626060084 Desc Date:     CO Entry                          264.00
                                                                                                                              ==
                                                                                                                              =


                                                                                                                              ===
                                                                                                                              ====
         Descr:Privacycomsec:Web Trace#:021115089098522 Eed:230117 Ind ID:TN: 1851664

01/17
         Ind Name:(844) 771-8229 Tm: 0179098522Tc
         Orig CO Name:Pwp lnvoiceninj       Orig ID: 626060084 Desc Date:     CO Entry                               10.00
                                                                                                                              ===
                                                                                                                              -
                                                                                                                              -=====
         Descr:Privacycomsec:Web Trace#:021115089071067 Eed:230117 Ind ID:TN: 2836586
         Ind Name:(844) 771-8229 Tm: 0179071067Tc
01/18    Orig CO Name:Fpl Direct Debit     Orig ID:3590247775 Desc Date:01/23 CO Entry                              196.57
         Descr:Elec Pymt Sec:Web Trace#:111000010489026 Eed:230118 Ind ID:4842986087 Webi                                     =
         Ind Name:Scott Wolf
         OOOOOOOOOOOOOOOOOOOOTrn: 0180489026Tc
01/18    Orig CO Name:Pwp Geico *Aut         Orig ID: 626060084 Desc Date:     CO Entry                            273.70
         Descr:Privacycomsec:Web Trace#:021115080793668 Eed:230118 Ind ID:TN: 2222639
         Ind Name:(844) 771-8229 Tm: 0180793668Tc
01/19    Orig CO Name:Pwp Hidden Harb         Orig ID: 626060084 Desc Date:     CO Entry                             49.10
         Descr:Privacycomsec:Web Trace#:021115084369344 Eed:230119 Ind ID:TN: 3727491
         Ind Name:(844) 771-8229 Tm: 0194369344Tc
01/19    Orig CO Name:Pwp Moonbeam             Orig ID: 626060084 Desc Date:     CO Entry                            18.00
         Descr:Privacycomsec:Web Trace#:021115084369458 Eed:230119 Ind ID:TN: 1115965
         Ind Name:(844) 771-8229 Tm: 0194369458Tc
01/20    Orig CO Name:Bmw Bank              Orig ID:0870631885 Desc Date:230119 CO Entry                            817.50
         Descr:Bmwfs Pymtsec:PPD Trace#:021000024687938 Eed:230120 Ind ID:
         Ind Name:Michael Wolf1004495593 Trn: 0204687938Tc
01/20    Orig CO Name:Pwp Alivecor IN       Orig ID: 626060084 Desc Date:     CO Entry                                 9.99
         Descr:Privacycomsec:Web Trace#:021115082009387 Eed:230120 Ind ID:TN: 2254225
         Ind Name:(844) 771-8229 Trn: 0202009387Tc
01/20    Orig CO Name:Pwp Memberful.C          Orig ID: 626060084 Desc Date:     CO Entry                           100.20
         Descr:Privacycomsec:Web Trace#:021115083166066 Eed:230120 Ind ID:TN: 1419862
         Ind Name:(844) 771-8229 Trn: 0203166066Tc
01/23    Zelle Payment To Peter Wolf Jpm999L6Fwu9                                                                   529.68
01/23    Orig CO Name:Stripe            Orig ID:4270465600 Desc Date:       CO Entry Descr:Transfer                  44.95
         Sec:CCD Trace#:111000020405686 Eed:230123 Ind ID:St-Z7U6ROl3Q8S8                    Ind
         Name:Mmqb Trn: 0230405686Tc
01/23    Orig CO Name:Pwp Usps.Com Cl          Orig ID: 626060084 Desc Date:     CO Entry                              9.90
         Descr:Privacycomsec:Web Trace#:021115089915557 Eed:230123 Ind ID:TN: 9219687
          Ind Name:(844) 771-8229 Trn: 0239915557Tc
01/25    Orig CO Name:Pwp Notion Labs         Orig ID: 626060084 Desc Date:     CO Entry                             40.00
          Descr:Privacycomsec:Web Trace#:021115086920444 Eed:230125 Ind ID:TN: 1425795
          Ind Name:(844) 771-8229 Trn: 0256920444Tc
01/26    Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:     CO Entry                             54.99
          Descr:Privacycomsec:Web Trace#:021115088969182 Eed:230126 Ind ID:TN: 1762960
          Ind Name:(844) 771-8229 Tm: 0268969182Tc
01/27    Orig CO Name:Pwp Spn*Seadoo           Orig ID: 626060084 Desc Date:     CO Entry                           137.96
          Descr:Privacycomsec:Web Trace#:021115083155180 Eed:230127 Ind ID:TN: 2478676
          Ind Name:(844) 771-8229 Trn: 0273155180Tc
)1/30    Orig CO Name:Pwp Openphone            Orig ID: 626060084 Desc Date:     CO Entry                            10.00
          Descr:Privacycomsec:Web Trace#:021115081718233 Eed:230130 Ind ID:TN: 8764249
          Ind Name:(844) 771-8229 Trn: 0301718233Tc
 11/31   Orig CO Name:Ollo              Orig ID:9000002835 Desc Date:      CO Entry Descr:Mobile                  2,298.62
          Pymsec:Web Trace#:124384603173633 Eed:230131 Ind ID:230290317158417                    Ind
          Name:Michael Wolf Trn: 0313173633Tc
 1/31    Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:     CO Entry                             54.99
          Descr:Privacycomsec:Web Trace#:021115083211873 Eed:230131 Ind ID:TN: 1281048
          Ind Name:(844) 771-8229 Trn: 0313211873Tc
 1/31     Zelle Payment To Peter Wolf Jpm999Mqb5HI                                                                5,000.00
  :,tal Electronic Withdrawals                                                                                 $25,571.88
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        CHASEO                                                                                    December 31, 2022 through January 31, 2023
                                                                                                   Account Number:                         2511



IDAILy ENDING BALANCE I
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                              AMOUNT

01/03                     $101,030.70                 01/12                         106,469.30                01/24                         110,862.82
01/04                       100,939.49                01/13                         106,311.79                01/25                         107,268.15
01/05                       109,711.93                01/17                         107,146.62                01/26                         107,684.36
01/06                       109,018.08                01/18                         113,947.72                01/27                         108,588.16
01/09                       103,574.51                 01/19                        115,487.49                01/30                         108,305.30
01/10                       101,930.56                 01/20                        114,966.33                01/31                         101,083.87
01/11                       106,947.27                 01/23                        111,018.27


 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •     Your name and account number;
         •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •     The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 8 of 8
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      CHASEO                                                                    February 01, 2023 through February 28, 2023
     JPMorgan Chase Bank, N.A.
     PO Box 182051                                                              Account Number:                      2511
     Columbus, OH 43218 -2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                             Web site:                          Chase.com
                                                                             Service Center:                1-800-242-7338
    00254700 DRE 021 210 06023 NNNNNNNNNNN   1 000000000 64 0000             Para Espanol:                  1-888-622-4273
    MICHAEL WOLF                                                             International Calls:           1-713-262-1679    =
                                                                                                                              =
     SARASOTA FL 34236-5125                                                                                                   -
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We're changing how we charge fees for ACH Payment Services
On March 1, 2023 we'll remove the $25 ACH Payments Monthly Fee, and you'll only pay when you use the services.

Here's how the fees will change:

             Starting March 1:
                      No monthly fee for ACH Payment Services

                      For standard ACH Payments - Transaction fees will change to:
                              First 10 payments each month: $2.50 each
                              After that, each payment costs $0.15 each

             Transaction fees for Real Time Payments and Same Day ACH will not change.

If you have questions, please call the number on this statement. We appreciate your business.

I CHECKING SUMMARY I Chase Business Complete Checking
                                              INSTANCES                      AMOUNT
 Beginning Balance                                                      $101,083.87
 Deposits and Additions                                36                 53,120.56
 ATM & Debit Card Withdrawals                         67                  -3,944.64
 Electronic Withdrawals                               32                  -7,975.10
 Ending Balance                                      135                $142,284.69


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.




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        CHASEO                                                                    February 01, 2023 through February 28, 2023
                                                                                  Account Number:                       2511


How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 M account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $102,926.01.
    ,.   $2,000 Chase Payment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


IDEPOSITS AND ADDITIONS I
DATE         DESCRIPTION                                                                                                     AMOUNT
02/01       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                 $1,155.59
            Descr:Transfer Sec:CCD Trace#:091000012513648 Eed:230201 Ind
            ID: St-L9U4Z2Y3X4K2          Ind Name:Mmqb Trn: 0322513648Tc
02/01       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                       546.51
            Descr:Transfer Sec:CCD Trace#:091000012506024 Eed:230201 Ind
            ID:St-V0H8S5D6U4N5             Ind Name:Michael Wolf Trn: 0322506024Tc
02/01       Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                       305.87
            Descr:Transfer Sec:CCD Trace#: 111000020084179 Eed:230201 Ind
            ID:St-S8H1C6E0L9C3            Ind Name:Mmqb Trn: 0320084179Tc
02/02       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                  7,244.70
            Descr:Transfer Sec:CCD Trace#:091000015117792 Eed:230202 Ind
            ID:St-W9C8M5A6X9B7               Ind Name:Michael Wolf Trn: 0335117792Tc
02/06       Card Purchase Return 02/06 Amazon.Com Amzn.Com/Bill WA Card 7957                                                35.63
02/06       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                  8,875.87
            Descr:Transfer Sec:CCD Trace#:091000018878169 Eed:230206 Ind
            ID:St-F5A8I6O1 D0L9         Ind Name:Michael Wolf Trn: 0378878169Tc
02/06       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                       964.65
            Descr:Transfer Sec:CCD Trace#:091000018755152 Eed:230206 Ind
            ID: St-R6H3R5R4O7X7             Ind Name:Mmqb Trn: 0378755152Tc
02/06       Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                        28.78
            Descr:Transfer Sec:CCD Trace#: 111000029638214 Eed:230206 Ind
            ID:St-Z7H3J0N4W4V5             Ind Name:Mmgb Trn: 0379638214Tc
02/08       ATM Check Deposit     02/08 3500 S Tamiami Tri Sarasota FL Card 7957                                         1,025.00
02/08       Orig CO Name:Groupe Lacasse            Orig ID:9039312001 Desc Date:230208 CO Entry                         10,800.00
            Descr:Corp Pay Sec:CCD Trace#:021000027615010 Eed:230208 Ind ID:13112
            Ind Name:Mmqb Inc Trn: 0397615010Tc
02/08       Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                        28.78
            Descr:Transfer Sec:CCD Trace#: 111000027279895 Eed:230208 Ind
            I D:St-N1 E8V9H1 A0Z0         Ind Name:Mmqb Trn: 0397279895Tc
02/10       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                      1,927.31
            Descr:Transfer Sec:CCD Trace#:091000016410159 Eed:230210 Ind
            ID:St-Q7F9O1 Y7O0L8            Ind Name:Mmqb Trn: 0416410159Tc
02/10       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                                       290.03
            Descr:Transfer Sec:CCD Trace#:091000016408976 Eed:230210 Ind
            ID: St-K8E4 Y0U5Y7P0          Ind Name:Mmqb Trn: 0416408976Tc
02/10       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                       182.17
            Descr:Transfer Sec:CCD Trace#:091000016396852 Eed:230210 Ind
            ID: St-G6O6M5E3S3I2           Ind Name:Michael Wolf Trn: 0416396852Tc
02/10       Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                        76.63
            Descr:Transfer Sec:CCD Trace#: 111000025701116 Eed:23021 0 Ind
            ID: St-U4N7W8A4Z0D3             Ind Name:Mmqb Trn: 0415701116Tc
02/13       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                                       182.17
            Descr:Transfer Sec:CCD Trace#:091000014483427 Eed:230213 Ind
            ID:St-I2B4H0l1I3S1        Ind Name:Michael Wolf Trn: 0444483427Tc

                                                                                                               Page 2 of 8
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        CHASEO                                                           February 01, 2023 through February 28, 2023
                                                                         Account Number:                       2511



!DEPOSITS AND ADDITIONSit--< _ c o _ n t _ i n u _ e d _ ~ - - - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                               AMOUNT
02/15     Payment Received     02/15 Stripe Visa Direct NY Card 7957                                                747.56
02/15     Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:    CO Entry                                 364.34   =
          Descr:Transfer Sec:CCD Trace#:091000015420913 Eed:230215 Ind
                                                                                                                             ==
          ID:St-Q2S1T4V7J0F1           Ind Name:Michael Wolf Trn: 0465420913Tc                                               ====
02/15     Payment Received     02/15 Stripe Visa Direct NY Card 7957                                                191.02   ====
02/16     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                                 192.93
          Descr:Transfer Sec:CCD Trace#:091000016066233 Eed:230216 Ind
          ID: St-N8O5Y2K7C0X6           Ind Name:Mmqb Trn: 0476066233Tc
02/16     Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:
          Descr:Transfer Sec:CCD Trace#: 111000022319175 Eed:230216 Ind
                                                                           CO Entry                                  47.85   ====
                                                                                                                             =
          ID:St-M1 Y8U0G5M9E9             Ind Name:Mmqb Trn: 0472319175Tc
02/17     Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:    CO Entry                                 182.17
          Descr:Transfer Sec:CCD Trace#:091000019797259 Eed:230217 Ind
          ID: St-I2M3D0L3V4F8         Ind Name:Michael Wolf Trn: 0489797259Tc
02/21     Patment Received     02/19 Striee Visa Direct NY Card 7957                                            1,146.12
02/22     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                               182.17
          Descr:Transfer Sec:CCD Trace#:091000010351832 Eed:230222 Ind
          ID:St-C5U8W4G7O4Y1              Ind Name:Michael Wolf Trn: 0530351832Tc
02/23     Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:    CO Entry                             1,157.13
          Descr:Transfer Sec:CCD Trace#:09100001278487 4 Eed:230223 Ind
          ID:St-A5B9C5R3D6C6            Ind Name:Mmgb Trn: 0542784874Tc
02/23     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                                 576.80
          Descr:Transfer Sec:CCD Trace#:091000012785112 Eed:230223 Ind
          ID: St-W8F3B4B5M4L5            Ind Name:Mmqb Trn: 0542785112Tc
02/23     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                                 182.17
          Descr:Transfer Sec:CCD Trace#:091000013132066 Eed:230223 Ind
          ID:St-F2M1 Z7T6M5N2            Ind Name:Michael Wolf Trn: 0543132066Tc
02/23     Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:    CO Entry                                  85.59
          Descr:Transfer Sec:CCD Trace#: 111000020735326 Eed: 230223 Ind
          ID:St-O1 L6N1 B9E4U9          Ind Name:Mmqb Trn: 0540735326Tc
02/24     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                             1,468.41
          Descr:Transfer Sec:CCD Trace#:091000019109731 Eed:230224 Ind
          ID:St-A1H1F5A4X0C6            Ind Name:Michael Wolf Trn: 0559109731Tc
02/24     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                                 192.93
          Descr:Transfer Sec:CCD Trace#:091000019116373 Eed:230224 Ind
          ID:St-G6J3D7Q6W2N3              Ind Name: Mmgb Trn: 0559116373Tc
02/24     Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:    CO Entry                                  38.14
          Descr:Transfer Sec:CCD Trace#: 111000028715278 Eed:230224 Ind
          ID: St-Y0Z7D6O8B3G8            Ind Name:Mmqb Trn: 0558715278Tc
02/27     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                             8,693.70
          Descr:Transfer Sec:CCD Trace#:091000012791992 Eed:230227 Ind
          ID:St-G7P6Z8E5N2K0            Ind Name:Michael Wolf Trn: 0582791992Tc
02/27     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                             1,157.58
          Descr:Transfer Sec:CCD Trace#:091000012799625 Eed:230227 Ind
          ID:St-K3M5Q0Q1 R0A6             Ind Name:Mmqb Trn: 0582799625Tc
02/27     Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:   CO Entry                                 287.04
          Descr:Transfer Sec:CCD Trace#:091000012799501 Eed:230227 Ind
          ID: St-l0J4N2N3E4N8         Ind Name:Mmqb Trn: 0582799501 Tc
02/27     Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:    CO Entry                                  57.22
          Descr:Transfer Sec:CCD Trace#:111000023550784 Eed:230227 Ind
          ID: St-L0O5T3I6E6R3         Ind Name:Mmqb Trn: 0583550784Tc
02/28     ATM Check Deeosit     02/28 3500 S Tamiami Tri Sarasota FL Card 7957                                  2,500.00
Total Deposits and Additions                                                                                 $53,120.56




                                                                                                      Page 3 of 8
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       CHASEO                                                         February 01, 2023 through February 28, 2023
                                                                      Account Number:                       2511



IATM & DEBIT CARD WITHDRAWALS!
DATE    DESCRIPTION                                                                                              AMOUNT
02/01   Card Purchase       01/31 Amazon.Com*Vl9N18H13 Amzn.Com/Bill WA Card 7957                                $18.17
02/01   Card Purchase       02/01 Amzn Mktp US*268Ue0Q Amzn.Com/Bill WA Card 7957                                 34.45
02/01   Card Purchase       02/01 Amzn Mktp US*1 F5L20Z Amzn.Com/Bill WA Card 7957                                19.25
02/01   Card Purchase With Pin 02/01 Wholefds Sar 101 1451 Sarasota FL Card 7957                                  93.96
02/02   Card Purchase       02/01 Amzn Mktp US*1C41s3F Amzn.Com/Bill WA Card 7957                                 64.15
02/02   Card Purchase       02/01 Amzn Mktp US*Tv4A74C Amzn.Com/Bill WA Card 7957                                 27.99
02/02   Card Purchase       02/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                 10.00
02/03   Card Purchase       02/03 Apple.Com/US 800-676-2775 CA Card 7957                                         319.93
02/03   Card Purchase       02/02 Amzn Mktp US*Nn2E410 Amzn.Com/Bill WA Card 7957                                 22.14
02/03   Card Purchase       02/03 Amzn Mktp US*Ys4Tg6P Amzn.Com/Bill WA Card 7957                                 19.25
02/03   Card Purchase       02/03 Amzn Mktp US*Ml2Mu4W Amzn.Com/Bill WA Card 7957                                 16.14
02/03   Card Purchase       02/03 Amzn Mktp US*3V62A1 N Amzn.Com/Bill WA Card 7957                                16.04
02/03   Card Purchase       02/03 Amzn Mktp US*As5Zk5H Amzn.Com/Bill WA Card 7957                                 27.81
02/06   Card Purchase       02/04 Amazon.Com*C33Db9Jm3 Amzn.Com/Bill WA Card 7957                                 35.63
02/06   Card Purchase       02/03 Amazon.Com*Ch4709T83 Amzn.Com/Bill WA Card 7957                                 74.89
02/06   Card Purchase       02/04 Amzn Mktp US*Vy8Pl54 Amzn.Com/Bill WA Card 7957                                 17.11
02/06   Card Purchase       02/04 Amazon.Com*Ch6Su85M3 Amzn.Com/Bill WA Card 7957                                 22.15
02/06   Card Purchase       02/06 Amazon.Com*Tg44C8P43 Amzn.Com/Bill WA Card 7957                                 35.63
02/06   Recurring Card Purchase 02/05 Apple.Com/Bill 866-712-7753 CA Card 7957                                    15.99
02/06   Card Purchase With Pin 02/06 Lowe's #1935 Sarasota FL Card 7957                                           51.32
02/07   Card Purchase       02/07 Amzn Mktp US*Ni5032G Amzn.Com/Bill WA Card 7957                                 10.69
02/07   Card Purchase       02/07 Amazon.Com*A21WV3Ug3 Amzn.Com/Bill WA Card 7957                                 13.17
02/07   Card Purchase       02/07 Amazon.Com*4N5Pe51O3 Amzn.Com/Bill WA Card 7957                                  6.71
02/08   Card Purchase       02/07 Amazon.Com*Xu9Q17T83 Amzn.Com/Bill WA Card 7957                                 25.42
02/08   Card Purchase       02/07 Nespresso USA Inc Wilmington De Card 7957                                       40.00
02/08   Card Purchase       02/08 Hotelscom7248701848247 Hotels.Com WA Card 7957                                  66.25
02/09   Card Purchase       02/08 Amazon.Com*Sm9W983C3 Amzn.Com/Bill WA Card 7957                                 38.52
02/09   Card Purchase       02/09 Amazon.Com*R47Qw3L23 Amzn.Com/Bill WA Card 7957                                 74.15
02/09   Card Purchase       02/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                         6.65
02/10   Recurring Card Purchase 02/10 Apple.Com/Bill 866-712-7753 CA Card 7957                                    10.69
02/10   Card Purchase       02/10 Amzn Mktp US*He45L6Z Amzn.Com/Bill WA Card 7957                                125.18
02/10   Card Purchase       02/10 Amzn Mktp US*316Qe93 Amzn.Com/Bill WA Card 7957                                 19.25
02/13   Card Purchase        02/10 Amzn Mktp US*063Vv21 Amzn.Com/Bill WA Card 7957                                22.45
02/13   Card Purchase        02/11 Amzn Mktp US*9X8Jq2T Amzn. Com/Bill WA Card 7957                               11.76
02/13   Card Purchase        02/12 Amazon.Com*Zr16F8A53 Amzn.Com/Bill WA Card 7957                                32.09
02/13   Recurring Card Purchase 02/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                             30.00
02/14   Card Purchase        02/14 Amzn Mktp US*He3Cw0A Amzn.Com/Bill WA Card 7957                                22.46
02/15   Card Purchase        02/14 Amzn Mktp US*He75W3N Amzn.Com/Bill WA Card 7957                                17.11
02/15   Card Purchase        02/14 Amazon.Com*He75W0Nk2 Amzn.Com/Bill WA Card 7957                                10.88
02/15   Card Purchase        02/14 Amzn Mktp US*He6Ql4A Amzn.Com/Bill WA Card 7957                                21.39
02/16   Card Purchase        02/15 United     016246586 800-932-2732 TX Card 7957                                696.60
02/16   Card Purchase        02/15 United     016983176 800-932-2732 TX Card 7957                                 88.00
02/16   Card Purchase        02/15 United     016983176 800-932-2732 TX Card 7957                                 88.00
02/16   Card Purchase        02/15 Amzn Mktp US*He18F40 Amzn.Com/Bill WA Card 7957                               140.04
02/16   Card Purchase        02/16 Amzn Mktp US*He35B7B Amzn.Com/Bill WA Card 7957                                 7.48
02/16   Recurring Card Purchase 02/15 Audible*He1U95162 Amzn.Com/Bill NJ Card 7957                                14.95
02/17   Recurring Card Purchase 02/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                     4.27
02/17   Recurring Card Purchase 02/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                    35.04
02/17   Recurring Card Purchase 02/16 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                             97.98
02/17   Card Purchase        02/16 Amzn Mktp US*Hp6Ek8T Amzn.Com/Bill WA Card 7957                                14.94

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        CHASEO                                                         February 01, 2023 through February 28, 2023
                                                                       Account Number:                      2511



IATM & DEBIT CARD WITHDRAWALS! (continued)
DATE    DESCRIPTION                                                                                               AMOUNT
02/17   Card Purchase       02/17 Amzn Mktp US*Hp8Go41 Amzn.Com/Bill WA Card 7957                                  18.07
02/17   Card Purchase       02/17 Amzn Mktp US*He9Le6Q Amzn.Com/Bill WA Card 7957                                  19.25    =
02/21
02/21
        Card Purchase
        Card Purchase
                            02/20 Amzn Mktp US*Hp0H56O Amzn.Com/Bill WA Card 7957
                            02/17 Sp Grayson Clothiers Httpsgreysonc NY Card 7957
                                                                                                                   42.69
                                                                                                                  525.37
                                                                                                                            ==
                                                                                                                            =


                                                                                                                            ==
02/21
02/21
        Card Purchase
        Card Purchase
                            02/19 Jan Stephensons Crossr Palm Harbor FL Card 7957
                            02/20 Glf*Wocountryclub Winter Garden FL Card 7957
                                                                                                                   16.05
                                                                                                                   21.30
                                                                                                                            ==
                                                                                                                            -
02/22
02/22
        Recurring Card Purchase 02/21 Covenant Health Produc 800-6276518 NC Card 7957
        Recurring Card Purchase 02/22 Apple.Com/Bill 866-712-7753 CA Card 7957
                                                                                                                   41.15
                                                                                                                   12.20    ==
                                                                                                                            ==
                                                                                                                            -
02/23
02/23
        Card Purchase       02/22 Amzn Mktp US*Hd9U36C Amzn.Com/Bill WA Card 7957
        Recurring Card Purchase 02/23 Apple.Com/Bill 866-712-7753 CA Card 7957
                                                                                                                   23.99
                                                                                                                   11.08    =
                                                                                                                            =
                                                                                                                            =
                                                                                                                            ===
02/27   Card Purchase       02/24 Amazon Kids+*Hd3Wk0Ee 888-802-3080 WA Card 7957                                   4.99
02/27   Card Purchase       02/25 Amzn Mktp US*Hp8Kh32 Amzn.Com/Bill WA Card 7957                                 119.07
02/27   Card Purchase       02/25 Amzn Mktp US*Hp1Y357 Amzn.Com/Bill WA Card 7957                                  11.76
02/27   Card Purchase       02/26 Amzn Mktp US*Hd42P08 Amzn.Com/Bill WA Card 7957                                  10.69
02/27   Recurring Card Purchase 02/27 Tmobile*Auto Pay 800-937-8997 WA Card 7957                                  197.92
02/28   Recurring Card Purchase 02/28 Apple.Com/Bill 866-712-7753 CA Card 7957                                     34.94
02/28   ATM Withdrawal       02/28 3500 S Tamiami Tri Sarasota FL Card 7957                                       100.00
Total ATM & Debit Card Withdrawals                                                                          $3,944.64



IATM & DEBIT CARD SUMMARY!                        1--- - - - - - - - - - - - -


Michael A Wolf Card 7957
                       Total ATM Withdrawals & Debits                                                         $100.00
                       Total Card Purchases                                                                 $3,844.64
                       Total Card Deposits & Credits                                                        $5,645.33
ATM & Debit Card Totals
                       Total ATM Withdrawals & Debits                                                         $100.00
                       Total Card Purchases                                                                 $3,844.64
                       Total Card Deposits & Credits                                                        $5,645.33

!ELECTRONIC WITHDRAWALS!
 DATE    DESCRIPTION                                                                                              AMOUNT
02/02    Orig CO Name:Pwp Concierge C       Orig ID: 626060084 Desc Date:    CO Entry                             $760.00
         Descr:Privacycomsec:Web Trace#:021115085589554 Eed:230202 Ind ID:TN: 4430547
         Ind Name:(844) 771-8229 Trn: 0335589554Tc
02/02    Orig CO Name:Pwp Mzla-Thunde        Orig ID: 626060084 Desc Date:   CO Entry                               20.00
         Descr:Privacycomsec:Web Trace#:021115085589389 Eed:230202 Ind ID:TN: 6363157
         Ind Name:(844) 771-8229 Trn: 0335589389Tc
02/03    Orig CO Name:Pwp Smartstop S       Orig ID: 626060084 Desc Date:    CO Entry                              164.01
         Descr:Privacycomsec:Web Trace#:021115089068911 Eed:230203 Ind ID:TN: 7728495
         Ind Name:(844) 771-8229 Trn: 034906891 He
02/03    Orig CO Name:Pwp Google*Gsui        Orig ID: 626060084 Desc Date:   CO Entry                               36.00
         Descr:Privacycomsec:Web Trace#:021115089068592 Eed:230203 Ind ID:TN: 1314340
         Ind Name:(844) 771-8229 Trn: 0349068592Tc
02/03    Orig CO Name:Pwp Linkz.Ai        Orig ID: 626060084 Desc Date:    CO Entry                                 10.00
         Descr:Privacycomsec:Web Trace#:021115089068722 Eed:230203 Ind ID:TN: 4414493
         Ind Name:(844) 771-8229 Trn: 0349068722Tc
02/03    Orig CO Name:Pwp Pocket          Orig ID: 626060084 Desc Date:    CO Entry                                  4.99
         Descr:Privacycomsec:Web Trace#:021115089068992 Eed:230203 Ind ID:TN: 1544593
         Ind Name:(844) 771-8229 Trn: 0349068992Tc



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        CHASEO                                                             February 01, 2023 through February 28, 2023
                                                                           Account Number:                      2511



IELECTRONIC WITHDRAWALSl_(c_on_ti_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                   AMOUNT
02/03   Orig CO Name:Thebainbridge-10       Orig ID:9000326709 Desc Date:020323 CO Entry                          2,845.12
        Descr:Web Pmts Sec:Web Trace#:111924683726752 Eed:230203 Ind ID:2V3Bdc
        Ind Name:Peterwolf
        805-699-2040 Trn: 0343726752Tc
02/03   Orig CO Name:Yardi Service Ch      Orig ID:9000278329 Desc Date:020323 CO Entry                                 0.95
        Descr:Web Pmts Sec:Web Trace#:111924683723727 Eed:230203 Ind ID:Q607DC
        Ind Name:Peterwolf
        805-699-2040 Trn: 0343723727Tc
02/03   Orig CO Name:Pwp Envato           Orig ID: 626060084 Desc Date:      CO Entry                                 198.00
        Descr:Privacycomsec:Web Trace#:021115089508228 Eed:230203 Ind ID:TN: 1596157
        Ind Name:(844) 771-8229 Trn: 0349508228Tc
02/06   Orig CO Name:Unitedhealthcare       Orig ID:1836282001 Desc Date:     CO Entry                                188.83
        Descr:Premium Sec:Web Trace#:021000024390214 Eed:230206 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 0374390214Tc
02/06   Zelle Payment To Caren Baltasi 16210552849                                                                    500.00
02/06   Orig CO Name:Pwp Homedepot.C           Orig ID: 626060084 Desc Date:    CO Entry                              180.89
        Descr:Privacycomsec:Web Trace#:021115088914954 Eed:230206 Ind ID:TN: 1310471
        Ind Name:(844) 771-8229 Trn: 0378914954Tc
02/06   Orig CO Name:Pwp Intuit *Qbo       Orig ID: 626060084 Desc Date:     CO Entry                                  25.00
        Descr:Privacycomsec:Web Trace#:021115088914922 Eed:230206 Ind ID:TN: 1527551
        Ind Name:(844) 771-8229 Trn: 0378914922Tc
02/06   Orig CO Name:Wepay               Orig ID:5551232356 Desc Date:230206 CO Entry                                   9.95
        Descr:Payments Sec:PPD Trace#:021000029979428 Eed:230206 Ind ID:21556039
        Ind Name:Michael A Wolf          Nte*Zzz*Acct Recovery\ Trn: 0379979428Tc
02/07   Orig CO Name:Stripe            Orig ID:4270465600 Desc Date:      CO Entry Descr:Transfer                     214.00
        Sec:CCD Trace#:111000029324085 Eed:230207 Ind ID:St-Y1R6T8Z7W2P8                    Ind
        Name:Mmqb Trn: 0389324085Tc
02/09   Orig CO Name:Pwp Www.Pacer.G           Orig ID: 626060084 Desc Date:     CO Entry                             100.30
        Descr:Privacycomsec:Web Trace#:021115081236207 Eed:230209 Ind ID:TN: 1391344
        Ind Name:(844) 771-8229 Trn: 0401236207Tc
02/10   Orig CO Name:Pwp Niceboard.C         Orig ID: 626060084 Desc Date:     CO Entry                               179.00
        Descr:Privacycomsec:Web Trace#:021115085955830 Eed:230210 Ind ID:TN: 1076713
        Ind Name:(844) 771-8229 Trn: 0415955830Tc
02/13   Orig CO Name:Vw Credit, Inc.      Orig ID:1382362409 Desc Date:230212 CO Entry                                247.10
        Descr:Auto Debitsec:Web Trace#:022000028309621 Eed:230213 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202302090000000018Trn: 0448309621Tc
02/13   Orig CO Name:Pwp The lnforma         Orig ID: 626060084 Desc Date:    CO Entry                                254.00
         Descr: Privacycomsec: Web Trace#:021115084702829 Eed:230213 Ind ID:TN: 1259144
         Ind Name:(844) 771-8229 Trn: 0444702829Tc
02/17   Orig CO Name:Pwp lnvoiceninj       Orig ID: 626060084 Desc Date:     CO Entry                                  10.00
         Descr:Privacycomsec:Web Trace#:021115080175934 Eed:230217 Ind ID:TN: 7817521
         Ind Name:(844) 771-8229 Trn: 0480175934Tc
02/21   Orig CO Name:Bmw Bank              Orig ID:0870631885 Desc Date:230219 CO Entry                               817.50
         Descr:Bmwfs Pymtsec:PPD Trace#:021000029012377 Eed:230221 Ind ID:
         Ind Name:Michael Wolf1004495593 Trn: 0529012377Tc
02/21    Orig CO Name:Pwp Geico *Aut        Orig ID: 626060084 Desc Date:     CO Entry                                272.62
         Descr:Privacycomsec:Web Trace#:021115087854779 Eed:230221 Ind ID:TN: 2903260
         Ind Name:(844) 771-8229 Trn: 0527854779Tc
02/21    Orig CO Name:Pwp Memberful.C         Orig ID: 626060084 Desc Date:    CO Entry                               100.40
         Descr:Privacycomsec:Web Trace#:021115087854818 Eed:230221 Ind ID:TN: 1823899
         Ind Name:(844) 771-8229 Trn: 0527854818Tc
02/21    Orig CO Name:Pwp Hidden Harb        Orig ID: 626060084 Desc Date:     CO Entry                                28.59
         Descr:Privacycomsec:Web Trace#:021115087854858 Eed:230221 Ind ID:TN: 9105315
         Ind Name:(844) 771-8229 Trn: 0527854858Tc
02/21    Orig CO Name:Pwp Moonbeam            Orig ID: 626060084 Desc Date:     CO Entry                               18.00
         Descr:Privacycomsec:Web Trace#:021115087855318 Eed:230221 Ind ID:TN: 1722960
         Ind Name:(844) 771-8229 Trn: 0527855318Tc




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        CHASEO                                                                                    February 01, 2023 through February 28, 2023
                                                                                                  Account Number:                           2511




!ELECTRONIC WITHDRAWALSl_(c_on_ti_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
 DATE        DESCRIPTION                                                                                                                         AMOUNT
02/21        Orig CO Name:Pwp Alivecor IN      Orig ID: 626060084 Desc Date:    CO Entry                                                           9.99
             Descr:Privacycomsec:Web Trace#:021115087855037 Eed:230221 Ind ID:TN: 1554019
             Ind Name:(844) 771-8229 Trn: 0527855037Tc
02/22        Orig CO Name:Fpl Direct Debit    Orig ID:3590247775 Desc Date:02/23 CO Entry
             Descr:Elec Pymt Sec:Web Trace#:111000014209980 Eed:230222 Ind ID:4842986087 Webi
                                                                                                                                                  90.20      -
             Ind Name:Scott Wolf
             00000000000000000000Trn: 0534209980Tc
02/23        Zelle Payment To Peter Wolf Jpm999Subeta                                                                                            529.68
02/27        Orig CO Name:Pwp Adobe *Cre        Orig ID: 626060084 Desc Date:    CO Entry                                                         54.99
             Descr:Privacycomsec:Web Trace#:021115083381932 Eed:230227 Ind ID:TN: 1779148
             Ind Name:(844) 771-8229 Trn: 0583381932Tc
 02/27       Orig CO Name:Pwp Notion Labs       Orig ID: 626060084 Desc Date:    CO Entry                                                         40.00      =
             Descr:Privacycomsec:Web Trace#:021115083382126 Eed:230227 Ind ID:TN: 1030828
             Ind Name:(844) 771-8229 Trn: 0583382126Tc
 02/28       Orig CO Name:Pwp Adobe *Cre        Orig ID: 626060084 Desc Date:    CO Entry                                                         54.99
             Descr: Privacycomsec:Web Trace#:021115088793548 Eed:230228 Ind ID:TN: 3110067
             Ind Name:(844) 771-8229 Trn: 0598793548Tc
 02/28       Orig CO Name:Pwp Openphone          Orig ID: 626060084 Desc Date:    CO Entry                                                        10.00
             Descr:Privacycomsec:Web Trace#:021115088793773 Eed:230228 Ind ID:TN: 1317682
             Ind Name:(844) 771-8229 Trn: 0598793773Tc
 Total Electronic Withdrawals                                                                                                               $7,975.10


I DAIL y ENDING BALANCE I
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                               AMOUNT

02/01                      $102,926.01                02/10                         127,755.67                02/21                         127,053.46
02/02                       109,288.57                02/13                         127,340.44                02/22                         127,092.08
02/03                       105,608.19                 02/14                        127,317.98                02/23                         128,529.02
02/06                       114,355.73                 02/15                        128,571.52                02/24                         130,228.50
02/07                       114,111.16                 02/16                        127,777.23                02/27                         139,984.62
02/08                       125,833.27                 02/17                        127,759.85                02/28                         142,284.69
02/09                       125,613.65



 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •     Your name and account number;
         •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •     The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 7 of 8
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CHASEO                                                        February 01, 2023 through February 28, 2023
                                                              Account Number:                      2511




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         CHASEO                                                                                 March 01, 2023 through March 31, 2023
         JPMorgan Chase Bank, N.A.
         PO Box 182051                                                                      Account Number:                       2511
         Columbus, OH 43218 -2051

                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                        Web site:                       Chase.com
                                                                                        Service Center:             1-800-242-7338
     00258427 DRE 021 21 O 09123 NNNNNNNNNNN 1 000000000 64 0000                        Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                                       International Calls:        1-713-262-1679       =
                                                                                                                                         =
                                                                                        We accept operator relay calls                   ===
     SARASOTA FL 34236-5125                                                                                                              =
                                                                                                                                         =
                                                                                                                                         =
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Good news - we've eliminated two fees
We're no longer charging the:
    •   Deposited Item Returned or Cashed Check Returned Fee - This was a $12 fee we charged if an item you
        deposited or cashed was returned unpaid. We stopped charging this fee as of December 1, 2022.

     •      Savings Withdrawal Limit Fee - This was a $5 fee we charged for each withdrawal or transfer (over six) out of a
            Chase savings account in a monthly statement period, maximum of three fees per monthly statement period. We
            stopped charging this fee as of March 19, 2023.

We're also changing the name Insufficient Funds Fee to Overdraft Fee. There are no changes to how and when we
charge this fee or the ways to avoid this fee.

As we update and remove references to these three fees, you may continue to see them listed in the Chase Mobile® app 1,
on chase.com and in other materials.

If you have any questions, please call us at the number listed on this statement. We accept operator relay calls.

1 Chase Mobile® app is available for select mobile devices. Message and data rates may apply.



j CHECKING SUMMARY j_Ch_a_s_e_Bu_s_in_es_s_c_o_m_p_let_e_C_h_ec_k_ing_ _ _ _ _ _ _ _ _ _ _ _ __
                                                    INSTANCES                           AMOUNT
 Beginning Balance                                                                $142,284.69
 Deposits and Additions                                     33                       51,012.54
 ATM & Debit Card Withdrawals                               47                       -4,696.10
 Electronic Withdrawals                                     39                     -19,557.97
 Other Withdrawals                                                                 -15,000.00
 Ending Balance                                            120                    $154,043.16


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.




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        CHASEO                                                                      March 01, 2023 through March 31, 2023
                                                                                  Account Number:                      2511


How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 M account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $132,324.77.
    •    $2,000 Chase Payment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


IDEPOSITS AND ADDITIONS I
DATE         DESCRIPTION                                                                                                    AMOUNT
03/01        Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                $1,350.51
             Descr:Transfer Sec:CCD Trace#:091000013476696 Eed:230301 Ind
             ID: St-N5L2V4 V9P9S1         Ind Name:Mmqb Trn: 0603476696Tc
03/01        Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                     580.06
             Descr:Transfer Sec:CCD Trace#:091000013476075 Eed:230301 Ind
             ID: St-U5M2Y8P5Z7U 1          Ind Name:Mmqb Trn: 0603476075Tc
03/01        Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:     CO Entry                                     334.65
             Descr:Transfer Sec:CCD Trace#: 111000029585444 Eed:230301 Ind
             ID: St-B0U9V8O2G9M0             Ind Name:Mmqb Trn: 0609585444Tc
03/01        Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     182.17
             Descr:Transfer Sec:CCD Trace#:091000013462926 Eed:230301 Ind
             ID:St-G1D7C7J4Z3G7            Ind Name:Michael Wolf Trn: 0603462926Tc
03/06        Card Purchase Return 03/03 Amzn Mktp US Amzn.Com/Bill WA Card 7957                                           117.69
03/07        ATM Check Deposit      03/07 3500 S Tamiami Tri Sarasota FL Card 7957                                     15,000.00
03/07        Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                 2,414.70
             Descr:Transfer Sec:CCD Trace#:091000010847265 Eed:230307 Ind
             ID: St-R0P7E3D2W0M0              Ind Name:Michael Wolf Trn: 0660847265Tc
03/08        Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                     385.86
             Descr:Transfer Sec:CCD Trace#:091000011636635 Eed:230308 Ind
             ID:St-B6K1 R3Y1 N1O4          Ind Name:Mmqb Trn: 0671636635Tc
03/08        Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     290.03
             Descr:Transfer Sec:CCD Trace#:091000011659130 Eed:230308 Ind
             ID:St-O7C2U0H4S8S4             Ind Name:Mmqb Trn: 0671659130Tc
03/09        Orig CO Name:Stripe             Orig ID:1800948598 Desc Date:     CO Entry                                     364.34
             Descr:Transfer Sec:CCD Trace#:091000016517147 Eed:230309 Ind
             ID:St-I4A9E5H1 K3N7          Ind Name:Michael Wolf Trn: 0686517147Tc
03/09        Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:    CO Entry                                     192.93
             Descr:Transfer Sec:CCD Trace#:091000016527200 Eed:230309 Ind
             ID:St-M2Z5B6G8B9O5              Ind Name:Mmqb Trn: 0686527200Tc
03/09        Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:    CO Entry                                      47.85
             Descr:Transfer Sec:CCD Trace#: 111000024731599 Eed: 230309 Ind
             ID:St-H1 F2L8T2Z2E4          Ind Name:Mmqb Trn: 0684731599Tc
03/10        Deposit     5100010321                                                                                    15,000.00
03/10        Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:    CO Entry                                   182.17
             Descr:Transfer Sec:CCD Trace#:091000013104362 Eed:230310 Ind
             ID: St-I 0W7O2S9F6N8          Ind Name:Michael Wolf Trn: 0693104362Tc
03/14        Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                                     192.93
             Descr:Transfer Sec:CCD Trace#:091000019386315 Eed:230314 Ind
             ID:St-Y6G4L9S7G1 DO            Ind Name:Mmqb Trn: 0739386315Tc
03/15        Payment Received       03/15 Stripe Visa Direct NY Card 7957                                               2,292.24
03/15        Payment Received       03/15 Stripe Visa Direct NY Card 7957                                                 889.30
03/15        Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                                   725.48
             Descr:Transfer Sec:CCD Trace#:091000018013471 Eed:230315 Ind
             ID:St-Q4E5P1 H1 Y9G9           Ind Name:Michael Wolf Trn: 0748013471Tc

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IDEPOSITS AND ADDITIONS!,__(_co_nt_inu_ed_~_ _ _ _ _ _ _ _ _ _ _ _ __
DATE       DESCRIPTION                                                                                                AMOUNT
03/17      Deposit                                                                                                3,525.00
03/17      Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                           1,740.18     =
                                                                                                                               =
           Descr:Transfer Sec:CCD     Trace#:091000013556882 Eed:230317 Ind
                                                                                                                               -
03/17
           ID: St-S6L1D2T6Y5O5
           Orig CO Name:Stripe
           Descr:Transfer Sec:CCD
                                         Ind Name:Mmqb Trn: 0763556882Tc
                                            Orig ID: 1800948598 Desc Date:
                                      Trace#:091000013552098 Eed:230317 Ind
                                                                               CO Entry                               627.60   ===
                                                                                                                               -
03/20
           ID:St-P0X1 A3C4L6A4
           Orig CO Name:Stripe
                                         Ind Name:Michael Wolf Trn: 0763552098Tc
                                            Orig ID:1800948598 Desc Date:      CO Entry                               364.34
                                                                                                                               =
                                                                                                                               ~
           Descr:Transfer Sec:CCD     Trace#:091000011537503 Eed:230320 Ind
           ID: St-Q4O1 S7F3Y9O4            Ind Name:Michael Wolf Trn: 0791537503Tc
03/21      Orig CO Name:Stripe
           Descr:Transfer Sec:CCD
                                            Orig ID:4270465600 Desc Date:
                                      Trace#:111000022636468 Eed:230321 Ind
                                                                               CO Entry                                19.07   -
           ID: St-S9A9T9B0l 6F0         Ind Name:Mmgb Trn: 0802636468Tc
03/22      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                               192.93
           Descr:Transfer Sec:CCD     Trace#:091000014585129 Eed:230322 Ind
           ID:St-S3G3M8D8Q1 X2              Ind Name:Mmqb Trn: 0814585129Tc
03/22      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                               182.17
           Descr:Transfer Sec:CCD     Trace#:091000014579315 Eed:230322 Ind
           ID:St-U6A1 S8Q4Q9G1              Ind Name:Michael Wolf Trn: 0814579315Tc
03/24      Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                           1,734.38
           Descr:Transfer Sec:CCD     Trace#:091000012624546 Eed:230324 Ind
           ID: St-X0R3L8P2S0U8           Ind Name:Mmgb Trn: 0832624546Tc
03/24      Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry                               371.99
           Descr:Transfer Sec:CCD     Trace#:111000022073467 Eed:230324 Ind
           ID:St-L7S1 V6D3X7M4            Ind Name:Mmqb Trn: 0832073467Tc
03/28      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                               182.17
           Descr:Transfer Sec:CCD     Trace#:091000012548967 Eed:230328 Ind
           ID:St-T1 B2N3F7G283            Ind Name:Michael Wolf Trn: 0872548967Tc
03/29      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                               964.65
           Descr:Transfer Sec:CCD     Trace#:091000011050857 Eed:230329 Ind
           ID: St-C7X0X9E4N5Z6            Ind Name:Mmqb Trn: 0881050857Tc
03/29      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                               182.17
           Descr:Transfer Sec:CCD     Trace#:091000011017753 Eed:230329 Ind
           ID:St-V8M4A6L5S3J7            Ind Name:Michael Wolf Trn: 0881017753Tc
03/29      Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry                               143.25
           Descr:Transfer Sec:CCD     Trace#: 111000029602047 Eed:230329 Ind
           ID: St-G7O4S3S7P2W7               Ind Name:Mmgb Trn: 0889602047Tc
03/30      Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:    CO Entry                               182.17
           Descr:Transfer Sec:CCD     Trace#:091000013262137 Eed:230330 Ind
           ID:St-A5W9W4S889Q8                 Ind Name:Michael Wolf Trn: 0893262137Tc
03/30      Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:     CO Entry                                57.56
           Descr:Transfer Sec:CCD     Trace#:111000029955610 Eed:230330 Ind
           ID: St-J8Q8N0G4Q9L4             Ind Name:Mmgb Trn: 0899955610Tc
Total Deposits and Additions                                                                                   $51,012.54


jATM & DEBIT CARD WITHDRAWALS!
 DATE    DESCRIPTION                                                                                                  AMOUNT
03/01    Card Purchase         02/28 Amazon.Com*Hd4Fo3Gt1 Amzn.Com/Bill WA Card 7957                                  $26.99
03/01    Card Purchase         02/28 Amzn Mktp US*Hd9U94G Amzn.Com/Bill WA Card 7957                                   46.99
03/02    Card Purchase         03/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                   10.00
03/03    Card Purchase         03/02 Amzn Mktp US*Hd77Q19 Amzn.Com/Bill WA Card 7957                                   21.39
03/03    Card Purchase         03/02 Pinnacle Wheel Works Sarasota FL Card 7957                                        45.35
03/06    Card Purchase         03/03 Sp Greyson Clothiers Httpsgreysonc NY Card 7957                                   29.96
03/06    Card Purchase         03/06 Www Costco Com 800-955-2292 WA Card 7957                                          42.78
03/09    Card Purchase         03/09 Amzn Mktp US*H50Gb2R Amzn.Com/Bill WA Card 7957                                   42.69
03/10    Card Purchase         03/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                          15.99

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       CHASEO                                                           March 01, 2023 through March 31, 2023
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!ATM & DEBIT CARD WITHDRAWALS! (continued)
DATE    DESCRIPTION                                                                                             AMOUNT
03/10   Recurring Card Purchase 03/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                     10.69
03/10   Card Purchase       03/09 Quad Lock Prahran Card 7957                                                      58.78
03/13   Card Purchase       03/11 Amzn Mktp US*Hg5AL3S Amzn.Com/Bill WA Card 7957                                 122.75
03/13   Card Purchase       03/11 Plantation Palm Golf Land O Lakes FL Card 7957                                   21.40
03/13   Recurring Card Purchase 03/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                              30.00
03/14   Card Purchase       03/14 Amzn Mktp US*Hc5Vq5T Amzn.Com/Bill WA Card 7957                                  34.45
03/16   Recurring Card Purchase 03/16 Audible*Hg9Rt1U72 Amzn.Com/Bill NJ Card 7957                                 14.95
03/17   Recurring Card Purchase 03/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                      4.27
03/17   Recurring Card Purchase 03/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                     35.04
03/17   Recurring Card Purchase 03/16 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                              97.98
03/17   Card Purchase With Pin 03/17 Wholefds Sar 101 1451 Sarasota FL Card 7957                                  111.79
03/20   Card Purchase       03/18 Amazon.Com*Hc9Qh2Xv1 Amzn.Com/Bill WA Card 7957                                  27.23
03/20   Card Purchase       03/17 Amzn Mktp US*Hc3JC2Z Amzn.Com/Bill WA Card 7957                                  89.47
03/20   Card Purchase       03/17 Amzn Mktp US*Hc3En40 Amzn. Com/Bill WA Card 7957                                 53.49
03/20   Card Purchase       03/18 Amzn Mktp US*Hc9Af4N Amzn.Com/Bill WA Card 7957                                  40.65
03/20   Card Purchase       03/18 Amzn Mktp US*Hc9F96U Amzn.Com/Bill WA Card 7957                                   7.48
03/20   Card Purchase       03/19 Amazon.Com*Hc3Cp2Bv1 Amzn.Com/Bill WA Card 7957                                  14.98
03/21   Card Purchase       03/21 Amzn Mktp US*Hc79J5R Amzn.Com/Bill WA Card 7957                                  40.85
03/21   Card Purchase       03/21 Amzn Mktp US*Hc72E9W Amzn.Com/Bill WA Card 7957                                  28.89
03/22   Recurring Card Purchase 03/22 Apple.Com/Bill 866-712-7753 CA Card 7957                                     12.20
03/22   ATM Withdrawal        03/22 3500 S Tamiami Tri Sarasota FL Card 7957                                    1,000.00
03/22   Card Purchase With Pin 03/22 Best Buy       00005629 Sarasota FL Card 7957                                227.90
03/23   Card Purchase       03/23 Amzn Mktp US*H770C3T Amzn.Com/Bill WA Card 7957                                  14.97
03/23   Card Purchase       03/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                          4.99
03/24   Recurring Card Purchase 03/23 Covenant Health Produc 800-6276518 NC Card 7957                              41.15
03/24   Recurring Card Purchase 03/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                     11.08
03/24   Recurring Card Purchase 03/24 Apple.Com/Bill 866-712-7753 CA Card 7957                                     79.99
03/24   Recurring Card Purchase 03/24 Apple.Com/Bill 866-712-7753 CA Card 7957                                     17.75
03/27   Card Purchase        03/24 Amazon Kids+*H74Te4Mb 888-802-3080 WA Card 7957                                  4.99
03/27   Card Purchase        03/27 Westin Jekyll Island Jekyll Island GA Card 7957                                650.76
03/27   ATM Withdrawal        03/27 3500 S Tamiami Tri Sarasota FL Card 7957                                    1,000.00
03/27   Card Purchase With Pin 03/27 Costco Gas #1123 Sarasota FL Card 7957                                        40.22
03/27   Card Purchase With Pin 03/27 Costco Whse #1123 Sarasota FL Card 7957                                       72.27
03/28   Recurring Card Purchase 03/28 Apple.Com/Bill 866-712-7753 CA Card 7957                                     17.19
03/29   Card Purchase        03/28 Amazon.Com*Hy2Cn33Q1 Amzn.Com/Bill WA Card 7957                                 58.84
03/29   Card Purchase        03/29 Sp Greyson Clothiers Httpsgreysonc NY Card 7957                                 65.60
03/30   Recurring Card Purchase 03/30 Tmobile*Auto Pay 800-937-8997 WA Card 7957                                  197.92
03/31   Card Purchase        03/30 Sp Heller LLC Httpshellerin CT Card 7957                                        51.00
Total ATM & Debit Card Withdrawals                                                                         $4,696.10



1 ATM & DEBIT CARD SUMMARY -1- - - - - - - - - - - - -

Michael A Wolf Card 7957
                      Total ATM Withdrawals & Debits                                                      $2,000.00
                      Total Card Purchases                                                                $2,696.10
                      Total Card Deposits & Credits                                                      $18,299.23
ATM & Debit Card Totals
                      Total ATM Withdrawals & Debits                                                      $2,000.00
                      Total Card Purchases                                                                $2,696.10

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        C:HASEO                                                                  March 01, 2023 through March 31, 2023
                                                                               Account Number:                      2511


                        Total Card Deposits & Credits                                                            $18,299.23

!ELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION                                                                                                     AMOUNT
03/01    Zelle Payment To Peter Wolf Jpm999T9Hkp0                                                                  $5,000.00      =
                                                                                                                                  =
03/02    Orig CO Name:Mdvip, Inc           Orig ID:0009122507 Desc Date:230301 CO Entry                               450.00
                                                                                                                                  ===
         Descr:8778861411 Sec:Web Trace#:021000021399369 Eed:230302 Ind ID:
         Ind Name:Michael Wolf
         2625835707417Trn: 0611399369Tc
03/02    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry Descr:Transfer                     314.00
         Sec:CCD Trace#:091000017720793 Eed:230302 Ind ID:St-U9Z6N9F0C2Q7                      Ind

03/02
         Name:Mmqb Trn: 0617720793Tc
         Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry Descr:Transfer                     214.00
                                                                                                                                  =
                                                                                                                                  =
                                                                                                                                  =
         Sec:CCD Trace#:111000028005870 Eed:230302 Ind ID:St-M2C3U1 K2M8O2                      Ind
         Name:Mmqb Trn: 0618005870Tc
03/02    Orig CO Name:Pwp Google Gsu            Orig ID: 626060084 Desc Date:     CO Entry                                36.00
         Descr:Privacycomsec:Web Trace#:021115087827849 Eed:230302 Ind ID:TN: 1403936
         Ind Name:(844) 771-8229 Trn: 0617827849Tc
03/03    Orig CO Name:Pwp Smartstop S           Orig ID: 626060084 Desc Date:     CO Entry                               164.01
         Descr:Privacycomsec:Web Trace#:021115085289205 Eed:230303 Ind ID:TN: 1423206
         Ind Name:(844) 771-8229 Trn: 0625289205Tc
03/03    Orig CO Name:Pwp Publicgoods           Orig ID: 626060084 Desc Date:    CO Entry                                 66.75
         Descr:Privacycomsec:Web Trace#:021115085288944 Eed:230303 Ind ID:TN: 1427391
         Ind Name:(844) 771-8229 Trn: 0625288944Tc
03/03    Orig CO Name:Pwp Linkz.Ai           Orig ID: 626060084 Desc Date:     CO Entry                                   10.00
         Descr:Privacycomsec:Web Trace#:021115085288970 Eed:230303 Ind ID:TN: 1705833
         Ind Name:(844) 771-8229 Trn: 0625288970Tc
03/03    Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:      CO Entry                                   4.99
         Descr:Privacycomsec:Web Trace#:021115085288925 Eed:230303 Ind ID:TN: 1068079
         Ind Name:(844) 771-8229 Trn: 0625288925Tc
03/03    Orig CO Name:Thebainbridge-10          Orig ID:9000326709 Desc Date:030323 CO Entry                         2,843.69
         Descr:Web Pmts Sec:Web Trace#:111924681029456 Eed:230303 Ind ID:Glzykc
         Ind Name:Peterwolf
         805-699-2040 Trn: 0621029456Tc
03/03    Orig CO Name:Yardi Service Ch         Orig ID:9000278329 Desc Date:030323 CO Entry                                0.95
         Descr:Web Pmts Sec:Web Trace#:111924681019950 Eed:230303 Ind ID:Jy4Ykc
         Ind Name:Peterwolf
         805-699-2040 Trn: 0621019950Tc
03/06    Orig CO Name:Ollo               Orig ID:9000002835 Desc Date:      CO Entry Descr:Mobile                        519.01
         Pymsec:Web Trace#:124384600549991 Eed:230306 Ind ID:230620322984487                       Ind
         Name:Michael Wolf Trn: 0650549991Tc
03/06    Orig CO Name:Unitedhealthcare         Orig ID:1836282001 Desc Date:     CO Entry                                188.83
         Descr:Premium Sec:Web Trace#:021000021975427 Eed:230306 Ind ID:3425550781
         Ind Name:Wolf            M Trn: 0651975427Tc
03/06    Zelle Payment To Caren Baltasi 16482498836                                                                      500.00
03/06    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:       CO Entry Descr:Transfer                     44.95
         Sec:CCD Trace#:091000019152926 Eed:230306 Ind ID:St-Q3T4Z0T3C0B4                      Ind
         Name:Mmgb Trn: 0659152926Tc
03/06    Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:     CO Entry                                  25.00
         Descr:Privacycomsec:Web Trace#:021115089538451 Eed:230306 Ind ID:TN: 1183756
         Ind Name:(844) 771-8229 Trn: 0659538451Tc
03/06    Orig CO Name:Wepay                 Orig ID:5551232356 Desc Date:230306 CO Entry                                   9.95
         Descr:Payments Sec:PPD Trace#:021000024300331 Eed:230306 Ind ID:22012892
          Ind Name:Michael A Wolf          Nte*Zzz*Acct Recovery\ Trn: 0654300331Tc
03/07    03/07 Online Transfer To Chk ... 7880 Transaction#: 16769663449                                             5,000.00
03/10    Orig CO Name:Pwp Niceboard.C           Orig ID: 626060084 Desc Date:     CO Entry                             179.00
          Descr:Privacycomsec:Web Trace#:021115082959564 Eed:230310 Ind ID:TN: 2651945
          Ind Name:(844) 771-8229 Trn: 0692959564Tc
03/10    Orig CO Name:Pwp Squarespace            Orig ID: 626060084 Desc Date:     CO Entry                              153.60
          Descr:Privacycomsec:Web Trace#:021115082959518 Eed:230310 Ind ID:TN: 1621887
          Ind Name:(844) 771-8229 Trn: 0692959518Tc


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jELECTRONIC WITHDRAWALSj_<c_on_u_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                           AMOUNT
03/13   Orig CO Name:Vw Credit, Inc.     Orig ID:1382362409 Desc Date:230312 CO Entry                         247.10
        Descr:Auto Debitsec:Web Trace#:022000026219351 Eed:230313 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202303090000000018Trn: 0726219351Tc
03/14   Orig CO Name:Pwp Tiffany & C       Orig ID: 626060084 Desc Date:     CO Entry                     1,168.75
        Descr: Privacycomsec: Web Trace#:021115083971035 Eed:230314 Ind ID:TN: 5202736
        Ind Name:(844) 771-8229 Trn: 0733971035Tc
03/16   Orig CO Name:Pwp Squarespace         Orig ID: 626060084 Desc Date:     CO Entry                       120.72
        Descr: Privacycomsec: Web Trace#:021115089438512 Eed:230316 Ind ID:TN: 1013477
        Ind Name:(844) 771-8229 Trn: 0759438512Tc
03/16   Orig CO Name:Pwp Chatgpt Sub        Orig ID: 626060084 Desc Date:      CO Entry                        20.00
        Descr: Privacycomsec: Web Trace#:021115089438047 Eed:230316 Ind ID:TN: 2286336
        Ind Name:(844) 771-8229 Trn: 0759438047Tc
03/17   Orig CO Name:Pwp lnvoiceninj      Orig ID: 626060084 Desc Date:      CO Entry                          10.00
        Descr:Privacycomsec:Web Trace#:021115083580970 Eed:230317 Ind ID:TN: 1784335
        Ind Name:(844) 771-8229 Trn: 0763580970Tc
03/20   Orig CO Name:Bmw Bank             Orig ID:0870631885 Desc Date:230319 CO Entry                        817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000022130983 Eed:230320 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 0792130983Tc
03/20   Orig CO Name:Pwp Geico *Aut        Orig ID: 626060084 Desc Date:      CO Entry                        271.71
        Descr:Privacycomsec:Web Trace#:021115081732979 Eed:230320 Ind ID:TN: 5631779
        Ind Name:(844) 771-8229 Trn: 0791732979Tc
03/20   Orig CO Name:Pwp Alivecor IN       Orig ID: 626060084 Desc Date:     CO Entry                           9.99
        Descr: Privacycomsec: Web Trace#:021115081729143 Eed:230320 Ind ID:TN: 1572176
        Ind Name:(844) 771-8229 Trn: 0791729143Tc
03/20   Orig CO Name:Pwp Moonbeam            Orig ID: 626060084 Desc Date:      CO Entry                       18.00
        Descr: Privacycomsec: Web Trace#:021115087535759 Eed:230320 Ind ID:TN: 6822308
        Ind Name:(844) 771-8229 Trn: 0797535759Tc
03/20   Zelle Payment To Peter Wolf Jpm999Ua5X0T                                                              529.68
03/20   Orig CO Name:Pwp Memberful.C         Orig ID: 626060084 Desc Date:     CO Entry                       103.60
        Descr: Privacycomsec: Web Trace#:0211150807 47900 Eed:230320 Ind ID:TN: 1437734
        Ind Name:(844) 771-8229 Trn: 0790747900Tc
03/21   Orig CO Name:Fpl Direct Debit     Orig ID:3590247775 Desc Date:03/23 CO Entry                          99.82
        Descr:Elec Pymt Sec:Web Trace#: 111000015783390 Eed:230321 Ind ID:4842986087 Webi
         Ind Name:Scott Wolf
        00000000000000000000Trn: 0805783390Tc
03/24   Orig CO Name:Pwp Mpix            Orig ID: 626060084 Desc Date:      CO Entry                          172.53
         Descr:Privacycomsec:Web Trace#:021115082853403 Eed:230324 Ind ID:TN: 2399972
         Ind Name:(844) 771-8229 Trn: 0832853403Tc
03/27   Orig CO Name:Pwp Adobe *Cre         Orig ID: 626060084 Desc Date:      CO Entry                        54.99
         Descr:Privacycomsec:Web Trace#:021115089463269 Eed:230327 Ind ID:TN: 1805979
         Ind Name:(844) 771-8229 Trn: 0869463269Tc
03/27   Orig CO Name:Pwp Notion Labs        Orig ID: 626060084 Desc Date:     CO Entry                        112.86
         Descr:Privacycomsec:Web Trace#:021115088764082 Eed:230327 Ind ID:TN: 1023710
         Ind Name:(844) 771-8229 Trn: 0868764082Tc
03/28    Orig CO Name:Pwp Openphone          Orig ID: 626060084 Desc Date:      CO Entry                       10.00
         Descr:Privacycomsec:Web Trace#:021115082496689 Eed:230328 Ind ID:TN: 2982031
         Ind Name:(844) 771-8229 Trn: 0872496689Tc
03/29    Orig CO Name:Pwp Sunpass*Acc         Orig ID: 626060084 Desc Date:     CO Entry                       10.00
         Descr:Privacycomsec:Web Trace#:021115081108868 Eed:230329 Ind ID:TN: 3465356
         Ind Name:(844) 771-8229 Trn: 0881108868Tc
03/31    Orig CO Name:Pwp Adobe *Cre        Orig ID: 626060084 Desc Date:      CO Entry                        54.99
         Descr:Privacycomsec:Web Trace#:021115085885635 Eed:230331 Ind ID:TN: 6274866
         Ind Name:(844) 771-8229 Trn: 0905885635Tc
03/31    Orig CO Name:Pwp Sheboygan P         Orig ID: 626060084 Desc Date:     CO Entry                        1.00
         Descr:Privacycomsec:Web Trace#:021115085885490 Eed:230331 Ind ID:TN: 2275055
         Ind Name:(844) 771-8229 Trn: 0905885490Tc
Total Electronic Withdrawals                                                                           $19,557.97



                                                                                                Page 6 of 8
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         CHASEO                                                                                      March 01, 2023 through March 31, 2023
                                                                                                  Account Number:                           2511




!OTHER WITHDRAWALS!
 DATE        DESCRIPTION                                                                                                                     AMOUNT
 03/08       DR Due To ATM/Dep Error                                                                                                      $15,000.00
 Total Other Withdrawals                                                                                                                  $15,000.00         =
                                                                                                                                                             =

I DAILy ENDING BALANCE I                                                                                                                                     -
                                                                                                                                                             ===
                                                                                                                                                             ~
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                              AMOUNT      ~
                                                                                                                                                             ~
03/01                     $139,658.10                 03/13                         147,230.06                03/23                         152,949.95
03/02                       138,634.10                03/14                         146,219.79                03/24                         154,733.82
03/03                       135,476.97                 03/15                        150,126.81                03/27                         152,797.73       ===
                                                                                                                                                             =
03/06                       134,234.18                 03/16                        149,971.14                03/28                         152,952.71
03/07                       146,648.88                 03/17                        155,604.84                03/29                         154,108.34
03/08                       132,324.77                 03/20                        153,985.40                03/30                         154,150.15
03/09                       132,887.20                 03/21                        153,834.91                03/31                         154,043.16
03/10                       147,651.31                 03/22                        152,969.91



 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •     Your name and account number;
         •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •     The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
  IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 7 of 8
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CHASEO                                                          March 01, 2023 through March 31, 2023
                                                              Account Number:                     2511




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      CHASEO                                                                         April 01, 2023 through April 28, 2023
     JPMorgan Chase Bank, N.A.
     PO Box 182051
                                                                                  Account Number:                       2511
     Columbus, OH 43218-2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                              Web site:                       Chase.com
                                                                              Service Center:             1-800-242-7338
    00266962 DRE 021 21 o 11923 NNNNNNNNNNN 1 000000000 64 0000               Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                             International Calls:        1-713-262-1679
                                                                              We accept operator relay calls
     SARASOTA FL 34236-5125
                                                                                                                               ==
                                                                                                                               -=
                                                                                                                               -
                                                                                                                               -
                                                                                                                               -

ICHECKING SUMMARY ,_ch_a_s_e_Bu_s_in_es_s_C_o_m_pl_et_e_C_he_c_ki_ng_ _ _ _ _ _ _ _ _ _ _ _ __
                                              INSTANCES                       AMOUNT
 Beginning Balance                                                       $154,043.16
 Deposits and Additions                               26                   12,677.13
 ATM & Debit Card Withdrawals                         27                   -1,414.70
 Electronic Withdrawals                               32                   -21,277.56
 Fees                                                  1                      -25.00
 Ending Balance                                       86                 $144,003.03


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 M account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $143,725.62.
    •    $2,000 Chase Pa~ment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.




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        CHASEO                                                           April 01, 2023 through April 28, 2023
                                                                      Account Number:                        2511



IDEPOSITS AND ADDITIONS I
DATE     DESCRIPTION                                                                                              AMOUNT
04/04    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:     CO Entry                            $545.30
         Descr:Transfer Sec:CCD Trace#:091000014117676 Eed:230404 Ind
         ID:St-H7T0E8N0H3K0              Ind Name:Michael Wolf Trn: 0944117676Tc
04/05    Orig CO Name:Stripe               Orig ID: 1800948598 Deso Date:     CO Entry                             287.04
         Descr:Transfer Sec:CCD Trace#:091000017609752 Eed:230405 Ind
         ID:St-l0Q1A6T1X0C3            Ind Name:Mmqb Trn: 0957609752Tc
04/05    Orig CO Name:Stripe               Orig ID:1800948598 Deso Date:      CO Entry                             192.93
         Descr:Transf er Sec: CCD Trace#:091000017609238 Eed:230405 Ind
         ID:St-N6A6N4Q0H7O8                Ind Name:Mmqb Trn: 0957609238Tc
04/06    Orig CO Name:Stripe               Orig ID: 1800948598 Deso Date:     CO Entry                             290.03
         Descr:Transfer Sec:CCD Trace#:091000018738639 Eed:230406 Ind
         ID:St-E7V7M1 B5C8T0             Ind Name:Mmqb Trn: 0968738639Tc
04/06    Orig CO Name:Stripe                Orig ID:1800948598 Deso Date:     CO Entry                             192.93
         Descr:Transfer Sec:CCD Trace#:091000018702566 Eed:230406 Ind
         ID:St-J5Y1 C0Z5S4U6            Ind Name:Mmgb Trn: 0968702566Tc
04/06    Orig CO Name:Stripe               Orig ID:4270465600 Deso Date:      CO Entry                              19.07
         Descr:Transfer Sec:CCD Trace#: 111000027676348 Eed:230406 Ind
         ID: St-T5S4N985L6L2           Ind Name:Mmqb Trn: 0967676348Tc
04/07    Deposit     5100032471                                                                               1,866.68
04/10    Orig CO Name:Stripe                Orig ID: 1800948598 Deso Date:    CO Entry                          290.03
         Descr:Transfer Sec:CCD Trace#:091000010653711 Eed:230410 Ind
         ID: St-U082V8V8L0G5             Ind Name:Mmqb Trn: 1000653711Tc
04/10    Orig CO Name:Stripe                Orig ID: 1800948598 Deso Date:    CO Entry                             182.17
         Descr:Transfer Sec:CCD Trace#:091000010644959 Eed:230410 Ind
         ID:St-B6A2F9V3I0Q2            Ind Name:Michael Wolf Trn: 1000644959Tc
04/12    Orig CO Name:Stripe                Orig ID: 1800948598 Deso Date:    CO Entry                             867.10
         Descr:Transf er Sec: CCD Trace#:091000015373917 Eed:230412 Ind
         ID:St-V9U8Z8L1U3W3               Ind Name:Mmqb Trn: 1025373917Tc
04/12    Orig CO Name:Stripe                Orig ID:1800948598 Deso Date:     CO Entry                             771.72
         Descr:Transfer Sec:CCD Trace#:091000015413034 Eed:230412 Ind
         ID:St-U6J0B8H6W4Q3                Ind Name:Mmgb Trn: 1025413034Tc
04/12    Orig CO Name:Stripe                Orig ID:4270465600 Deso Date:     CO Entry                              47.85
         Descr:Transfer Sec:CCD Trace#: 111000025302781 Eed:230412 Ind
         ID:St-A482P7L3Q3W7                Ind Name:Mmqb Trn: 1025302781Tc
04/13    Orig CO Name:Stripe                Orig ID:1800948598 Deso Date:     CO Entry                             290.03
         Descr:Transfer Sec:CCD Trace#:091000011602388 Eed:230413 Ind
         ID:St-H7K1 P9O8F9V2              Ind Name:Mmqb Trn: 1031602388Tc
04/17    Orig CO Name:Pwp Sp Greyson              Orig ID: 626060084 Deso Date:    CO Entry                         91.49
         Descr: Privacycomsec: Web Trace#:021115085319333 Eed:230417 Ind ID:TN: 1842849
         Ind Name:{844} 771-8229 Trn: 1075319333Tc
04/17    Orig CO Name:Stripe                Orig ID:4270465600 Desc Date:     CO Entry                              28.78
         Descr:Transfer Sec:CCD Trace#: 111000025859963 Eed:230417 Ind
          ID:St-S2F6N0V1N1S9             Ind Name:Mmqb Trn: 1075859963Tc
04/18     Payment Received       04/19 Striee Visa Direct CA Card 7957                                             955.21
04/18     Payment Received       04/19 Striee Visa Direct CA Card 7957                                             955.10
04/18     Orig CO Name:Stripe               Orig ID: 1800948598 Deso Date:     CO Entry                            180.18
          Descr:Transfer Sec:CCD Trace#:091000019479444 Eed:230418 Ind
          ID:St-X6L8J6Q4Q9V6             Ind Name:Michael Wolf Trn: 1089479444Tc
04/19     Orig CO Name:Stripe               Orig ID: 1800948598 Deso Date:     CO Entry                            809.77
          Descr:Transfer Sec:CCD Trace#:091000012835332 Eed:230419 Ind
          ID:St-F1 D2X0U8Q9J5            Ind Name:Michael Wolf Trn: 1092835332Tc
04/19     Orig CO Name:Stripe               Orig ID:1800948598 Deso Date:      CO Entry                            192.93
          Descr:Transf er Sec: CCD Trace#:091000012825163 Eed:230419 Ind
          ID:St-L5O3K2P6A1T3             Ind Name:Mmgb Trn: 1092825163Tc
04/21     Orig CO Name:Stripe               Orig ID:1800948598 Deso Date:      CO Entry                       2,030.21
          Descr:Transf er Sec: CCD Trace#:091000018671718 Eed:230421 Ind
          ID: St-D6H2E3W5A8X4              Ind Name:Mmqb Trn: 1118671718Tc




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        CHASEO                                                               April 01, 2023 through April 28, 2023
                                                                          Account Number:                       2511



IDEPOSITS AND ADDITIONS! (_co_nt_in_ue_d)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            1--


DATE       DESCRIPTION                                                                                               AMOUNT
04/21      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:    CO Entry                                 182.17
           Descr:Transf er Sec: CCD Trace#:091000018626670 Eed:230421 Ind
           ID:St-Z6A5H1 J1 F6Z7         Ind Name:Michael Wolf Trn: 1118626670Tc                                               -
04/21      Orig CO Name:Stripe            Orig ID:4270465600 Desc Date:
           Descr:Transfer Sec:CCD Trace#: 111000027170608 Eed:230421 Ind
                                                                            CO Entry                                  19.07
                                                                                                                              -
                                                                                                                              ====
           ID:St-B8I7N7J9H7O5           Ind Name:Mmqb Trn: 1117170608Tc
04/24      ATM Check Deposit      04/24 3511 Clark Rd Sarasota FL Card 7957                                      1,025.00     -
04/27      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:    CO Entry                               182.17
           Descr:Transfer Sec:CCD Trace#:091000014200607 Eed:230427 Ind                                                       =
                                                                                                                              -
04/28
           ID:St-C5Y6I3I6B3S5
           Orig CO Name:Stripe
                                       Ind Name: Michael Wolf Trn: 1174200607Tc
                                          Orig ID:1800948598 Desc Date:     CO Entry                                 182.17   ==
                                                                                                                              ==
                                                                                                                              ====
           Descr:Transfer Sec:CCD Trace#:091000012956343 Eed:230428 Ind                                                       =====
           ID:St-S4U8P9J0S1Q7            Ind Name:Michael Wolf Trn: 1182956343Tc
Total Deposits and Additions                                                                                  $12,677.13


!ATM & DEBIT CARD WITHDRAWALS!
 DATE   DESCRIPTION                                                                                                  AMOUNT
04/03   Card Purchase       03/31 Amazon.Com*Hy3Sq78D1 Amzn.Com/Bill WA Card 7957                                    $27.23
04/03   Card Purchase       04/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                     10.00
04/03   Card Purchase       04/03 Tst* The Breakfast Comp Sarasota FL Card 7957                                        4.81
04/03   Card Purchase       04/03 Tst* The Breakfast Comp Sarasota FL Card 7957                                       51.59
04/03   Card Purchase       04/03 Nespresso USA Inc Wilmington De Card 7957                                           40.00
04/03   Card Purchase With Pin 04/03 Usps PO 11891003 2205 Tallevast FL Card 7957                                    176.00
04/05   Card Purchase       04/04 Amazon.Com*Hy6A51Yz2 Amzn.Com/Bill WA Card 7957                                     10.44
04/05   Card Purchase       04/05 Amazon.Com*Hs13Z0Av1 Amzn.Com/Bill WA Card 7957                                      5.33
04/06   Card Purchase       04/06 On Inc 855-3303575 OR Card 7957                                                    171.19
04/06   Card Purchase       04/06 Amazon.Com*Hs22562Z0 Amzn.Com/Bill WA Card 7957                                     15.73
04/06   Card Purchase       04/06 Amzn Mktp US*Hs5241N Amzn.Com/Bill WA Card 7957                                     73.50
04/10   Card Purchase       04/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                            15.99
04/10   Recurring Card Purchase 04/10 Apple. Com/Bill 866-712-7753 CA Card 7957                                       10.69
04/12   Card Purchase       04/12 Amzn Mktp US*Hj2Bp8S Amzn.Com/Bill WA Card 7957                                     42.69
04/12   Card Purchase       04/12 Amzn Mktp US*Hj3Qe3Q Amzn.Com/Bill WA Card 7957                                    128.15
04/12   Card Purchase       04/11 Hillview Family Dental Sarasota FL Card 7957                                       221.00
04/12   Recurring Card Purchase 04/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                                 30.00
04/13   Card Purchase       04/12 Amazon.Com*Hj7O09X31 Amzn.Com/Bill WA Card 7957                                    124.25
04/17   Recurring Card Purchase 04/16 Audible*Hj40Q0l31 Amzn.Com/Bill NJ Card 7957                                    14.95
04/17   Recurring Card Purchase 04/16 Apple. Com/Bill 866-712-7753 CA Card 7957                                        4.27
04/17   Recurring Card Purchase 04/16 Apple. Com/Bill 866-712-7753 CA Card 7957                                       35.04
04/18   Recurring Card Purchase 04/17 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                                 97.98
04/24   Recurring Card Purchase 04/22 Covenant Health Produc 800-6276518 NC Card 7957                                 41.15
04/24   Card Purchase       04/24 Amzn Mktp US*Hf17K54 Amzn.Com/Bill WA Card 7957                                     34.45
04/24   Recurring Card Purchase 04/23 Apple. Com/Bill 866-712-7753 CA Card 7957                                       12.20
04/24   Recurring Card Purchase 04/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                        11.08
04/25   Card Purchase       04/24 Amazon Kids+*Hf27K3Lt 888-802-3080 WA Card 7957                                      4.99
Total ATM & Debit Card Withdrawals                                                                              $1,414.70



1 ATM & DEBIT CARD SUMMARY -1- - - - - - - - - - - - -

Michael A Wolf Card 7957
                         Total ATM Withdrawals & Debits                                                               $0.00

                                                                                                       Page 3 of 6
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        CHASEO                                                                April 01, 2023 through April 28, 2023
                                                                           Account Number:                        2511


                      Total Card Purchases                                                                       $1,414.70
                      Total Card Deposits & Credits                                                              $2,935.31
ATM & Debit Card Totals
                      Total ATM Withdrawals & Debits                                                                 $0.00
                      Total Card Purchases                                                                       $1,414.70
                      Total Card Deposits & Credits                                                              $2,935.31

!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                                    AMOUNT
04/03   Zelle Payment To Peter Wolf Jpm999Urpktx                                                                 $5,000.00
04/03   Orig CO Name:Pwp Google Gsu          Orig ID: 626060084 Desc Date:    CO Entry                               36.00
        Descr:Privacycomsec:Web Trace#:021115083235871 Eed:230403 Ind ID:TN: 6517958
        Ind Name:(844) 771-8229 Trn: 0933235871Tc
04/03   Orig CO Name:Pwp Linkz.Ai         Orig ID: 626060084 Desc Date:     CO Entry                                    10.00
        Descr: Privacycomsec: Web Trace#:021115083235584 Eed:230403 Ind ID:TN: 6701074
        Ind Name:(844} 771-8229 Trn: 0933235584Tc
04/03   Orig CO Name:Pwp Pocket            Orig ID: 626060084 Desc Date:    CO Entry                                     4.99
        Descr: Privacycomsec: Web Trace#:021115083235667 Eed:230403 Ind ID:TN: 2027306
        Ind Name:(844) 771-8229 Trn: 0933235667Tc
04/03   Orig CO Name:Pwp Smartstop S         Orig ID: 626060084 Desc Date:    CO Entry                                 164.01
        Descr: Privacycomsec: Web Trace#:021115089417632 Eed:230403 Ind ID:TN: 9178714
        Ind Name:(844) 771-8229 Trn: 0939417632Tc
04/04   Orig CO Name:Pwp Intuit *Qbo       Orig ID: 626060084 Desc Date:     CO Entry                                   25.00
        Descr:Privacycomsec:Web Trace#:021115084405558 Eed:230404 Ind ID:TN: 2193359
        Ind Name:(844) 771-8229 Trn: 0944405558Tc
04/04   Orig CO Name:Thebainbridge-10        Orig ID:9000326709 Desc Date:040423 CO Entry                          2,842.96
        Descr:Web Pmts Sec:Web Trace#:111924683358862 Eed:230404 Ind ID:W8Y8SC
        Ind Name:Peterwolf
        805-699-2040 Trn: 0943358862Tc
04/04   Orig CO Name:Yardi Service Ch       Orig ID:9000278329 Desc Date:040423 CO Entry                                 0.95
        Descr:Web Pmts Sec:Web Trace#:111924683058365 Eed:230404 Ind ID:4Lq5SC
        Ind Name:Peterwolf
        805-699-2040 Trn: 0943058365Tc
04/05   Orig CO Name:Unitedhealthcare       Orig ID:1836282001 Desc Date:     CO Entry                                 188.83
        Descr:Premium Sec:Web Trace#:021000027339297 Eed:230405 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 0957339297Tc
04/06   Orig CO Name:Wepay               Orig ID:5551232356 Desc Date:230406 CO Entry                                    9.95
        Descr:Payments Sec:PPD Trace#:021000028619284 Eed:230406 Ind ID:22539960
        Ind Name:Michael A Wolf          Nte*Zzz*Acct Recovery\ Trn: 0968619284Tc
04/07   Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:      CO Entry Descr:Transfer                       34.95
        Sec:CCD Trace#:091000010671370 Eed:230407 Ind ID:St-86D8L0Q5H6G2                    Ind
        Name:Mmqb Trn: 0970671370Tc
04/10   Orig CO Name:Pwp Niceboard.C         Orig ID: 626060084 Desc Date:    CO Entry                                 179.00
        Descr:Privacycomsec:Web Trace#:021115081019252 Eed:230410 Ind ID:TN: 9974313
        Ind Name:(844) 771-8229 Trn: 1001019252Tc
04/11   Orig CO Name:Fpl Direct Debit      Orig ID:3590247775 Desc Date:04/23 CO Entry                                 108.45
         Descr:Elec Pymt Sec:Web Trace#:111000011067450 Eed:230411 Ind ID:4842986087 Webi
         Ind Name:Scott Wolf
        00000000000000000000Trn: 1011067450Tc
04/11   Orig CO Name:Pwp Sp Greyson          Orig ID: 626060084 Desc Date:     CO Entry                                 91.49
         Descr:Privacycomsec:Web Trace#:021115084946615 Eed:230411 Ind ID:TN: 1744206
         Ind Name:(844) 771-8229 Trn: 1014946615Tc
04/11   Orig CO Name:Ollo              Orig ID:9000002835 Desc Date:     CO Entry Descr:Mobile                           9.00
         Pymsec:Web Trace#:124384605033116 Eed:230411 Ind ID:231000329458962                   Ind
         Name:Michael Wolf Trn: 1015033116Tc
04/12   Orig CO Name:Vw Credit, Inc.      Orig ID:1382362409 Desc Date:230412 CO Entry                                 247.10
         Descr:Auto Debitsec:Web Trace#:022000025282515 Eed:230412 Ind ID:000008132333861
         Ind Name:Michael Wolf
         65202304100000000009Trn: 1025282515Tc



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        CHASEO                                                                April 01, 2023 through April 28, 2023
                                                                           Account Number:                       2511



jELECTRONIC WITHDRAWALSj_(c_on_u_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                   AMOUNT
04/12   Orig CO Name:Pwp Squarespace         Orig ID: 626060084 Desc Date:    CO Entry                                  3.35
        Descr:Privacycomsec:Web Trace#:021115085329362 Eed:230412 Ind ID:TN: 1581782
        Ind Name:(844) 771-8229 Trn: 1025329362Tc
04/17   Orig CO Name:Pwp Chatgpt Sub        Orig ID: 626060084 Desc Date:     CO Entry
        Descr:Privacycomsec:Web Trace#:021115085319131 Eed:230417 Ind ID:TN: 1643037
                                                                                                                       20.00
                                                                                                                               --====
04/17
        Ind Name:(844) 771-8229 Trn: 1075319131Tc
        Orig CO Name:Pwp lnvoiceninj      Orig ID: 626060084 Desc Date:     CO Entry                                   10.00
                                                                                                                               -
        Descr:Privacycomsec:Web Trace#:021115085319707 Eed:230417 Ind ID:TN: 3226291
        Ind Name:(844) 771-8229 Trn: 1075319707Tc
04/18   Orig CO Name:Pwp Geico *Aut        Orig ID: 626060084 Desc Date:     CO Entry
        Descr:Privacycomsec:Web Trace#:021115080199688 Eed:230418 Ind ID:TN: 1709047
                                                                                                                      276.84
                                                                                                                               ==
                                                                                                                               ·==
04/19
        Ind Name:(844) 771-8229 Trn: 1080199688Tc
        Orig CO Name:Pwp Moonbeam            Orig ID: 626060084 Desc Date:     CO Entry                                18.00
                                                                                                                               ====
        Descr:Privacycomsec:Web Trace#:021115082712281 Eed:230419 Ind ID:TN: 7403975
        Ind Name:(844) 771-8229 Trn: 1092712281Tc
04/20   Orig CO Name:Bmw Bank             Orig ID:0870631885 Desc Date:230419 CO Entry                                817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000022349768 Eed:230420 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 1102349768Tc
04/20   Orig CO Name:Pwp Alivecor IN      Orig ID: 626060084 Desc Date:     CO Entry                                    9.99
        Descr:Privacycomsec:Web Trace#:021115080919414 Eed:230420 Ind ID:TN: 9197847
        Ind Name:(844) 771-8229 Trn: 1100919414Tc
04/21   Orig CO Name:Pwp Memberful.C         Orig ID: 626060084 Desc Date:    CO Entry                                103.60
        Descr:Privacycomsec:Web Trace#:021115088445568 Eed:230421 Ind ID:TN: 1359009
        Ind Name:(844) 771-8229 Trn: 1118445568Tc
04/21   Zelle Payment To Peter Wolf Jpm999VI0Nyc                                                                    529.68
04/24   04/24 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Moyer Real Estate                    10,000.00
        Services Dba Lakewood Ranch FL 34202 US Ref: File 2023-0379/Bnf/lntegrity Title Services
        lmad: 0424B1Qgc08C038152 Trn: 3488083114Es
04/25   Orig CO Name: Pwp Notion Labs       Orig ID: 626060084 Desc Date:    CO Entry                                  80.00
        Descr:Privacycomsec:Web Trace#:021115084113632 Eed:230425 Ind ID:TN: 1388320
        Ind Name:(844) 771-8229 Trn: 1154113632Tc
04/26   Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:       CO Entry Descr:Transfer                     314.00
        Sec:CCD Trace#:091000013434817 Eed:230426 Ind ID:St-S0l6T8G0C7T2                   Ind
        Name:Mmqb Trn: 1163434817Tc
04/26   Orig CO Name:Pwp Adobe *Cre         Orig ID: 626060084 Desc Date:     CO Entry                                 54.99
        Descr:Privacycomsec:Web Trace#:021115083745869 Eed:230426 Ind ID:TN: 1059848
        Ind Name:(844) 771-8229 Trn: 1163745869Tc
04/28   Orig CO Name:Pwp Popstroke         Orig ID: 626060084 Desc Date:     CO Entry                                  71.93
        Descr:Privacycomsec:Web Trace#:021115082708052 Eed:230428 Ind ID:TN: 9337234
        Ind Name:(844) 771-8229 Trn: 1182708052Tc
04/28   Orig CO Name:Pwp Openphone           Orig ID: 626060084 Desc Date:     CO Entry                                10.00
        Descr:Privacycomsec:Web Trace#:021115082707867 Eed:230428 Ind ID:TN: 5801099
        Ind Name:(844) 771-8229 Trn: 1182707867Tc
04/28   Orig CO Name:Pwp Extravm* Ex        Orig ID: 626060084 Desc Date:     CO Entry                                  5.00
        Descr:Privacycomsec:Web Trace#:021115082707894 Eed:230428 Ind ID:TN: 2763116
        Ind Name:(844) 771-8229 Trn: 1182707894Tc
Total Electronic Withdrawals                                                                                   $21,277.56


1FEES 1 - - - - - - - - - - - - - - - - - -
DATE    DESCRIPTION                                                                                                   AMOUNT
04/24   Online Domestic Wire Fee                                                                                      $25.00
Total Fees                                                                                                            $25.00




                                                                                                        Page 5 of 6
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        CHASEO                                                                                         April 01, 2023 through April 28, 2023
                                                                                                  Account Number:                           2511




I DAILy ENDING BALANCE I
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                              AMOUNT
04/03                     $148,518.53                 04/12                         149,605.64                04/21                         153,278.48
04/04                       146,194.92                04/13                         149,771.42                04/24                         144,179.60
04/05                       146,470.29                04/17                         149,807.43                04/25                         144,094.61
04/06                       146,701.95                04/18                         151,523.10                04/26                         143,725.62
04/07                       148,533.68                04/19                         152,507.80                04/27                         143,907.79
04/10                       148,800.20                04/20                         151,680.31                04/28                         144,003.03
04/11                       148,591.26



 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •     Your name and account number;
         •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •     The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 6 of 6
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      CHASEO                                                                           April 29, 2023 through May 31, 2023
     JPMorgan Chase Bank, N.A.
     PO Box 182051                                                                Account Number:                        2511
     Columbus, OH 43218 - 2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                              Web site:                       Chase.com
                                                                              Service Center:             1-800-242-7338
     00269505 DRE 021 210 15223 NNNNNNNNNNN 1 000000000 64 0000               Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                             International Calls:        1-713-262-1679
                                                                              We accept operator relay calls
     SARASOTA FL 34236-5125




We will start charging the online FX international wire transfer fee in July
We haven't been charging the on line FX international wire transfer fee that's included in your Chase Business Complete
Checking 8 M account agreement.

Starting on or after July 16, we will charge the $5 fee if you send a wire transfer of less than $5,000 USO from your checking
account to a bank outside of the U.S. in foreign currency.

If you have questions, please call the number on this statement. We accept operator relay calls.

ICHECKING SUMMARY I Chase Business Complete Checking
                                               INSTANCES                      AMOUNT
 Beginning Balance                                                       $144,003.03
 Deposits and Additions                                24                  31,574.60
 ATM & Debit Card Withdrawals                          37                  -2,066.13
 Electronic Withdrawals                                49                -162,970.30
 Fees                                                  1                      -35.00
 Ending Balance                                      111                  $10,506.20


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 M account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $10,956.20.
    •    $2,000 Chase Payment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.




                                                                                                                Page 1 of 8
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        CHASEO                                                                 April 29, 2023 through May 31, 2023
                                                                           Account Number:                       2511



IDEPOSITS AND A D D I T I O N S , _ _ ! - - - - - - - - - - - - - -
DATE      DESCRIPTION                                                                                                 AMOUNT
05/01     Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:     CO Entry                                $182.17
          Descr:Transfer Sec:CCD Trace#: 091 00001 0588561 E ed: 230501 Ind
          ID:St-U0B5H0X0H1 V2             Ind Name:Michael Wolf Trn: 121058856Hc
05/03     Payment Received      05/03 Stripe Visa Direct CA Card 7957                                             2,292.24
05/03     Payment Received      05/03 Stripe Visa Direct CA Card 7957                                               586.36
05/04     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:    CO Entry                              182.17
          Descr:Transfer Sec:CCD Trace#:091000010602354 Eed:230504 Ind
          ID: St-Q5A3O8J3L7C2             Ind Name:Michael Wolf Trn: 1240602354Tc
05/05     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:    CO Entry                            2,604.29
          Descr:Transfer Sec:CCD Trace#:091000014237708 Eed:230505 Ind
          ID: St-Y3S2R5A4 Y7Z5            Ind Name:Mmqb Trn: 1254237708Tc
05/05     Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:     CO Entry                                 182.17
          Descr:Transfer Sec:CCD Trace#:091000014249992 Eed:230505 Ind
          ID:St-Q9N5L0G3B9N4               Ind Name:Michael Wolf Trn: 1254249992Tc
05/08     Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:     CO Entry                                 182.17
          Descr:Transfer Sec:CCD Trace#:091000011085060 Eed:230508 Ind
          ID: St-E7 A1C3S1 GOD?            Ind Name:Michael Wolf Trn: 1281085060Tc
05/11     Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:    CO Entry                                 364.34
          Descr:Transfer Sec:CCD Trace#:091000017429175 Eed:230511 Ind
          ID:St-E0R5S5U5S5H9               Ind Name:Michael Wolf Trn: 1317429175Tc
05/12     Payment Received      05/13 Stripe Visa Direct CA Card 7957                                             1,717.21
05/12     Orig CO Name:Stripe                Orig ID: 1800948598 Desc Date:   CO Entry                              180.18
          Descr:Transfer Sec:CCD Trace#:091000017513905 Eed:230512 Ind
          ID:St-C7E0M3W1 R6H6                Ind Name:Michael Wolf Trn: 1327513905Tc
05/12     Payment Received      05/13 Stripe Visa Direct CA Card 7957                                                   94.75
05/17     Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:    CO Entry                                 870.09
          Descr:Transfer Sec:CCD Trace#:091000013033462 Eed:230517 Ind
          ID:St-E7I8R7R6N0J2            Ind Name:Mmqb Trn: 1373033462Tc
05/17     Orig CO Name:Stripe                Orig ID: 1800948598 Desc Date:   CO Entry                                 627.60
          Descr:Transfer Sec:CCD Trace#:091000012996099 Eed:230517 Ind
          ID:St-R7M1 V5X8R0D4               Ind Name:Michael Wolf Trn: 1372996099Tc
05/19     Orig CO Name:Stripe                Orig ID:4270465600 Desc Date:    CO Entry                                  57.56
          Descr:Transfer Sec:CCD Trace#: 111000029057104 Eed:230519 Ind
          ID:St-Z9G5F2K3G1 M8               Ind Name:Mmqb Trn: 1399057104Tc
05/23     Payment Received      05/23 Stripe Visa Direct CA Card 7957                                             1,719.18
05/23     Payment Received      05/23 Stripe Visa Direct CA Card 7957                                             1,465.69
05/24     Online Transfer From Chk ... 7880 Transaction#: 17432989595                                             5,000.00
05/24     Online Transfer From Chk ... 7880 Transaction#: 17432985335                                             4,000.00
05/24     Online Transfer From Chk ... 7880 Transaction#: 17433847575                                             1,000.00
05/25     Online Transfer From Chk ... 7880 Transaction#: 17441355520                                             5,000.00
05/25     Orig CO Name:Stripe                Orig ID: 1800948598 Desc Date:   CO Entry                            2,604.29
           Descr:Transfer Sec:CCD Trace#:091000011651173 Eed:230525 Ind
          ID: St-L9B4H0E2U2H2              Ind Name:Mmqb Trn: 1451651173Tc
05/30     Orig CO Name:Stripe                Orig ID: 1800948598 Desc Date:   CO Entry                                 287.04
           Descr:Transfer Sec:CCD Trace#:091000014022902 Eed:230530 Ind
          ID: St-M0J2I 0H7E2B5           Ind Name:Mmqb Trn: 1504022902Tc
05/30     Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:    CO Entry                                 192.93
           Descr:Transfer Sec:CCD Trace#:091000014022886 Eed:230530 Ind
           ID: St-E9B7 J0Z0G8A5           Ind Name:Mmqb Trn: 1504022886Tc
05/30     Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:    CO Entry                                 182.17
           Descr:Transfer Sec:CCD Trace#:091000014014546 Eed:230530 Ind
           ID: St-H2A8X9O8D7O0              Ind Name:Michael Wolf Trn: 1504014546Tc
Total Deposits and Additions                                                                                   $31,574.60




                                                                                                        Page 2 of 8
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       CHASEO                                                             April 29, 2023 through May 31, 2023
                                                                       Account Number:                      2511



!ATM & DEBIT CARD WITHDRAWALS!
DATE    DESCRIPTION                                                                                              AMOUNT
05/01   Recurring Card Purchase 04/28 Apple.Com/Bill 866-712-7753 CA Card 7957                                   $34.94
05/01   Recurring Card Purchase 04/29 Tmobile*Auto Pay 800-937-8997 WA Card 7957                                 197.92
                                                                                                                          -=
                                                                                                                          ::::==::::
05/02
05/02
        Card Purchase
        Card Purchase
                            05/01 Amazon.Com*Hm5D30Pt1 Amzn.Com/Bill WA Card 7957
                            05/01 Pwp*Privacy. Com Busine 844-7718229 NY Card 7957
                                                                                                                  34.23
                                                                                                                  10.00   ===
                                                                                                                          =
                                                                                                                          ::::==::::
05/08   Card Purchase       05/06 Apple.Com/Bill 866-712-7753 CA Card 7957                                        25.97   ====
                                                                                                                          -
05/10
05/10
        Card Purchase       05/09 Apple.Com/Bill 866-712-7753 CA Card 7957
        Recurring Card Purchase 05/10 Apple.Com/Bill 866-712-7753 CA Card 7957
                                                                                                                  39.99
                                                                                                                  10.69
                                                                                                                          -
                                                                                                                          =
                                                                                                                          =
05/12   Card Purchase       05/12 Amzn Mktp US*Xj5Wd96 Amzn.Com/Bill WA Card 7957                                240.70
05/12   Recurring Card Purchase 05/12 Intuit *Obooks Onlin Cl.Intuit. Com CA Card 7957                            30.00
05/15   Card Purchase       05/15 Amzn Mktp US*Dz1 Vl1 I Amzn. Com/Bill WA Card 7957                              42.69   ====
                                                                                                                          ==
05/15   Card Purchase       05/12 Shopdisney.Com 800-3280368 CA Card 7957                                        121.92
05/15   Recurring Card Purchase 05/14 Apple. Com/Bill 866-712-7753 CA Card 7957                                    8.99
05/15   Card Purchase       05/14 Apple. Com/Bill 866-712-7753 CA Card 7957                                        0.99
05/16   Card Purchase       05/16 Amzn Mktp US*F52Nq8V Amzn.Com/Bill WA Card 7957                                 27.99
05/16   Card Purchase       05/16 Amzn Mktp US*Xy2Oy46 Amzn.Com/Bill WA Card 7957                                 34.45
05/16   Recurring Card Purchase 05/16 Audible*lz0Wd54T3 Amzn.Com/Bill NJ Card 7957                                14.95
05/17   Recurring Card Purchase 05/16 Apple. Com/Bill 866-712-7753 CA Card 7957                                    4.27
05/17   Recurring Card Purchase 05/16 Apple. Com/Bill 866-712-7753 CA Card 7957                                   35.04
05/17   Recurring Card Purchase 05/16 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                             97.98
05/18   Card Purchase With Pin 05/18 Costco Whse #1123 Sarasota FL Card 7957                                      88.25
05/22   Card Purchase        05/21 Amz*Jpegmini Orders@Fastsp CA Card 7957                                        41.30
05/22   Recurring Card Purchase 05/22 Apple.Com/Bill 866-712-7753 CA Card 7957                                    12.20
05/22   Card Purchase        05/22 Amzn Mktp US*667Uo9U Amzn.Com/Bill WA Card 7957                                40.85
05/23   Recurring Card Purchase 05/22 Covenant Health Produc 800-6276518 NC Card 7957                             41.15
05/24   Recurring Card Purchase 05/23 Apple. Com/Bill 866-712-7753 CA Card 7957                                   11.08
05/25   Recurring Card Purchase 05/24 Apple. Com/Bill 866-712-7753 CA Card 7957                                   15.99
05/25   Card Purchase        05/25 Amzn Mktp US*Sy04S4X Amzn.Com/Bill WA Card 7957                                45.99
05/25   Card Purchase        05/24 Amazon Kids+*Bh4Yl4Jx 888-802-3080 WA Card 7957                                 4.99
05/30   Card Purchase        05/26 Amazon.Com*Sq8Zn37O3 Amzn.Com/Bill WA Card 7957                                48.76
05/30   Card Purchase        05/26 Amzn Mktp US*Ht70H05 Amzn.Com/Bill WA Card 7957                                20.32
05/30   Card Purchase        05/27 Amazon.Com*1 F4V66Da3 Amzn.Com/Bill WA Card 7957                              171.90
05/30   Card Purchase        05/27 Amazon.Com*PO1 Dg3Tc3 Amzn.Com/Bill WA Card 7957                               29.41
05/30   Recurring Card Purchase 05/29 Apple.Com/Bill 866-712-7753 CA Card 7957                                    17.19
05/30   Card Purchase        05/29 Amazon.Com*Lo5Bg6V03 Amzn.Com/Bill WA Card 7957                               187.24
05/30   Card Purchase        05/30 Amazon.Com*3B7Db8Fh3 Amzn.Com/Bill WA Card 7957                                64.19
05/30   Card Purchase        05/30 Amzn Mktp US*Nl9Gq3S Amzn.Com/Bill WA Card 7957                                13.69
05/30   Recurring Card Purchase 05/30 Tmobile*Auto Pay 800-937-8997 WA Card 7957                                 197.92
Total ATM & Debit Card Withdrawals                                                                          $2,066.13



1 ATM & DEBIT CARD SUMMARY -1- - - - - - - - - - - - -

Michael A Wolf Card 7957
                          Total ATM Withdrawals & Debits                                                       $0.00
                          Total Card Purchases                                                             $2,066.13
                          Total Card Deposits & Credits                                                    $7,875.43
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                       $0.00
                          Total Card Purchases                                                             $2,066.13
                          Total Card Deposits & Credits                                                    $7,875.43

                                                                                                   Page 3 of 8
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        CHASEO                                                             April 29, 2023 through May 31, 2023
                                                                       Account Number:                       2511



!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                               AMOUNT
05/01   Orig CO Name:Pwp Geico Mari         Orig ID: 626060084 Desc Date:     CO Entry                            $96.91
        Descr: Privacycomsec: Web Trace#:021115080857262 Eed:230501 Ind ID:TN: 1270869
        Ind Name:(844) 771-8229 Trn: 1210857262Tc
05/01   Orig CO Name:Pwp Geico Mari         Orig ID: 626060084 Desc Date:     CO Entry                             96.91
        Descr:Privacycomsec:Web Trace#:021115080857263 Eed:230501 Ind ID:TN: 9069660
        Ind Name:(844) 771-8229 Trn: 1210857263Tc
05/01   Orig CO Name:Pwp Squarewebsi         Orig ID: 626060084 Desc Date:      CO Entry                           95.00
        Descr:Privacycomsec:Web Trace#:021115080857840 Eed:230501 Ind ID:TN: 1100864
        Ind Name:(844) 771-8229 Trn: 1210857840Tc
05/01   Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:     CO Entry                            54.99
        Descr:Privacycomsec:Web Trace#:021115080698703 Eed:230501 Ind ID: TN: 1528660
        Ind Name:(844) 771-8229 Trn: 1210698703Tc
05/02   Zelle Pa~ment To Peter Wolf Jem999W1 Ka9J                                                             5,000.00
05/02   Orig CO Name:Pwp Concierge C         Orig ID: 626060084 Desc Date:     CO Entry                         760.00
        Descr: Privacycomsec: Web Trace#:021115084555188 Eed:230502 Ind ID:TN: 7340372
        Ind Name:(844) 771-8229 Trn: 1224555188Tc
05/02   Orig CO Name:Pwp Google Gsu          Orig ID: 626060084 Desc Date:     CO Entry                            36.00
        Descr:Privacycomsec:Web Trace#:021115084555045 Eed:230502 Ind ID:TN: 1364846
        Ind Name:(844) 771-8229 Trn: 1224555045Tc
05/03   Orig CO Name:Pwp Smartstop S         Orig ID: 626060084 Desc Date:     CO Entry                           164.01
        Descr: Privacycomsec: Web Trace#:021115085075755 Eed:230503 Ind ID:TN: 9975601
        Ind Name:(844) 771-8229 Trn: 1235075755Tc
05/03   Orig CO Name:Pwp Linkz.Ai         Orig ID: 626060084 Desc Date:      CO Entry                              10.00
        Descr:Privacycomsec:Web Trace#:021115085077450 Eed:230503 Ind ID:TN: 4273728
        Ind Name:(844) 771-8229 Trn: 1235077450Tc
05/03   Orig CO Name:Pwp Pocket           Orig ID: 626060084 Desc Date:      CO Entry                               4.99
        Descr:Privacycomsec:Web Trace#:021115085078468 Eed:230503 Ind ID:TN: 1252797
        Ind Name:(844) 771-8229 Trn: 1235078468Tc
05/03   Orig CO Name:Thebainbridge-10       Orig ID:9000326709 Desc Date:050323 CO Entry                      2,840.81
        Descr:Web Pmts Sec:Web Trace#: 111924689397139 Eed:230503 Ind ID:Q38Zyc
        Ind Name:Peterwolf
        805-699-2040 Trn: 1239397139Tc
05/03   Orig CO Name:Yardi Service Ch       Orig ID:9000278329 Desc Date:050323 CO Entry                            0.95
         Descr:Web Pmts Sec:Web Trace#:111924689270875 Eed:230503 Ind ID:NJ2Yyc
        Ind Name:Peterwolf
        805-699-2040 Trn: 1239270875Tc
05/04   Orig CO Name:Pwp Intuit *Qbo       Orig ID: 626060084 Desc Date:      CO Entry                             25.00
         Descr:Privacycomsec:Web Trace#:021115080539835 Eed:230504 Ind ID:TN: 4504665
         Ind Name:(844) 771-8229 Trn: 1240539835Tc
05/05   Orig CO Name:Unitedhealthcare       Orig ID:1836282001 Desc Date:      CO Entry                           188.83
         Descr:Premium Sec:Web Trace#:021000023665829 Eed:230505 Ind ID:3425550781
         Ind Name:Wolf           M Trn: 1253665829Tc
05/05   Orig CO Name:Pwp Class Valua        Orig ID: 626060084 Desc Date:      CO Entry                           650.00
         Descr:Privacycomsec:Web Trace#:021115080295248 Eed:230505 Ind ID:TN: 7825564
         Ind Name:(844) 771-8229 Trn: 1250295248Tc
05/08    Orig CO Name:Wepay              Orig ID:4693231001 Desc Date:230506 CO Entry                               9.95
         Descr:Payments Sec:PPD Trace#:021000021926629 Eed:230508 Ind ID:23046637
         Ind Name:Michael A Wolf         Nte*Zzz*Acct Recovery\ Trn: 1281926629Tc
05/08    Orig CO Name:Pwp Appraisal M       Orig ID: 626060084 Desc Date:      CO Entry                           725.00
         Descr:Privacycomsec:Web Trace#:021115081174365 Eed:230508 Ind ID:TN: 1678798
         Ind Name:(844) 771-8229 Trn: 1281174365Tc
05/09    Orig CO Name:Pwp Hidden Harb        Orig ID: 626060084 Desc Date:     CO Entry                            18.18
         Descr:Privacycomsec:Web Trace#:021115087606087 Eed:230509 Ind ID:TN: 1432502
         Ind Name:(844) 771-8229 Trn: 1297606087Tc
05/10    Orig CO Name:Pwp Niceboard.C        Orig ID: 626060084 Desc Date:     CO Entry                           179.00
         Descr:Privacycomsec:Web Trace#:021115089789663 Eed:230510 Ind ID:TN: 1682019
         Ind Name:(844) 771-8229 Trn: 1309789663Tc
05/11    Orig CO Name:Pwp Www.Pacer.G          Orig ID: 626060084 Desc Date:     CO Entry                         109.70
         Descr:Privacycomsec:Web Trace#:021115087492460 Eed:230511 Ind ID:TN: 1660917
         Ind Name:(844) 771-8229 Trn: 1317492460Tc

                                                                                                    Page 4 of 8
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        CHASEO                                                                April 29, 2023 through May 31, 2023
                                                                          Account Number:                       2511



!ELECTRONIC WITHDRA WALSi_<c_on_un_u_ed_~ _ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                  AMOUNT
05/12   Orig CO Name:Vw Credit, Inc.     Orig ID:1382362409 Desc Date:230512 CO Entry                                247.10
        Descr:Auto Debitsec:Web Trace#:022000025151466 Eed:230512 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202305100000000009 Trn: 1325151466Tc                                                                                ==
05/12   Orig CO Name:Pwp Squarespace         Orig ID: 626060084 Desc Date:    CO Entry                                16.01
        Descr:Privacycomsec:Web Trace#:021115087680858 Eed:230512 Ind ID:TN: 5331137
        Ind Name:(844) 771-8229 Trn: 1327680858Tc
                                                                                                                              -
05/15   Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:
        Sec:CCD Trace#:111000028093761 Eed:230515 Ind ID:St-W1U7Z1Y2T2V7
                                                                         CO Entry Descr:Transfer
                                                                                           Ind
                                                                                                                     314.00
                                                                                                                              ===
                                                                                                                              =
                                                                                                                              =
        Name:Mmqb Trn: 1358093761Tc
05/15   Orig CO Name:Pwp Squarespace         Orig ID: 626060084 Desc Date:    CO Entry                               252.00
        Descr:Privacycomsec:Web Trace#:021115088199394 Eed:230515 Ind ID:TN: 9142260
        Ind Name:(844) 771-8229 Trn: 1358199394Tc
05/15   Orig CO Name:Pwp Sarasota CO         Orig ID: 626060084 Desc Date:    CO Entry                               101.63
        Descr:Privacycomsec:Web Trace#:021115088200271 Eed:230515 Ind ID:TN: 1687955
        Ind Name:(844) 771-8229 Trn: 1358200271Tc
05/16   Orig CO Name:Pwp Chatgpt Sub        Orig ID: 626060084 Desc Date:     CO Entry                                20.00
        Descr:Privacycomsec:Web Trace#:021115088095174 Eed:230516 Ind ID:TN: 6179503
        Ind Name:(844) 771-8229 Trn: 1368095174Tc
05/17   Orig CO Name:Pwp lnvoiceninj      Orig ID: 626060084 Desc Date:     CO Entry                                  10.00
        Descr:Privacycomsec:Web Trace#:021115083461694 Eed:230517 Ind ID:TN: 2786075
        Ind Name:(844) 771-8229 Trn: 1373461694Tc
05/18   Orig CO Name:Pwp Geico *Aut        Orig ID: 626060084 Desc Date:     CO Entry                                256.87
        Descr:Privacycomsec:Web Trace#:021115087826235 Eed:230518 Ind ID:TN: 8598863
        Ind Name:(844) 771-8229 Trn: 1387826235Tc
05/19   Orig CO Name:Pwp UPS*Billing       Orig ID: 626060084 Desc Date:     CO Entry                                156.08
        Descr:Privacycomsec:Web Trace#:021115080746379 Eed:230519 Ind ID:TN: 1241098
        Ind Name:(844) 771-8229 Trn: 1390746379Tc
05/19   Orig CO Name:Pwp UPS*Billing       Orig ID: 626060084 Desc Date:     CO Entry                                140.72
        Descr:Privacycomsec:Web Trace#:021115080746378 Eed:230519 Ind ID:TN: 1153363
        Ind Name:(844) 771-8229 Trn: 1390746378Tc
05/19   Orig CO Name:Pwp Moonbeam            Orig ID: 626060084 Desc Date:     CO Entry                               18.00
        Descr: Privacycomsec: Web Trace#:0211150807 46553 Eed: 230519 Ind ID: TN: 4721668
        Ind Name:(844) 771-8229 Trn: 1390746553Tc
05/19   Orig CO Name:Pwp UPS*Billing       Orig ID: 626060084 Desc Date:     CO Entry                                 11.26
        Descr:Privacycomsec:Web Trace#:021115080746377 Eed:230519 Ind ID:TN: 1030186
        Ind Name:(844) 771-8229 Trn: 1390746377Tc
05/22   Orig CO Name:Bmw Bank             Orig ID:0870631885 Desc Date:230519 CO Entry                               817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000026677379 Eed:230522 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 1426677379Tc
05/22   Orig CO Name:Pwp Memberful.C         Orig ID: 626060084 Desc Date:    CO Entry                               103.60
        Descr:Privacycomsec:Web Trace#:021115082965613 Eed:230522 Ind ID:TN: 4029957
        Ind Name:(844) 771-8229 Trn: 1422965613Tc
05/22   Orig CO Name:Pwp Alivecor IN       Orig ID: 626060084 Desc Date:    CO Entry                                   9.99
        Descr:Privacycomsec:Web Trace#:021115082963541 Eed:230522 Ind ID:TN: 5364315
        Ind Name:(844) 771-8229 Trn: 1422963541Tc
05/23   Orig CO Name:Ollo             Orig ID:9000002835 Desc Date:      CO Entry Descr:Mobile                       775.39
        Pymsec:Web Trace#:124384606956082 Eed:230523 Ind ID:231420334750379                   Ind
        Name:Michael Wolf Trn: 1436956082Tc
05/23   Orig CO Name:Fpl Direct Debit     Orig ID:3590247775 Desc Date:05/23 CO Entry                                133.70
        Descr:Elec Pymt Sec:Web Trace#: 111000013619610 Eed:230523 Ind ID:4842986087 Webi
        Ind Name:Scott Wolf
        00000000000000000000Trn: 1433619610Tc
05/24   Orig CO Name:Pwp Extravm* Ex        Orig ID: 626060084 Desc Date:     CO Entry                                11.50
        Descr:Privacycomsec:Web Trace#:021115086454504 Eed:230524 Ind ID:TN: 1315206
        Ind Name:(844) 771-8229 Trn: 1446454504Tc
05/25   Orig CO Name:Pwp Tmedeclofus         Orig ID: 626060084 Desc Date:    CO Entry                                99.00
        Descr:Privacycomsec:Web Trace#:021115081484771 Eed:230525 Ind ID:TN: 7518262
        Ind Name:(844) 771-8229 Trn: 1451484771Tc


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         CHASEO                                                                    April 29, 2023 through May 31, 2023
                                                                                Account Number:                      2511



IELECTRONIC WITHDRAWALSl_(c_on_ti_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
 DA TE   DESCRIPTION                                                                                                      AMOUNT
05/25    Orig CO Name:Pwp Notion Labs        Orig ID: 626060084 Desc Date:     CO Entry                                     80.00
         Descr:Privacycomsec:Web Trace#:021115081484870 Eed:230525 Ind ID:TN: 6488147
         Ind Name:(844) 771-8229 Trn: 1451484870Tc
05/25    Orig CO Name:Pwp Tmecerticop         Orig ID: 626060084 Desc Date:    CO Entry                                     59.00
         Descr:Privacycomsec:Web Trace#:021115081484784 Eed:230525 Ind ID:TN: 7131473
         Ind Name:(844) 771-8229 Trn: 1451484784Tc
05/25    Orig CO Name:Pwp Tmetrademar          Orig ID: 626060084 Desc Date:     CO Entry                                   49.00
         Descr:Privacycomsec:Web Trace#:021115081484767 Eed:230525 Ind ID:TN: 5453281
         Ind Name:(844) 771-8229 Trn: 1451484767Tc
05/25    05/25 Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Integrity Title Services, Inc                147,641.74
         Ref: Ref/File #2023-0379/11509 Gramercy Park Ave, Bradenton FL 34211 Imad:
         0525B1 Qgc01 C011111 Trn: 3187463145Es
05/26    Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:    CO Entry                                     54.99
         Descr:Privacycomsec:Web Trace#:021115089466900 Eed:230526 Ind ID:TN: 7827310
         Ind Name:(844) 771-8229 Trn: 1469466900Tc
05/26    Orig CO Name:Pwp Peace River         Orig ID: 626060084 Desc Date:    CO Entry                                      5.00
         Descr:Privacycomsec:Web Trace#:021115089467289 Eed:230526 Ind ID:TN: 1696315
         Ind Name:(844) 771-8229 Trn: 1469467289Tc
05/30    Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:    CO Entry                                     54.99
         Descr:Privacycomsec:Web Trace#:021115083942717 Eed:230530 Ind ID:TN: 4427929
         Ind Name:(844) 771-8229 Trn: 150394271 ?Tc
05/30    Orig CO Name:Pwp Openphone           Orig ID: 626060084 Desc Date:     CO Entry                                    10.00
         Descr:Privacycomsec:Web Trace#:021115083943672 Eed:230530 Ind ID:TN: 4729585
         Ind Name:(844) 771-8229 Trn: 1503943672Tc
05/30    Orig CO Name:Pwp Extravm* Ex         Orig ID: 626060084 Desc Date:     CO Entry                                     5.00
         Descr:Privacycomsec:Web Trace#:021115083943843 Eed:230530 Ind ID:TN: 4177297
         Ind Name:(844) 771-8229 Trn: 1503943843Tc
05/31    Orig CO Name:Mdvip, Inc          Orig ID:0009122507 Desc Date:230530 CO Entry                                     450.00
         Descr:8778861411 Sec:Web Trace#:021000020485579 Eed:230531 Ind ID:
         Ind Name:Michael Wolf
         2627 409193115 Trn: 1510485579Tc
Total Electronic Withdrawals                                                                                     $162,970.30


I FEES 1--I- - - - - - - - - - - - - - - - - -
 DATE    DESCRIPTION                                                                                                      AMOUNT
05/25    Domestic Wire Fee                                                                                                 $35.00
 Total Fees                                                                                                                $35.00


I DAILY ENDING BALANCE, _ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE                       AMOUNT           DATE                      AMOUNT              DATE                             AMOUNT

05/01                  $143,608.53         05/11                  139,158.97             05/22                       139,389.03
05/02                   137,768.30         05/12                   140,617.30            05/23                       141,623.66
05/03                   137,626.14         05/15                   139,775.08            05/24                       151,601.08
05/04                   137,783.31         05/16                   139,677.69            05/25                            11,174.66
05/05                   139,730.94         05/17                   141,028.09            05/26                            11,114.67
05/08                   139,152.19         05/18                   140,682.97            05/30                            10,956.20
05/09                   139,134.01         05/19                   140,414.47            05/31                            10,506.20
05/10                   138,904.33




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      CHASEO                                                                                          April 29, 2023 through May 31, 2023
                                                                                                  Account Number:                          2511




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
you need more information about a transfer listed on the statement or receipt.

For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                                                                                                                                                            -=
appeared. Be prepared to give us the following information:                                                                                                 ====
        •     Your name and account number;
        •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
        •     The amount of the suspected error.                                                                                                            =
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                                                                                                                                                            -=====
us to complete our investigation.
For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
agreement or other applicable agreements that govern your account.

                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                  Page 7 of 8
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CHASEO                                                           April 29, 2023 through May 31, 2023
                                                              Account Number:                      2511




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      CHASEO                                                                         June 01, 2023 through June 30, 2023
     JPMorgan Chase Bank, N.A.
     PO Box 182051                                                               Account Number:                      2511
     Columbus, OH 43218 -2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                              Web site:                       Chase.com
                                                                              Service Center:             1-800-242-7338
     00270448 DRE 021 210 18223 NNNNNNNNNNN 100000000064 0000                 Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                             International Calls:        1-713-262-1679
                                                                              We accept operator relay calls
     SARASOTA FL 34236-5125
                                                                                                                                 =
                                                                                                                                 ===
                                                                                                                                 =
                                                                                                                                 =




You now have more time to let us know about certain check errors on your account
In June we increased the timeframe for when you can make a claim for checks drawn on your account that have either been
altered or that you did not authorize. You now have up to 60 days from when we make a statement available to make a
claim on these items in order to be considered for reimbursement.

We've updated the Safeguarding Your Information section in our Deposit Account Agreement to reflect this change as well
as provide additional information about our check claims process.

If you'd like a copy of the Deposit Account Agreement, please visit chase.com/business/disclosures, visit a branch or call us
at the number on this statement. We also accept operator relay calls.

A reminder about the online FX international wire fee

As mentioned in your May statement, we haven't been charging the on line FX international wire transfer fee that's included
in your Chase Business Complete CheckingsM account agreement.

Starting on or after July 16, we will charge the $5 fee if you send a wire transfer of less than $5,000 USD from your checking
account to a bank outside of the U.S. in foreign currency.

If you have questions, please call the number on this statement. We accept operator relay calls.


ICHECKING SUMMARY ,_C_h_a_se_B_u_s_in_es_s_C_o_m_pl_et_e_C_he_c_ki_ng_ _ _ _ _ _ _ _ _ _ _ __
                                              INSTANCES                       AMOUNT
 Beginning Balance                                                        $10,506.20
 Deposits and Additions                              34                    62,022.99
 ATM & Debit Card Withdrawals                        69                   -15,529.85
 Electronic Withdrawals                              49                   -21,696.73
 Fees                                                 1                       -15.00
 Ending Balance                                     153                   $35,287.61


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.




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        CHASEO                                                                       June 01, 2023 through June 30, 2023
                                                                                 Account Number:                       2511


How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 Maccount in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $10,981.01.
    e    $2,000 Chase Pa"5ment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


I DEPOSITS AND ADDITIONS I I - - - - - - - - - - - - - - - -
 DATE        DESCRIPTION                                                                                                    AMOUNT
06/01       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                                    $580.06
            Descr:Transfer Sec:CCD Trace#:091000016377679 Eed:230601 Ind
            ID: St-S289H6D0W3O7              Ind Name:Mmqb Trn: 1526377679Tc
06/01       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                                     576.80
            Descr:Transfer Sec:CCD Trace#:091000016348969 Eed:230601 Ind
            ID:St-V0Q2L1C3O3O0              Ind Name:Mmgb Trn: 1526348969Tc
06/01       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                                     364.34
            Descr:Transfer Sec:CCD Trace#:091000016338704 Eed:230601 Ind
            ID:St-G7D2S2C0F8E9             Ind Name:Michael Wolf Trn: 1526338704Tc
06/01       Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry                                      38.14
            Descr:Transfer Sec:CCD Trace#:111000028958480 Eed:230601 Ind
            ID:St-V3V1 N3H5F0E5            Ind Name:Mmqb Trn: 1528958480Tc
06/02       Deposit     5100042597                                                                                      5,000.00
06/02       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                                3,176.47
            Descr:Transfer Sec:CCD Trace#:091000016828483 Eed:230602 Ind
            ID:St-J6S1 A4Z5C8X1           Ind Name:Michael Wolf Trn: 1536828483Tc
06/05       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                                     192.93
            Descr:Transfer Sec:CCD Trace#:091000015901897 Eed:230605 Ind
            ID: St-U6H8T6G9U5J6            Ind Name:Mmqb Trn: 1565901897Tc
06/05       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                                     182.17
            Descr:Transfer Sec:CCD Trace#:091000015881332 Eed:230605 Ind
            ID:St-Z0M8D4Y1O1 G6              Ind Name:Michael Wolf Trn: 1565881332Tc
06/06       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                                3,358.64
            Descr:Transfer Sec:CCD Trace#:091000018259364 Eed:230606 Ind
            ID: St-T3N0U9G5D3O1             Ind Name:Michael Wolf Trn: 1578259364Tc
06/07       Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                                     182.17
            Descr:Transfer Sec:CCD Trace#:091000014699574 Eed:230607 Ind
            ID: St-Z6M2Y7V0C7U4             Ind Name:Michael Wolf Trn: 1584699574Tc
06/08       Book Transfer Credit 8/0: Unicredit S.P.A. Milano Italy 20154 It                                            8,955.00
            Org:/lt42Y0200805364000104536496 1/Donati Spa 0gb: Unicredit S.P.A. Piazza Gae
            Aulenti 3, Ref:/Roc/111014600344/Uri/lnvoice No.0027 - 24 May 2023 Donati/Chgs/USD45,
            00/Ocmt/USD9000,/ Trn: 2000114157Js
06/08       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                                     201.14
            Descr:Transfer Sec:CCD Trace#:091000011426822 Eed:230608 Ind
            ID:St-N0L9L8Q8S3U4             Ind Name:Michael Wolf Trn: 1591426822Tc
06/09       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                                     182.17
            Descr:Transfer Sec:CCD Trace#:091000018566915 Eed:230609 Ind
            ID:St-A7T1E7F8I4U5           Ind Name:Michael Wolf Trn: 1608566915Tc
06/12       Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                                     182.17
            Descr:Transfer Sec:CCD Trace#:091000011287421 Eed:230612 Ind
            ID:St-Y9I7Q4Z9S0R9            Ind Name:Michael Wolf Trn: 1631287421Tc
06/12       Orig CO Name:Pwp Adobe *Cre            Orig ID: 626060084 Desc Date:    CO Entry                                  36.03
            Descr:Privacycomsec:Web Trace#:021115081654089 Eed:230612 Ind ID:TN: 2939029
             Ind Name:(844) 771-8229 Trn: 1631654089Tc

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        CHASEO                                                       June 01, 2023 through June 30, 2023
                                                                  Account Number:                     2511



IDEPOSITS AND ADDITIONS 1-(_co_nt,_·nu_ed_~_ _ _ _ _ _ _ _ _ _ _ _ __
DATE      DESCRIPTION                                                                                       AMOUNT
06/13     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                       1,740.18
          Descr:Transfer Sec:CCD Trace#: 091 000016236218 Eed: 230613 Ind
          ID: St-L9Z6O3F0J5A5       Ind Name:Mmgb Trn: 1646236218Tc
06/13     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                       1,534.47
          Descr:Transfer Sec:CCD Trace#:091000016231985 Eed:230613 Ind
          ID: St-H2Y0Q5A8I4X5       Ind Name:Mmqb Trn: 1646231985Tc
                                                                                                                     =
06/13     Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                            76.63
                                                                                                                     ====
                                                                                                                     -
          Descr:Transfer Sec:CCD Trace#:111000021731949 Eed:230613 Ind
          ID: St-U2T 4E 1T3U5Z0      Ind Name:Mmgb Trn: 1641731949Tc                                                 -
                                                                                                                     =
                                                                                                                     =
06/15     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:
          Descr:Transfer Sec:CCD Trace#:091000010933324 Eed:230615 Ind
                                                                         CO Entry                           964.65   ===
                                                                                                                     -
                                                                                                                     =
06/15
          ID: St-C8N6S2O6F3C5
          Orig CO Name:Stripe
                                      Ind Name:Mmqb Trn: 1660933324Tc
                                        Orig ID: 1800948598 Desc Date:   CO Entry                           870.09
                                                                                                                     ====
          Descr:Transfer Sec:CCD Trace#: 091000010966469 Eed: 230615 Ind
          ID: St-B6S8D8C0R 1X2        Ind Name:Mmqb Trn: 1660966469Tc
06/15     Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                           649.53
          Descr:Transfer Sec:CCD Trace#: 111000027034662 Eed: 230615 Ind
          ID:St-O2I1 C7J8R1 R4      Ind Name:Mmqb Trn: 1667034662Tc
06/20     Deposit     5100046555                                                                        5,000.00
06/20     Deposit                                                                                       5,000.00
06/20     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                         809.77
          Descr:Transfer Sec:CCD Trace#:091000013371709 Eed:230620 Ind
          ID:St-U6L5D6G4X4I3        Ind Name:Michael Wolf Trn: 1713371709Tc
06/22     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                       8,586.07
          Descr:Transfer Sec:CCD Trace#: 091 000017 961739 Eed: 230622 Ind
          ID:St-V2Z2F7S6N6K4         Ind Name:Michael Wolf Trn: 1737961739Tc
06/22     Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                       1,926.31
          Descr:Transfer Sec:CCD Trace#:09100001797397 4 Eed:230622 Ind
          ID:St-X6Q3G3P4V0L5          Ind Name:Mmqb Trn: 1737973974Tc
06/22     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                       1,735.69
          Descr:Transfer Sec:CCD Trace#:091000017975550 Eed:230622 Ind
          ID:St-U8X1 B8Z2F4M4         Ind Name:Mmgb Trn: 1737975550Tc
06/22     Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                           858.80
          Descr:Transfer Sec:CCD Trace#: 111000024569290 Eed: 230622 Ind
          ID: St-C5H4 V0Z4A5F9       Ind Name:Mmqb Trn: 1734569290Tc
06/23     Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                           182.17
          Descr:Transfer Sec:CCD Trace#:091000016039616 Eed:230623 Ind
          ID:St-A0T2E2H5H5A7          Ind Name:Michael Wolf Trn: 1746039616Tc
06/27     Card Purchase Return 06/26 Magic Village Views 407-992-8802 FL Card 7957                        339.59
06/27     Orig CO Name:Kimball Intl      Orig ID:2350514506 Desc Date:230627 CO Entry                   5,000.00
          Descr:Payments Sec:CTX Trace#:021000025241088 Eed:230627 Ind ID:0020894466
          Ind Name:0007Zzc Inc Oba Mmqb Trn: 1785241088Tc
06/27     Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                           182.17
          Descr:Transfer Sec:CCD Trace#:091000010719195 Eed:230627 Ind
          ID:St-Y5T4F4N9P2Y5         Ind Name:Michael Wolf Trn: 1780719195Tc
06/28     Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                       3,176.47
          Descr:Transfer Sec:CCD Trace#:091000018703969 Eed:230628 Ind
          ID:St-A4S0H5Y5U7K3          Ind Name:Michael Wolf Trn: 1798703969Tc
06/29     Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                           182.17
          Descr:Transfer Sec:CCD Trace#:091000013497399 Eed:230629 Ind
          ID:St-Z6X8P0X1 N0W0          Ind Name:Michael Wolf Trn: 1803497399Tc
Total Deposits and Additions                                                                         $62,022.99




                                                                                              Page 3 of B
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       CHASEO                                                             June 01, 2023 through June 30, 2023
                                                                       Account Number:                      2511



JATM & DEBIT CARD WITHDRAWALSJ
DATE    DESCRIPTION                                                                                              AMOUNT
06/01   Card Purchase       06/01 Amzn Mktp US*D26Lp20 Amzn.Com/Bill WA Card 7957                                $84.53
06/02   Card Purchase       06/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                 10.00
06/02   Card Purchase       06/02 Mmgb.lo Www.Mmgb.lo FL Card 7957                                               199.00
06/06   Recurring Card Purchase 06/06 Apple.Com/Bill 866-712-7753 CA Card 7957                                    15.99
06/06   Card Purchase       06/06 American Air00124533919 Fort Worth TX Card 7957                                211.90
06/06   Card Purchase       06/06 American Air00124533919 Fort Worth TX Card 7957                                211.90
06/06   Card Purchase       06/06 American Air00124533983 Fort Worth TX Card 7957                                123.91
06/06   Card Purchase       06/06 American Air00106288263 Fort Worth TX Card 7957                                 27.72
06/06   Card Purchase       06/06 Amazon.Com*R58Gz2V53 Amzn.Com/Bill WA Card 7957                                 86.81
06/06   Card Purchase       06/06 Amazon.Com*H85Aa11Q3 Amzn.Com/Bill WA Card 7957                                 29.99
06/06   Card Purchase       06/06 Amazon.Com*S49509Dt3 Amzn.Com/Bill WA Card 7957                                 55.36
06/06   Card Purchase       06/06 Amazon.Com*4Z5733Q13 Amzn.Com/Bill WA Card 7957                                100.58
06/07   Card Purchase       06/06 Amazon.Com*Pv1 Hw5B43 Amzn.Com/Bill WA Card 7957                                28.59
06/07   Card Purchase       06/07 Amazon.Com*Y25227003 Amzn.Com/Bill WA Card 7957                                 25.59
06/09   Card Purchase       06/08 Flor 8662813567 GA Card 7957                                                    12.84
06/09   Card Purchase       06/08 Amazon.Com*6X2Oy2473 Amzn.Com/Bill WA Card 7957                                 13.19
06/12   Card Purchase       06/11 Amzn Mktp US*Xa4L96X Amzn.Com/Bill WA Card 7957                                 66.46
06/12   Recurring Card Purchase 06/10 Apple. Com/Bill 408-97 4-1010 CA Card 7957                                  10.69
06/12   Card Purchase       06/11 Amz*Flooret Pay.Amazon.CO WA Card 7957                                          28.89
06/12   Card Purchase       06/11 Foxtrot Market - Hubbar Chicago IL Card 7957                                    20.01
06/12   Recurring Card Purchase 06/12 Intuit *Qbooks Onlin Cl.Intuit. Com CA Card 7957                            30.00
06/13   Card Purchase       06/13 Amzn Mktp US*Pn47C6S Amzn.Com/Bill WA Card 7957                                 42.69
06/14   Recurring Card Purchase 06/14 Apple. Com/Bill 866-712-7753 CA Card 7957                                    9.98
06/14   Card Purchase       06/14 Amazon Go*Ci5Rb6Vm3 Amzn.Com/Bill WA Card 7957                                   1.46
06/16   Recurring Card Purchase 06/16 Audible*Hl5Sn1 Hj3 Amzn.Com/Bill NJ Card 7957                               14.95
06/16   Recurring Card Purchase 06/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                     4.27
06/16   Card Purchase With Pin 06/16 Lowe's #1935 Sarasota FL Card 7957                                          974.00
06/20   Recurring Card Purchase 06/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                    35.04
06/20   Recurring Card Purchase 06/16 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                             97.98
06/20   Card Purchase        06/18 Amzn Mktp US*K00Gc7N Amzn.Com/Bill WA Card 7957                                79.99
06/20   Card Purchase With Pin 06/17 Costco Whse #1364 Bradenton FL Card 7957                                    310.29
06/20   Card Purchase        06/19 Amzn Mktp US*1Q62E80 Amzn.Com/Bill WA Card 7957                               345.44
06/20   Card Purchase        06/20 Amzn Mktp US*588lt6S Amzn.Com/Bill WA Card 7957                               181.89
06/20   Card Purchase        06/20 Amzn Mktp US*2A7Db04 Amzn.Com/Bill WA Card 7957                                42.79
06/20   Card Purchase        06/20 Amzn Mktp US*7Q57F4M Amzn.Com/Bill WA Card 7957                                74.89
06/20   Card Purchase With Pin 06/20 Lowe's #772 Bradenton FL Card 7957                                          387.77
06/21   Card Purchase        06/20 Amzn Mktp US*4K2525G Amzn.Com/Bill WA Card 7957                                26.74
06/21   Card Purchase        06/20 Amzn Mktp US*T28Kd1 U Amzn.Com/Bill WA Card 7957                                7.91
06/21   Card Purchase        06/20 Amzn Mktp US*Eu8Y907 Amzn.Com/Bill WA Card 7957                                16.04
06/21   Card Purchase        06/20 Amzn Mktp US*lp9Kq13 Amzn.Com/Bill WA Card 7957                                16.85
06/21   Card Purchase        06/20 Amzn Mktp US*Jn88V5U Amzn.Com/Bill WA Card 7957                                 7.44
06/21   Card Purchase        06/20 Amzn Mktp US*Uk36H30 Amzn.Com/Bill WA Card 7957                                56.70
06/21   Card Purchase        06/20 Amzn Mktp US*Nu7Kn14 Amzn.Com/Bill WA Card 7957                                10.68
06/21   Card Purchase        06/21 Amzn Mktp US*487Ee0U Amzn.Com/Bill WA Card 7957                                32.09
06/21   Card Purchase        06/21 Amzn Mktp US*Ti98U3K Amzn.Com/Bill WA Card 7957                               109.84
06/21   Card Purchase With Pin 06/21 Ikea Tampa Tampa FL Card 7957                                               300.04
06/22   Recurring Card Purchase 06/21 Covenant Health Produc 800-6276518 NC Card 7957                             44.71
06/22   Recurring Card Purchase 06/22 Apple.Com/Bill 866-712-7753 CA Card 7957                                    12.20
06/22   Card Purchase        06/21 Levelupsweetgreen6176 855-466-5585 MA Card 7957                                35.37
06/22   Card Purchase        06/21 Levelupsweetgreen6957 855-466-5585 MA Card 7957                                 4.25

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        CHASEO                                                           June 01, 2023 through June 30, 2023
                                                                      Account Number:                      2511



IATM & DEBIT CARD WITHDRAWALSl_(c_on_tin_u_ed_')_ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                             AMOUNT
06/22   Card Purchase With Pin 06/22 The Home Depot #6319 Bradenton FL Card 7957                              141.88
06/26   Recurring Card Purchase 06/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                 11.08
06/26   Card Purchase       06/24 Crate&Barrel Cb2 Nod 800-967-6696 IL Card 7957                            3,403.36
06/26   Card Purchase       06/25 Amzn Mktp US*Qh84N2U Amzn.Com/Bill WA Card 7957                             176.51
06/26   Recurring Card Purchase 06/24 Apple.Com/Bill 866-712-7753 CA Card 7957                                 15.99
06/26   Card Purchase       06/24 Amazon Kids+*IA7Lj3F2 888-802-3080 WA Card 7957                               4.99
                                                                                                                         --
06/26   Card Purchase With Pin 06/24 Lowe's #772 Bradenton FL Card 7957                                     5,403.27
06/27   Card Purchase       06/27 Amazon.Com*Yh9Lf9Gk3 Amzn.Com/Bill WA Card 7957                              32.09     --
06/27   Card Purchase With Pin 06/27 Lowe's #1935 Sarasota FL Card 7957                                       234.33
06/27   Card Purchase With Pin 06/27 Lowe's #1935 Sarasota FL Card 7957                                        57.72     --
06/27   Card Purchase With Pin 06/27 The Home Depot #6319 Bradenton FL Card 7957                              481.10
06/27   Card Purchase With Pin 06/27 The Home Depot #6319 Bradenton FL Card 7957                               53.90
06/28   Card Purchase       06/28 Amazon.Com*V13Sv0053 Amzn.Com/Bill WA Card 7957                              32.09
06/28   Card Purchase With Pin 06/28 Lowe's #1935 Sarasota FL Card 7957                                        57.42
06/28   Card Purchase With Pin 06/28 The Home Depot #6319 Bradenton FL Card 7957                               44.75
06/29   Card Purchase       06/29 Store*3Natives Www.Doordash. CA Card 7957                                    30.50
06/29   Recurring Card Purchase 06/29 Tmobile*Auto Pay 800-937-8997 WA Card 7957                              197.92
06/30   Card Purchase       06/29 Amzn Mktp US*Fx8Lz3S Amzn.Com/Bill WA Card 7957                              64.19
06/30   Card Purchase With Pin 06/30 The Home Depot #1863 Bradenton FL Card 7957                              408.52
Total ATM & Debit Card Withdrawals                                                                       $15,529.85


I ATM & DEBIT CARD SUMMARY I
Michael A Wolf Card 7957
                       Total ATM Withdrawals & Debits                                                        $0.00
                       Total Card Purchases                                                             $15,529.85
                       Total Card Deposits & Credits                                                       $339.59
ATM & Debit Card Totals
                       Total ATM Withdrawals & Debits                                                        $0.00
                       Total Card Purchases                                                             $15,529.85
                       Total Card Deposits & Credits                                                      $339.59

!ELECTRONIC WITHDRAWALS!
 DATE    DESCRIPTION                                                                                            AMOUNT
06/01   Zelle Payment To Peter Wolf Jpm999Xb1 Skk                                                          $1,000.00
06/02   Orig CO Name:Pwp Smartstop S       Orig ID: 626060084 Desc Date:    CO Entry                          164.01
        Descr:Privacycomsec:Web Trace#:021115086829754 Eed:230602 Ind ID:TN: 5699487
        Ind Name:(844) 771-8229 Trn: 1536829754Tc
06/05   Orig CO Name:Unitedhealthcare     Orig ID:1836282001 Desc Date:    CO Entry                             197.41
        Descr:Premium Sec:Web Trace#:021000020096227 Eed:230605 Ind ID:3425550781
        Ind Name:Wolf           M Trn: 1560096227Tc
06/05   Orig CO Name:Thebainbridge-10      Orig ID:9000326709 Desc Date:060523 CO Entry                     2,849.42
        Descr:Web Pmts Sec:Web Trace#:111924686853155 Eed:230605 Ind ID:H6M25D
        Ind Name:Peterwolf
        805-699-2040 Trn: 1566853155Tc
06/05   Orig CO Name:Pwp Tmemonitrfe       Orig ID: 626060084 Desc Date:    CO Entry                            199.00
        Descr:Privacycomsec:Web Trace#:021115085809796 Eed:230605 Ind ID:TN: 7537451
        Ind Name:(844) 771-8229 Trn: 1565809796Tc
06/05   Orig CO Name:Pwp Google *Gsu        Orig ID: 626060084 Desc Date:   CO Entry                             36.00
        Descr:Privacycomsec:Web Trace#:021115085808675 Eed:230605 Ind ID:TN: 1279460
        Ind Name:(844) 771-8229 Trn: 1565808675Tc


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        CHASEO                                                                   June 01, 2023 through June 30, 2023
                                                                              Account Number:                      2511



IELECTRONIC WITHDRAWALSl_(c_on_tin_u_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                      AMOUNT
06/05   Orig CO Name:Pwp Nie*- Mydmv           Orig ID: 626060084 Desc Date:      CO Entry                                27.00
        Descr: Privacycomsec: Web Trace#:021115085807525 Eed:230605 Ind ID:TN: 1755248
        Ind Name:(844) 771-8229 Trn: 1565807525Tc
06/05   Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:      CO Entry                                  25.00
        Descr: Privacycomsec: Web Trace#:021115085807925 Eed:230605 Ind ID:TN: 3143209
        Ind Name:(844) 771-8229 Trn: 1565807925Tc
06/05   Orig CO Name:Pwp Google*Gsui           Orig ID: 626060084 Desc Date:      CO Entry                                13.23
        Descr: Privacycomsec: Web Trace#:021115085808219 Eed:230605 Ind ID:TN: 2098445
        Ind Name:(844) 771-8229 Trn: 1565808219Tc
06/05   Orig CO Name:Pwp Linkz.Ai           Orig ID: 626060084 Desc Date:      CO Entry                                   10.00
        Descr: Privacycomsec: Web Trace#:021115085808299 Eed:230605 Ind ID:TN: 1852771
        Ind Name: (844) 771-8229 Trn: 1565808299Tc
06/05   Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:      CO Entry                                    4.99
        Descr: Privacycomsec: Web Trace#:021115085808382 Eed:230605 Ind ID:TN: 6590364
        Ind Name:(844) 771-8229 Trn: 1565808382Tc
06/05   Orig CO Name:Yardi Service Ch        Orig ID:9000278329 Desc Date:060523 CO Entry                                  0.95
        Descr:Web Pmts Sec:Web Trace#: 111924686847744 Eed:230605 Ind ID:Sby15D
        Ind Name:Peterwolf
        805-699-2040 Trn: 1566847744Tc
06/06   Orig CO Name:Wepay                 Orig ID:5551232356 Desc Date:230606 CO Entry                                     9.95
        Descr:Payments Sec:PPD Trace#:021000021153814 Eed:230606 Ind ID:23545583
        Ind Name:Michael A Wolf           Nte*Zzz*Acct Recovery\ Trn: 1571153814Tc
06/08   Orig CO Name:Pwp Mmqb.lo              Orig ID: 626060084 Desc Date:      CO Entry                                 19.95
        Descr:Privacycomsec:Web Trace#:021115081160836 Eed:230608 Ind ID:TN: 1048742
        Ind Name:(844) 771-8229 Trn: 1591160836Tc
06/08   Zelle Payment To Peter Wolf Jpm999Xo6T3K                                                                        1,000.00
06/09   Orig CO Name:Pwp Www.Pacer.G             Orig ID: 626060084 Desc Date:     CO Entry                                57.90
        Descr:Privacycomsec:Web Trace#:021115088593768 Eed:230609 Ind ID:TN: 1376778
        Ind Name:(844) 771-8229 Trn: 1608593768Tc
06/09   Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:       CO Entry Descr:Transfer                      44.95
        Sec:CCD Trace#:091000018443580 Eed:230609 Ind ID:St-X1R7Z2D0S5R8                      Ind
        Name:Mmqb Trn: 1608443580Tc
06/09   Orig CO Name:Pwp Niceboard.C           Orig ID: 626060084 Desc Date:      CO Entry                               179.00
        Descr:Privacycomsec:Web Trace#:021115081441961 Eed:230609 Ind ID:TN: 4896946
        Ind Name:(844) 771-8229 Trn: 1601441961Tc
06/12   Orig CO Name:Barclaycard US           Orig ID:2510407970 Desc Date:      CO Entry                               1,375.44
        Descr:Creditcardsec:Web Trace#:026002572984124 Eed:230612 Ind ID:1008151175
        Ind Name:Michael Wolf Trn: 1632984124Tc
06/12   Orig CO Name:Ollo               Orig ID:9000002835 Desc Date:       CO Entry Descr:Mobile                        716.61
        Pymsec:Web Trace#:124384602579218 Eed:230612 Ind ID:231600339592744                       Ind
        Name:Michael Wolf Trn: 1632579218Tc
06/12   Orig CO Name:Vw Credit, Inc.        Orig ID:1382362409 Desc Date:230612 CO Entry                                 247.10
        Descr:Auto Debitsec:Web Trace#:022000022422529 Eed:230612 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202306080000000020Trn: 1632422529Tc
06/12   Orig CO Name:Pwp Coastal Eye           Orig ID: 626060084 Desc Date:      CO Entry                               169.03
        Descr: Privacycomsec: Web Trace#:021115081654239 Eed:230612 Ind ID:TN: 1094801
        Ind Name:(844) 771-8229 Trn: 1631654239Tc
06/12   Orig CO Name:Pwp Adobe *Ado            Orig ID: 626060084 Desc Date:      CO Entry                                39.99
        Descr: Privacycomsec: Web Trace#:021115081654087 Eed:230612 Ind ID:TN: 9910919
        Ind Name:(844) 771-8229 Trn: 1631654087Tc
06/13   Orig CO Name: Pwp Schofield H         Orig ID: 626060084 Desc Date:      CO Entry                                 92.77
        Descr: Privacycomsec: Web Trace#:021115086484307 Eed:230613 Ind ID:TN: 1416544
        Ind Name:(844) 771-8229 Trn: 1646484307Tc
06/16   Orig CO Name:Pwp Chatgpt Sub           Orig ID: 626060084 Desc Date:      CO Entry                                20.00
        Descr:Privacycomsec:Web Trace#:021115084926638 Eed:230616 Ind ID:TN: 5425219
        Ind Name: (844) 771-8229 Trn: 1674926638Tc
06/16   06/16 Online Transfer To Chk ... 7880 Transaction#: 17641342902                                                 5,000.00



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       CHASEO                                                            June 01, 2023 through June 30, 2023
                                                                      Account Number:                     2511



!ELECTRONIC WITHDRAWALSl_(co_n_ti_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                             AMOUNT
06/20   Orig CO Name:Bmw Bank             Orig ID:0870631885 Desc Date:230619 CO Entry                          817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000024283896 Eed:230620 Ind ID:
                                                                                                                          =
06/20
        Ind Name:Michael Wolf1004495593 Trn: 1714283896Tc
        Orig CO Name:Pwp Dazuma.US           Orig ID: 626060084 Dase Date:     CO Entry                         378.99
                                                                                                                         -====
                                                                                                                          ===:
        Descr: Privacycomsec: Web Trace#:021115083347512 Eed:230620 Ind ID:TN: 1722478                                   ===:
        Ind Name:{844} 771-8229 Trn: 1713347512Tc
06/20   Orig CO Name:Pwp Geico *Aut        Orig ID: 626060084 Desc Date:     CO Entry
        Descr: Privacycomsec: Web Trace#:021115083346948 Eed:230620 Ind ID:TN: 2584755
                                                                                                                256.87
                                                                                                                         ====
        Ind Name:(844} 771-8229 Trn: 1713346948Tc
                                                                                                                         =
                                                                                                                         ====
                                                                                                                         ~

06/20   Orig CO Name:Pwp Moonbeam            Orig ID: 626060084 Desc Date:    CO Entry                           18.00
        Descr:Privacycomsec:Web Trace#:021115083347134 Eed:230620 Ind ID:TN: 4589956
        Ind Name:{844} 771-8229 Trn: 1713347134Tc
06/20   Orig CO Name:Pwp lnvoiceninj      Orig ID: 626060084 Desc Date:     CO Entry                             10.00
        Descr: Privacycomsec: Web Trace#:021115083347330 Eed:230620 Ind ID:TN: 4079752
        Ind Name:(844) 771-8229 Trn: 1713347330Tc
06/20   Orig CO Name:Pwp Alivecor IN      Orig ID: 626060084 Desc Date:     CO Entry                              9.99
        Descr: Privacycomsec:Web Trace#:021115083346803 Eed:230620 Ind ID:TN: 3138703
        Ind Name:(844) 771-8229 Trn: 1713346803Tc
06/20   Orig CO Name:Pwp Memberful.C         Orig ID: 626060084 Desc Date:    CO Entry                          103.60
        Descr: Privacycomsec: Web Trace#:021115082055105 Eed:230620 Ind ID:TN: 5714368
        Ind Name:{844} 771-8229 Trn: 1712055105Tc
06/22   Orig CO Name:Pwp 3 Natives S       Orig ID: 626060084 Desc Date:     CO Entry                            38.13
        Descr:Privacycomsec:Web Trace#:021115087786876 Eed:230622 Ind ID: TN: 4548008
        Ind Name:(844) 771-8229 Trn: 1737786876Tc
06/22   Zelle Pa:tment To Peter Wolf Jem999Y9of16                                                           1,000.00
06/23   Orig CO Name:Pwp Sunpass*Acc         Orig ID: 626060084 Desc Date:     CO Entry                        10.00
        Descr: Privacycomsec: Web Trace#:021115086189362 Eed:230623 Ind ID:TN: 9561415
        Ind Name:(844) 771-8229 Trn: 1746189362Tc
06/26   Orig CO Name:Pwp Notion Labs        Orig ID: 626060084 Desc Date:    CO Entry                            80.00
        Descr: Privacycomsec: Web Trace#:021115087730902 Eed:230626 Ind ID:TN: 1284472
        Ind Name:{844} 771-8229 Trn: 1777730902Tc
06/26   Orig CO Name:Pwp Adobe *Cre         Orig ID: 626060084 Desc Date:     CO Entry                           54.99
        Descr: Privacycomsec: Web Trace#:021115087730486 Eed:230626 Ind ID:TN: 9558118
        Ind Name:(844) 771-8229 Trn: 1777730486Tc
06/26   Orig CO Name:Pwp Visible         Orig ID: 626060084 Desc Date:     CO Entry                              25.00
        Descr: Privacycomsec: Web Trace#:021115087731431 Eed:230626 Ind ID:TN: 2354623
        Ind Name:(844) 771-8229 Trn: 1777731431Tc
06/26   Orig CO Name:Pwp UPS*Billing       Orig ID: 626060084 Desc Date:     CO Entry                            12.49
        Descr: Privacycomsec: Web Trace#:021115087731289 Eed:230626 Ind ID:TN: 7082791
        Ind Name:{844} 771-8229 Trn: 1777731289Tc
06/26   Orig CO Name:Pwp Extravm* Ex        Orig ID: 626060084 Desc Date:     CO Entry                           11.50
        Descr:Privacycomsec:Web Trace#:021115087731410 Eed:230626 Ind ID:TN: 1147797
         Ind Name:{844) 771-8229 Trn: 1777731410Tc
06/26   Orig CO Name:Pwp Chargepoint        Orig ID: 626060084 Desc Date:     CO Entry                           10.00
         Descr: Privacycomsec: Web Trace#:021115087731129 Eed:230626 Ind ID:TN: 1003953
        Ind Name:{844} 771-8229 Trn: 1777731129Tc
06/26   Orig CO Name:Pwp Extravm* Ex        Orig ID: 626060084 Desc Date:     CO Entry                            5.00
         Descr: Privacycomsec: Web Trace#:021115087731411 Eed:230626 Ind ID:TN: 4673272
        Ind Name:(844) 771-8229 Trn: 177773141 Hc
06/26   Orig CO Name:Pwp UPS*Billing       Orig ID: 626060084 Desc Date:     CO Entry                             1.00
         Descr: Privacycomsec: Web Trace#:021115087731288 Eed:230626 Ind ID:TN: 5199262
        Ind Name:(844) 771-8229 Trn: 1777731288Tc
06/28   Orig CO Name:Pwp Frontier CO        Orig ID: 626060084 Desc Date:    CO Entry                           103.66
         Descr: Privacycomsec: Web Trace#:021115088833902 Eed:230628 Ind ID:TN: 1121123
        Ind Name:{844} 771-8229 Trn: 1798833902Tc
06/28   Orig CO Name:Pwp Openphone           Orig ID: 626060084 Desc Date:     CO Entry                          10.00
         Descr: Privacycomsec: Web Trace#:021115088833699 Eed:230628 Ind ID:TN: 7822385
         Ind Name:(844) 771-8229 Trn: 1798833699Tc



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         CHASEO                                                                                        June 01, 2023 through June 30, 2023
                                                                                                  Account Number:                           2511




!ELECTRONIC WITHDRAWALSl_(c_on_tfn_ue_d)_ _ _ _ _ _ _ _ _ _ _ __
DATE         DESCRIPTION                                                                                                                         AMOUNT
06/29        Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry Descr:Transfer                                               104.93
             Sec:CCD Trace#:091000013519569 Eed:230629 Ind ID:St-P0O2P1 D5X288               Ind
             Name:Mmqb Trn: 1803519569Tc
06/30        Zelle Payment To Peter Wolf Jpm999Ylg7O9                                                                                        5,000.00
06/30        Orig CO Name:Fpl Direct Debit    Orig ID:3590247775 Desc Date:06/23 CO Entry                                                      135.38
             Descr:Elec Pymt Sec:Web Trace#:111000019359994 Eed:230630 Ind ID:4842986087 Webi
             Ind Name:Scott Wolf
             00000000000000000000Trn: 1819359994Tc
Total Electronic Withdrawals                                                                                                              $21,696.73


I FEES 1---I- - - - - - - - - - - - - - - - - -
 DATE        DESCRIPTION                                                                                                                         AMOUNT
 06/08       International Incoming Wire Fee                                                                                                      $15.00
 Total Fees                                                                                                                                       $15.00


1DAILY ENDING BALANCE 1---------------
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                                AMOUNT
06/01                       $10,981.01                06/12                          23,918.55                06/22                              42,498.72
06/02                         18,784.47               06/13                          27,134.37                06/23                              42,670.89
06/05                         15,796.57               06/14                          27,122.93                06/26                              33,455.71
06/06                         18,281.10               06/15                          29,607.20                06/27                              38,118.33
06/07                         18,409.09               06/16                          23,593.98                06/28                              41,046.88
06/08                         26,530.28                06/20                         31,252.72                06/29                              40,895.70
06/09                         26,404.57                06/21                         30,668.39                06/30                              35,287.61



 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •      Your name and account number;
         •      A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •      The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 8 of 8
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      .CHASEO                                                                                   July 01, 2023 through July 31, 2023
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                        Account Number:                         2511
      Columbus, OH 43218-2051

                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                       Web site:                       Chase.com
                                                                                       Service Center:             1-800-242-7338
     00279649 DRE 021 210 21323 NNNNNNNNNNN 1 000000000 64 0000                        Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                                      International Calls:        1-713-262-1679
                                                                                       We accept operator relay calls
     SARASOTA FL 34236-5125




We're discontinuing Text Banking
Starting on October 15, 2023, we'll no longer offer our Text Banking service. This change doesn't affect any Account Alerts
you receive by text. There are other ways you can manage your account from your mobile phone or computer.

Access your accounts with the Chase Mobile® app 1 and on chase.com, where you can:
    •   View your transactions, transfer money and make payments.
    •   Sign up for Account Alerts - get alerts about your balance, spending and more. Choose the alerts you want in
        Profile and Settings.

If you have questions, please call the number on this statement. We accept operator relay calls.


1Chase Mobile@ app is available for select mobile devices. Message and data rates may apply.



ICHECKING SUMMARY I Chase Business Complete Checking
                                                   INSTANCES                           AMOUNT
 Beginning Balance                                                                $35,287.61
 Deposits and Additions                                     30                      41,810.61
 ATM & Debit Card Withdrawals                              80                       -5,899.59
 Electronic Withdrawals                                    49                      -28,202.00
 Ending Balance                                           159                      $42,996.63


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8M account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $27,743.96.
    •    $2,000 Chase Payment Solutions8MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.




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        CHASEO                                                             July 01, 2023 through July 31, 2023
                                                                       Account Number:                       2511



IDEPOSITS AND ADDITIONS I
DATE     DESCRIPTION                                                                                              AMOUNT
07/05    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                              $182.17
         Descr:Transfer Sec:CCD Trace#:091000012831408 Eed:230705 Ind
         ID:St-U9J1O2M4N8F9             Ind Name:Michael Wolf Trn: 1862831408Tc
07/06    Orig CO Name:Groupe Lacasse            Orig ID:9039312001 Desc Date:230706 CO Entry                 18,000.00
         Descr:Corp Pay Sec:CCD Trace#:021000028041001 Eed:230706 Ind ID:13112
         Ind Name:Mmqb Inc Trn: 1878041001Tc
07/06    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                               385.86
         Descr:Transfer Sec:CCD Trace#:091000013916763 Eed:230706 Ind
         ID:St-J5O5J2U9A9W8             Ind Name:Mmqb Trn: 1873916763Tc
07/06    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                               182.17
         Descr:Transfer Sec:CCD Trace#:091000013893926 Eed:230706 Ind
         ID:St-Y5C3V6H9O0N7              Ind Name:Michael Wolf Trn: 1873893926Tc
07/06    Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                19.07
         Descr:Transfer Sec:CCD Trace#:111000028163691 Eed:230706 Ind
         ID:St-I6H3Z9P5P4Y5          Ind Name:Mmqb Trn: 1878163691Tc
07/07    Card Purchase Return 07/07 Amzn Mktp US Amzn.Com/Bill WA Card 7957                                      74.89
07/07    Card Purchase Return 07/07 Amzn Mktp US Amzn.Com/Bill WA Card 7957                                      42.79
07/10    Deposit    5100033976                                                                                5,125.00
07/10    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                             18.97
         Descr:Transfer Sec:CCD Trace#:091000012464362 Eed:23071 0 Ind
         ID:St-X6K7W1Y3K6V4              Ind Name:Michael Wolf Trn: 1912464362Tc
07/12    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                          3,656.70
         Descr:Transfer Sec:CCD Trace#:091000010075990 Eed:230712 Ind
         ID:St-O6D9S3C0C4I9            Ind Name:Mmqb Trn: 1930075990Tc
07/12    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                          2,596.87
         Descr:Transfer Sec:CCD Trace#:091000019851027 Eed:230712 Ind
         ID:St-X3W0V7N5F2V8              Ind Name:Michael Wolf Trn: 1939851027Tc
07/12    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                               870.09
         Descr:Transfer Sec:CCD Trace#:091000010043890 Eed:230712 Ind
         ID:St-S0H6Q1I2U1E7           Ind Name:Mmqb Trn: 1930043890Tc
07/12    Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry                              105.06
         Descr:Transfer Sec:CCD Trace#:111000029148684 Eed:230712 Ind
         ID:St-T1F0Q7K9Y9O0             Ind Name:Mmqb Trn: 1939148684Tc
07/14    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                              182.17
         Descr:Transfer Sec:CCD Trace#:091000010123088 Eed:230714 Ind
         ID:St-B9Z9G9O2M1G6               Ind Name:Michael Wolf Trn: 1950123088Tc
07/17    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                              179.18
         Descr:Transfer Sec:CCD Trace#:091000012043976 Eed:230717 Ind
         ID:St-J7Y7O2P5Q8O5             Ind Name:Michael Wolf Trn: 1982043976Tc
07/19    Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry                             1,012.16
         Descr:Transfer Sec:CCD Trace#:111000020061783 Eed:230719 Ind
         ID:St-H7U9G9C7W0P2                Ind Name:Mmqb Trn: 2000061783Tc
07/19    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                              809.77
         Descr:Transfer Sec:CCD Trace#:091000011814287 Eed:230719 Ind
         ID:St-S7N0Q2W7X2F8               Ind Name:Michael Wolf Trn: 2001814287Tc
07/19    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                              578.79
         Descr:Transfer Sec:CCD Trace#:091000011855046 Eed:230719 Ind
         ID:St-J0R2P1G4M1R0              Ind Name:Mmqb Trn: 2001855046Tc
07/20    Orig CO Name:Pwp Dazuma.US              Orig ID: 626060084 Desc Date:   CO Entry                          378.99
         Descr:Privacycomsec:Web Trace#:021115080788127 Eed:230720 Ind ID:TN: 2415295
         Ind Name:(844) 771-8229 Trn: 2010788127Tc
07/21    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                              182.17
         Descr:Transfer Sec:CCD Trace#:091000019274529 Eed:230721 Ind
         ID:St-V6E8F8A8Z5J1           Ind Name:Michael Wolf Trn: 2029274529Tc
07/25    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry                              182.17
         Descr:Transfer Sec:CCD Trace#:091000016534646 Eed:230725 Ind
         ID:St-W2P7V7I1Q6L9            Ind Name:Michael Wolf Trn: 2066534646Tc




                                                                                                    Page 2 of 8
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            CHASEO                                                              July 01, 2023 through July 31, 2023
                                                                            Account Number:                       2511



I   DEPOSITS AND ADDITIONS                      (_co_nt_inu_ed_~ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             1--I




    DATE       DESCRIPTION                                                                                             AMOUNT
    07/26      Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                 546.51
               Descr:Transfer Sec:CCD   Trace#:091000013630089 Eed:230726 Ind
               ID:St-A8Y0D8P2D6R4           Ind Name:Michael Wolf Trn: 2073630089Tc                                             --
    07/26      Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                 192.93   --
               Descr:Transfer Sec:CCD   Trace#:091000013756291 Eed:230726 Ind
               ID:St-B4R5L0F9T8X2          Ind Name:Mmqb Trn: 2073756291Tc
    07/26      Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                                 133.39
               Descr:Transfer Sec:CCD   Trace#:111000022816158 Eed:230726 Ind                                                   --
               ID:St-F2X7I4J4G1 X2        Ind Name:Mmqb Trn: 2072816158Tc                                                       --
    07/27      Orig CO Name:Stripe
               Descr:Transfer Sec:CCD
                                             Orig ID: 1800948598 Desc Date:
                                        Trace#:091000010689149 Eed:230727 Ind
                                                                              CO Entry                                 580.06   --
               ID:St-L1Z8W8O5B7W5            Ind Name:Mmqb Trn: 2080689149Tc                                                    --
    07/27      Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                                 305.87
               Descr:Transfer Sec:CCD   Trace#:111000027756608 Eed:230727 Ind
               ID: St-Z8W2M6D0F3R6           Ind Name:Mmqb Trn: 2087756608Tc
    07/27      Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                 192.93
               Descr:Transfer Sec:CCD   Trace#:091000010689661 Eed:230727 Ind
               ID: St-B8K8I9N2H8D1         Ind Name:Mmqb Trn: 2080689661Tc
    07/27      Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                 179.18
               Descr:Transfer Sec:CCD   Trace#:091000010463451 Eed:230727 Ind
               ID:St-W2I6R5J9P8W1           Ind Name:Michael Wolf Trn: 2080463451Tc
    07/28      Deposit     5100030434                                                                              2,500.00
    07/28      Orig CO Name:Stripe          Orig ID: 1800948598 Desc Date:   CO Entry                              2,414.70
               Descr:Transfer Sec:CCD   Trace#:091000015297723 Eed:230728 Ind
               ID:St-C8P1Q0I0E5Z5         Ind Name:Michael Wolf Trn: 2095297723Tc
    Total Deposits and Additions                                                                                $41,810.61


    !ATM & DEBIT CARD WITHDRAWALS!
    DATE     DESCRIPTION                                                                                               AMOUNT
    07/03    Card Purchase       06/30 3 Natives Sarasota 561-308-2147 FL Card 7957                                    $27.19
    07/03    Card Purchase       07/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                  10.00
    07/03    Card Purchase       07/02 Apple.Com/Bill 866-712-7753 CA Card 7957                                         17.19
    07/03    Card Purchase With Pin 07/02 The Home Depot #1863 Bradenton FL Card 7957                                  401.06
    07/03    Card Purchase With Pin 07/02 The Home Depot #1863 Bradenton FL Card 7957                                   64.18
    07/05    Card Purchase With Pin 07/05 Lowe's #1935 Sarasota FL Card 7957                                           120.78
    07/05    Card Purchase With Pin 07/05 The Home Depot #1863 Bradenton FL Card 7957                                  367.95
    07/06    Card Purchase       07/05 Amzn Mktp US*N35Nw8I Amzn.Com/Bill WA Card 7957                                  10.69
    07/06    Card Purchase       07/06 Amzn Mktp US*Le4Fb20 Amzn.Com/Bill WA Card 7957                                  16.85
    07/06    Card Purchase       07/06 Amazon.Com*6O4X60Up3 Amzn.Com/Bill WA Card 7957                                   4.23
    07/06    Card Purchase       07/06 Amzn Mktp US*Tc8Xq53 Amzn.Com/Bill WA Card 7957                                 289.32
    07/06    Card Purchase With Pin 07/06 Lowe's #1935 Sarasota FL Card 7957                                            34.71
    07/06    Card Purchase With Pin 07/06 The Home Depot #1863 Bradenton FL Card 7957                                  128.36
    07/07    Card Purchase       07/06 Amzn Mktp US*Nn2Fu8Y Amzn.Com/Bill WA Card 7957                                  41.72
    07/07    Card Purchase With Pin 07/07 Lowe's #1935 Sarasota FL Card 7957                                            14.94
    07/10    Card Purchase       07/09 Amazon.Com*0R0B33873 Amzn.Com/Bill WA Card 7957                                  74.00
    07/10    Card Purchase       07/09 Amazon.Com*Hc5Wq01Q3 Amzn.Com/Bill WA Card 7957                                  32.01
    07/10    Card Purchase       07/09 Amazon.Com*Wn7L97Ac3 Amzn.Com/Bill WA Card 7957                                  16.06
    07/10    Card Purchase       07/09 Amzn Mktp US*W476K5H Amzn.Com/Bill WA Card 7957                                  36.70
    07/10    Card Purchase       07/09 Amzn Mktp US*Gg1Qb35 Amzn.Com/Bill WA Card 7957                                  84.52
    07/10    Card Purchase       07/09 Amazon.Com*4T1TN8433 Amzn.Com/Bill WA Card 7957                                  42.79
    07/10    Card Purchase With Pin 07/10 Lowe's #1935 Sarasota FL Card 7957                                            80.21
    07/10    Card Purchase With Pin 07/10 The Home Depot #6319 Bradenton FL Card 7957                                   68.28
    07/11    Card Purchase       07/10 Apple.Com/Bill 866-712-7753 CA Card 7957                                         15.99

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       CHASEO                                                             July 01, 2023 through July 31, 2023
                                                                      Account Number:                       2511



JATM & DEBIT CARD WITHDRAWALSJ (continued)
DATE    DESCRIPTION                                                                                              AMOUNT
07/11   Recurring Card Purchase 07/11 Apele.Com/Bill 866-712-7753 CA Card 7957                                    10.69
07/11   Card Purchase       07/11 Sg *Precision Lawn Serv Gosq.Com FL Card 7957                                  100.00
07/12   Card Purchase       07/12 Amazon.Com*Hz7G45Cg3 Amzn.Com/Bill WA Card 7957                                 52.97
07/12   Card Purchase       07/12 Amzn Mktp US*Rb4671P Amzn.Com/Bill WA Card 7957                                 99.97
07/12   Card Purchase       07/12 Amzn Mktp US*lh1X436 Amzn.Com/Bill WA Card 7957                                 10.06
07/12   Card Purchase       07/12 Amzn Mktp US*0S9Ww9V Amzn.Com/Bill WA Card 7957                                 20.12
07/12   Card Purchase       07/12 Amzn Mktp US*Mj1Kr6H Amzn.Com/Bill WA Card 7957                                 23.10
07/12   Recurring Card Purchase 07/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                             30.00
07/12   Card Purchase With Pin 07/12 The Home Depot #1863 Bradenton FL Card 7957                                  55.67
07/13   Card Purchase       07/13 Amzn Mkte US*Ez8S29S Amzn.Com/Bill WA Card 7957                                 42.69
07/13   Card Purchase       07/12 Amzn Mktp US*G38Um3R Amzn.Com/Bill WA Card 7957                                  9.62
07/13   Card Purchase With Pin 07/13 The Home Deeot #6319 Bradenton FL Card 7957                                  24.03
07/14   Card Purchase       07/13 Amzn Mktp US*lq38S54 Amzn.Com/Bill WA Card 7957                                 11.71
07/14   Recurring Card Purchase 07/14 Apele.Com/Bill 866-712-7753 CA Card 7957                                     9.98
07/17   Card Purchase       07/14 Amazon.Com*Tr1Um66A3 Amzn.Com/Bill WA Card 7957                                  5.01
07/17   Card Purchase       07/15 Lum ens 877 4454486 CA Card 7957                                               597.54
07/17   Card Purchase       07/16 Amzn Mktp US*Z51Cs2Q Amzn.Com/Bill WA Card 7957                                149.75
07/17   Recurring Card Purchase 07/16 Audible*Z79P36Dm3 Amzn.Com/Bill NJ Card 7957                                14.95
07/17   Recurring Card Purchase 07/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                     4.27
07/17   Recurrin~ Card Purchase 07/16 Apele.Com/Bill 866-712-7753 CA Card 7957                                    35.04
07/17   Card Purchase       07/17 Amzn Mktp US*L579D2E Amzn.Com/Bill WA Card 7957                                 34.45
07/18   Recurrin~ Card Purchase 07/17 Wdw Ap Monthly Patment 888-7014100 CA Card 7957                             97.98
07/19   Card Purchase       07/19 Amzn Mktp US*NE63A7T Amzn.Com/Bill WA Card 7957                                 17.11
07/19   Card Purchase       07/19 Amzn Mktp US*l49047N Amzn.Com/Bill WA Card 7957                                 14.97
07/19   Card Purchase       07/19 Amzn Mkte US*H88O24H Amzn.Com/Bill WA Card 7957                                 17.11
07/20   Card Purchase       07/19 Amazon.Com*Bj7Hw9Sy3 Amzn.Com/Bill WA Card 7957                                566.52
07/20   Card Purchase        07/20 Amazon.Com*3H0N64Ww3 Amzn.Com/Bill WA Card 7957                                40.75
07/21   Card Purchase        07/21 Cameo Cameo.Com IL Card 7957                                                  120.66
07/21   Card Purchase        07/21 Amzn Mktp US*O69Jp6U Amzn.Com/Bill WA Card 7957                                55.62
07/21   Card Purchase        07/21 Amzn Mktp US*9V0Db6U Amzn.Com/Bill WA Card 7957                                32.09
07/21   Card Purchase        07/21 Amzn Mktp US*Et40T2R Amzn.Com/Bill WA Card 7957                                27.99
07/21   Card Purchase        07/21 Paint Corps of Delaw Delaware-OH@P OH Card 7957                               470.95
07/24   Recurring Card Purchase 07/21 Covenant Health Produc 800-6276518 NC Card 7957                             44.71
07/24   Card Purchase        07/21 Amzn Mktp US*4C8Qr33 Amzn.Com/Bill WA Card 7957                                21.39
07/24   Card Purchase        07/22 Gofundme He Arts Memo Redwood City CA Card 7957                                55,00
07/24   Card Purchase        07/22 Cameo Cameo.Com IL Card 7957                                                   22.21
07/24   Card Purchase        07/24 Amzn Mktp US*3V1Wt7W Amzn.Com/Bill WA Card 7957                                40.85
07/24   Recurring Card Purchase 07/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                    12.20
07/24   Recurring Card Purchase 07/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                    11.08
07/24   Card Purchase With Pin 07/24 Lowe's #1935 Sarasota FL Card 7957                                           36.85
07/25   Card Purchase        07/24 Amazon Kids+*T627D0Vg 888-802-3080 WA Card 7957                                 4.99
07/26   Card Purchase        07/26 Amzn Mktp US*T65Dj7V Amzn.Com/Bill WA Card 7957                                79.07
07/26   Card Purchase        07/25 Palm Avenue Deli Sarasota FL Card 7957                                         34.83
07/26   Card Purchase        07/26 Amazon.Com*T67737Kr2 Amzn.Com/Bill WA Card 7957                                46.72
07/26   Card Purchase With Pin 07/26 Lowe's #1935 Sarasota FL Card 7957                                           28.85
07/27   Card Purchase        07/27 Amzn Mktp US*T64339W Amzn.Com/Bill WA Card 7957                                14.97
07/28   Card Purchase        07/27 Amzn Mktp US*T67El2R Amzn.Com/Bill WA Card 7957                                22.10
07/31   Card Purchase        07/28 Apple.Com/Bill 800-275-2273 CA Card 7957                                       33.18
07/31   Recurring Card Purchase 07/28 Apple.Com/Bill 866-712-7753 CA Card 7957                                    74.89
07/31   Card Purchase        07/28 Amzn Mkte US*th2Vh0N Amzn.Com/Bill WA Card 7957                                52.00
07/31   Card Purchase        07/29 Amazon.Com*T67MD9Y31 Amzn.Com/Bill WA Card 7957                                48.38

                                                                                                   Page 4 of 8
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        CHASEO                                                                  July 01, 2023 through July 31, 2023
                                                                            Account Number:                       2511



!ATM & DEBIT CARD WITHDRAWALSl_(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                    AMOUNT
07/31   Card Purchase       07/29 Amzn Mktp US*T63T08Y Amzn.Com/Bill WA Card 7957                                       74.89
07/31   Card Purchase       07/29 Amazon.Com*th94W5Eb2 Amzn.Com/Bill WA Card 7957                                        9.74
07/31   Card Purchase With Pin 07/29 Ikea Tampa Tampa FL Card 7957                                                     104.67
07/31   Recurring Card Purchase 07/30 Tmobile*Auto Pay 800-937-8997 WA Card 7957                                       197.92
07/31   Recurring Card Purchase 07/31 B&N Membership Renewa 866-238-7323 NY Card 7957                                   25.00
Total ATM & Debit Card Withdrawals                                                                                $5,899.59



I ATM & DEBIT CARD SUMMARY I f - - - - - - - - - - - - - - -
Michael A Wolf Card 7957
                       Total ATM Withdrawals & Debits                                                                $0.00
                       Total Card Purchases                                                                      $5,899.59
                       Total Card Deposits & Credits                                                               $117.68
ATM & Debit Card Totals
                       Total ATM Withdrawals & Debits                                                                $0.00
                       Total Card Purchases                                                                      $5,899.59
                       Total Card Deposits & Credits                                                              $117.68

!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                                    AMOUNT
07/03   Orig CO Name:Thebainbridge-10         Orig ID:9000326709 Desc Date:070323 CO Entry                        $2,838.66
        Descr:Web Pmts Sec:Web Trace#:111924684625036 Eed:230703 Ind ID:0Kk3Bd
        Ind Name:Peterwolf
        805-699-2040 Trn: 1844625036Tc
07/03   Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:      CO Entry Descr:Transfer                    314.00
        Sec:CCD Trace#:091000015410324 Eed:230703 Ind ID:St-G6B0R0U2B4L3                     Ind
        Name:Mmqb Trn: 1845410324Tc
07/03   Orig CO Name:Pwp Smartstop S           Orig ID: 626060084 Desc Date:    CO Entry                               164.01
        Descr:Privacycomsec:Web Trace#:021115085328363 Eed:230703 Ind ID:TN: 7194489
        Ind Name:(844) 771-8229 Trn: 1845328363Tc
07/03   Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry Descr:Transfer                    104.85
        Sec:CCD Trace#:111000025016529 Eed:230703 Ind ID:St-B2C7H0G0S5K9                      Ind
        Name:Mmqb Trn: 1845016529Tc
07/03   Orig CO Name:Pwp Google *Gsu           Orig ID: 626060084 Desc Date:    CO Entry                                36.00
        Descr:Privacycomsec:Web Trace#:021115085326035 Eed:230703 Ind ID:TN: 2374634
        Ind Name:(844) 771-8229 Trn: 1845326035Tc
07/03   Orig CO Name:Pwp Google *Gsu           Orig ID: 626060084 Desc Date:    CO Entry                                21.60
        Descr:Privacycomsec:Web Trace#:021115085326033 Eed:230703 Ind ID:TN: 1700673
        Ind Name:(844) 771-8229 Trn: 1845326033Tc
07/03   Orig CO Name:Pwp Linkz.Ai           Orig ID: 626060084 Desc Date:     CO Entry                                  10.00
        Descr:Privacycomsec:Web Trace#:021115085330025 Eed:230703 Ind ID:TN: 4015697
        Ind Name:(844) 771-8229 Trn: 1845330025Tc
07/03   Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:     CO Entry                                   4.99
        Descr:Privacycomsec:Web Trace#:021115085327613 Eed:230703 Ind ID:TN: 7305233
        Ind Name:(844) 771-8229 Trn: 1845327613Tc
07/03   Orig CO Name:Yardi Service Ch        Orig ID:9000278329 Desc Date:070323 CO Entry                                0.95
        Descr:Web Pmts Sec:Web Trace#:111924684623913 Eed:230703 Ind ID:Jlb1 Bd
        Ind Name:Peterwolf
        805-699-2040 Trn: 1844623913Tc
07/03   07103 Online Transfer To Chk ... 7880 Transaction#: 17789154583                                            3,000.00
07/05   Orig CO Name:Unitedhealthcare         Orig ID:1836282001 Desc Date:    CO Entry                              197.41
        Descr:Premium Sec:Web Trace#:021000025685470 Eed:230705 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 1865685470Tc


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        CHASEO                                                                   July 01, 2023 through July 31, 2023
                                                                             Account Number:                       2511



!ELECTRONIC WITHDRAWALSl_(c_on_ti_nu_ed_;_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                     AMOUNT
07/05   Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:     CO Entry                                   25.00
        Descr: Privacycomsec:Web Trace#:021115083453782 Eed:230705 Ind ID:TN: 1105857
        Ind Name:(844) 771-8229 Trn: 1863453782Tc
07/06   Orig CO Name:Wepay                 Orig ID:5551232356 Desc Date:230706 CO Entry                                    9.95
        Descr:Payments Sec:PPD Trace#:021000028254856 Eed:230706 Ind ID:24006292
        Ind Name:Michael A Wolf           Nte*Zzz*Acct Recovery\ Trn: 1878254856Tc
07/07   Orig CO Name:Ollo               Orig ID:9000002835 Desc Date:       CO Entry Descr:Mobile                        500.00
        Pymsec:Web Trace#:124384605454415 Eed:230707 Ind ID:231870344020535                      Ind
        Name:Michael Wolf Trn: 1885454415Tc
07/07   Orig CO Name:Pwp Mmqb.lo              Orig ID: 626060084 Desc Date:     CO Entry                                  19.95
        Descr:Privacycomsec:Web Trace#:021115085468108 Eed:230707 Ind ID:TN: 1345884
        Ind Name:(844) 771-8229 Trn: 1885468108Tc
07/10   07/08 Online Transfer To Chk ... 7880 Transaction#: 17835875831                                             5,000.00
07/10   Orig CO Name:Pwp Niceboard.C           Orig ID: 626060084 Desc Date:     CO Entry                             179.00
        Descr:Privacycomsec:Web Trace#:021115082876024 Eed:230710 Ind ID:TN: 1263051
        Ind Name:(844) 771-8229 Trn: 1912876024Tc
07/10   Orig CO Name:Pwp Adobe *Cre            Orig ID: 626060084 Desc Date:     CO Entry                                 39.99
        Descr:Privacycomsec:Web Trace#:021115082875349 Eed:230710 Ind ID:TN: 1477422
        Ind Name:(844) 771-8229 Trn: 1912875349Tc
07/10   Orig CO Name:Pwp Ring Yearly          Orig ID: 626060084 Desc Date:     CO Entry                                  39.99
        Descr:Privacycomsec:Web Trace#:021115082875954 Eed:230710 Ind ID:TN: 1715884
        Ind Name:(844) 771-8229 Trn: 1912875954Tc
07/12   Orig CO Name:Vw Credit, Inc.        Orig ID:1382362409 Desc Date:230712 CO Entry                                 247.10
        Descr:Auto Debitsec: Web Trace#:022000029125388 Eed:230712 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202307100000000010Trn: 1939125388Tc
07/12   Orig CO Name:Pwp Squarespace            Orig ID: 626060084 Desc Date:     CO Entry                                13.03
        Descr: Privacycomsec: Web Trace#:021115089926552 Eed:230712 Ind ID:TN: 1649417
        Ind Name: (844) 771-8229 Trn: 1939926552Tc
07/13   Orig CO Name:Pwp Snaplock IN           Orig ID: 626060084 Desc Date:    CO Entry                                  33.62
        Descr: Privacycomsec: Web Trace#:021115088951846 Eed:230713 Ind ID:TN: 1647372
        Ind Name:(844) 771-8229 Trn: 1948951846Tc
07/17   Orig CO Name:Pwp Selectblind         Orig ID: 626060084 Desc Date:     CO Entry                                  658.83
        Descr: Privacycomsec: Web Trace#:021115082838494 Eed:230717 Ind ID:TN: 5205203
        Ind Name:(844) 771-8229 Trn: 1982838494Tc
07/17   Orig CO Name:Pwp Natgeo Mag             Orig ID: 626060084 Desc Date:     CO Entry                                29.00
        Descr: Privacycomsec: Web Trace#:021115082839151 Eed:230717 Ind ID:TN: 1806983
        Ind Name:(844} 771-8229 Trn: 1982839151Tc
07/17   Orig CO Name:Pwp Chatgpt Sub           Orig ID: 626060084 Desc Date:     CO Entry                                 20.00
        Descr: Privacycomsec: Web Trace#:021115082839295 Eed:230717 Ind ID:TN: 2333915
        Ind Name:(844) 771-8229 Trn: 1982839295Tc
07/17   Orig CO Name:Pwp lnvoiceninj         Orig ID: 626060084 Desc Date:     CO Entry                                   10.00
        Descr: Privacycomsec: Web Trace#:021115082838557 Eed:230717 Ind ID:TN: 1085954
        Ind Name:(844) 771-8229 Trn: 1982838557Tc
07/18   Orig CO Name:Peace River Elec         Orig ID:9000263718 Desc Date:071823 CO Entry                               138.00
        Descr:Web Pmts Sec:CCD Trace#: 111924686560948 Eed:230718 Ind ID:MI01WI
        Ind Name:Mmqb
        800-282-3824 Trn: 1996560948Tc
07/18   Orig CO Name:Pwp Geico *Aut           Orig ID: 626060084 Desc Date:     CO Entry                                 256.87
        Descr:Privacycomsec:Web Trace#:021115088517749 Eed:230718 Ind ID:TN: 7066506
        Ind Name:(844) 771-8229 Trn: 1998517749Tc
07/18   Zelle Payment To Peter Wolf Jpm999Zgbf7Z                                                                        1,256.97
07/19   Orig CO Name:Pwp Moonbeam               Orig ID: 626060084 Desc Date:     CO Entry                                 18.00
        Descr:Privacycomsec:Web Trace#:021115081780410 Eed:230719 Ind ID:TN: 4555321
        Ind Name:(844) 771-8229 Trn: 2001780410Tc
07/20   Orig CO Name:Bmw Bank               Orig ID:0870631885 Desc Date:230719 CO Entry                                 817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000020882245 Eed:230720 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 2010882245Tc



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        CHASEO                                                                   July 01, 2023 through July 31, 2023
                                                                             Account Number:                       2511



!ELECTRONIC WITHDRAWALSl_(c_on_ti_nu_ed_;_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                     AMOUNT
07/20   Orig CO Name:Pwp Alivecor IN         Orig ID: 626060084 Desc Date:      CO Entry                                  9.99
        Descr:Privacycomsec:Web Trace#:021115080787820 Eed:230720 Ind ID:TN: 3706980
        Ind Name:(844) 771-8229 Trn: 2010787820Tc                                                                                =
                                                                                                                                 =
07/21   Orig CO Name:Fpl Direct Debit       Orig ID:3590247775 Desc Date:07/23 CO Entry                                 131.88   ==
        Descr:Elec Pymt Sec:Web Trace#:111000017347641 Eed:230721 Ind ID:4842986087 Webi                                         ===
        Ind Name:Scott Wolf
        00000000000000000000Trn: 2027347641Tc
07/24   Orig CO Name:Pwp Memberful.C            Orig ID: 626060084 Desc Date:      CO Entry
        Descr:Privacycomsec:Web Trace#:021115081980933 Eed:230724 Ind ID:TN: 1053567
                                                                                                                        103.60
                                                                                                                                 ===
        Ind Name:(844) 771-8229 Trn: 2051980933Tc
07/24   Orig CO Name:Pwp Visible           Orig ID: 626060084 Desc Date:      CO Entry                                   25.00
        Descr:Privacycomsec:Web Trace#:021115081981054 Eed:230724 Ind ID:TN: 1413218
        Ind Name:(844) 771-8229 Trn: 2051981054Tc                                                                                ===
                                                                                                                                 =

07/24   Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:      CO Entry                               11.50
        Descr:Privacycomsec:Web Trace#:021115081980797 Eed:230724 Ind ID:TN: 1590591
        Ind Name:(844) 771-8229 Trn: 2051980797Tc
07/24   Orig CO Name:Pwp Www.Command                Orig ID: 626060084 Desc Date:    CO Entry                             7.99
        Descr:Privacycomsec:Web Trace#:021115081981041 Eed:230724 Ind ID:TN: 8219309
        Ind Name:(844) 771-8229 Trn: 205198104 Hc
07/25   Orig CO Name:Pwp Notion Labs           Orig ID: 626060084 Desc Date:      CO Entry                               80.00
        Descr:Privacycomsec:Web Trace#:021115086886279 Eed:230725 Ind ID:TN: 4381729
        Ind Name:(844) 771-8229 Trn: 2066886279Tc
07/25   Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:      CO Entry                                5.00
        Descr:Privacycomsec:Web Trace#:021115086886503 Eed:230725 Ind ID:TN: 1299650
        Ind Name:(844) 771-8229 Trn: 2066886503Tc
07/26   Orig CO Name:Ally Cc              Orig ID:9000002835 Desc Date:      CO Entry Descr:Mobile                      400.00
        Pymsec:Web Trace#:124384603640927 Eed:230726 Ind ID:232060347195105                       Ind
        Name:Michael Wolf Trn: 2073640927Tc
07/26   Orig CO Name:Barclaycard US           Orig ID:2510407970 Desc Date:       CO Entry                              192.84
        Descr:Creditcardsec:Web Trace#:026002573760240 Eed:230726 Ind ID:1023938582
        Ind Name:Michael Wolf Trn: 2073760240Tc
07/26   Orig CO Name:Pwp Adobe *Cre            Orig ID: 626060084 Desc Date:      CO Entry                               54.99
        Descr:Privacycomsec:Web Trace#:021115083720937 Eed:230726 Ind ID:TN: 9082307
        Ind Name:(844) 771-8229 Trn: 2073720937Tc
07/28   Orig CO Name:Pwp Frontier CO           Orig ID: 626060084 Desc Date:      CO Entry                               99.99
        Descr:Privacycomsec:Web Trace#:021115085325789 Eed:230728 Ind ID:TN: 1712048
        Ind Name:(844) 771-8229 Trn: 2095325789Tc
07/28   Orig CO Name:Pwp Openphone              Orig ID: 626060084 Desc Date:      CO Entry                              10.00
        Descr:Privacycomsec:Web Trace#:021115085325795 Eed:230728 Ind ID:TN: 1129080
        Ind Name:(844) 771-8229 Trn: 2095325795Tc
07/28   Orig CO Name:Pwp Bloomberg.C            Orig ID: 626060084 Desc Date:      CO Entry                             149.00
        Descr:Privacycomsec:Web Trace#:021115084355935 Eed:230728 Ind ID:TN: 6943355
        Ind Name:(844) 771-8229 Trn: 2094355935Tc
07/31   07/29 Online Transfer To Chk ... 7880 Transaction#: 18017398311                                             5,000.00
07/31   Orig CO Name:Gardens By Allis         Orig ID:9215986202 Desc Date:230731 CO Entry                          1,902.45
        Descr:Sale    Sec:CCD Trace#:021000027252212 Eed:230731 Ind ID:
        Ind Name:Null Mmqb Trn: 2127252212Tc
07/31   Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:       CO Entry Descr:Transfer                     12.50
        Sec:CCD Trace#:091000016603371 Eed:230731 Ind ID:St-S6G4N1B8C1K0                       Ind
        Name:Michael Wolf Trn: 2126603371Tc
07/31   Zelle Payment To Peter Wolf Jpm99A00Lngp                                                                    4,000.00
Total Electronic Withdrawals                                                                                     $28,202.00




                                                                                                          Page 7 of 8
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        CHASEO                                                                                          July 01, 2023 through July 31, 2023
                                                                                                  Account Number:                           2511




I DAILy ENDING BALANCE I
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                               AMOUNT
07/03                       $28,272.93                 07/13                         51,268.50                07/24                              48,527.86
07/05                        27,743.96                07/14                          51,428.98                07/25                              48,620.04
07/06                        45,836.95                07/17                          50,049.32                07/26                              48,655.57
07/07                        45,378.02                07/18                          48,299.50                07/27                              49,898.64
07/10                        44,828.44                07/19                          50,633.03                07/28                              54,532.25
07/11                        44,701.76                07/20                          49,577.26                07/31                              42,996.63
07/12                        51,378.46                07/21                          48,920.24


 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •     Your name and account number;
         •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •     The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 8 of 8
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      .CHASEO                                                                                  August 01, 2023 through August 31, 2023
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                        Account Number:                        2511
      Columbus, OH 43218 -2051

                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                       Web site:                       Chase.com
                                                                                       Service Center:             1-800-242-7338
     00294615 DRE 021 210 24423 NNNNNNNNNNN 1 000000000 64 0000                        Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                                      International Calls:        1-713-262-1679
                                                                                       We accept operator relay calls
     SARASOTA FL 34236-5125


                                                                                                                                         -
                                                                                                                                         -=
                                                                                                                                         =
We're discontinuing Text Banking
Starting on October 15, 2023, we'll no longer offer our Text Banking service. This change doesn't affect any Account Alerts
you receive by text. There are other ways you can manage your account from your mobile phone or computer.

Access your accounts with the Chase Mobile® app 1 and on chase.com, where you can:
    •   View your transactions, transfer money and make payments.
    •   Sign up for Account Alerts - get alerts about your balance, spending and more. Choose the alerts you want in
        Profile and Settings.

If you have questions, please call the number on this statement. We accept operator relay calls.


1Chase Mobile@ app is available for select mobile devices. Message and data rates may apply.



ICHECKING SUMMARY I Chase Business Complete Checking
                                                   INSTANCES                           AMOUNT
 Beginning Balance                                                                 $42,996.63
 Deposits and Additions                                    21                       24,996.62
 Checks Paid                                                1                       -5,013.00
 ATM & Debit Card Withdrawals                              61                       -6,639.13
 Electronic Withdrawals                                    47                      -19,948.34
 Fees                                                       1                          -25.00
 Ending Balance                                           131                      $36,367.78


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.




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        CHASEO                                                                    August 01, 2023 through August 31, 2023
                                                                                 Account Number:                      2511


How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete CheckingsM account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $24,976.75.
    •    $2,000 Chase Payment SolutionssMActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 M account OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


IDEPOSITS AND ADDITIONS I
DATE        DESCRIPTION                                                                                                    AMOUNT
08/02       Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:    CO Entry                                    $182.17
            Descr:Transfer Sec:CCD       Trace#:091000015496253 Eed:230802 Ind
            ID: St-X3Z8L0E9M4F8             Ind Name:Michael Wolf Trn: 2145496253Tc
08/03       Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:    CO Entry                                     182.17
            Descr:Transfer Sec:CCD       Trace#:091000011192157 Eed:230803 Ind
            ID: St-P0J9H5Y6F4M6             Ind Name:Michael Wolf Trn: 2151192157Tc
08/04       Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                                     182.17
            Descr:Transfer Sec:CCD       Trace#:091000017714040 Eed:230804 Ind
            ID:St-G0P2P6D9H0D3               Ind Name:Michael Wolf Trn: 2167714040Tc
08/09       Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                                     201.14
            Descr:Transfer Sec:CCD       Trace#:091000011352764 Eed:230809 Ind
            ID:St-S3V2R4L8K0B1              Ind Name:Michael Wolf Trn: 2211352764Tc
08/10       Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                                     182.17
            Descr:Transfer Sec:CCD       Trace#:091000019115113 Eed:230810 Ind
            ID: St-G9L3Y912V5R2            Ind Name:Michael Wolf Trn: 2229115113Tc
08/15       Deposit    5100047206                                                                                      2,500.00
08/15       Orig CO Name:Stripe                Orig ID: 1800948598 Desc Date:  CO Entry                                4,624.34
            Descr:Transfer Sec:CCD       Trace#: 091000017264248 Eed: 230815 Ind
            ID: St-L7Y7E5P0H8O6              Ind Name:Mmqb Trn: 2277264248Tc
08/15       Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:   CO Entry                                1,735.69
            Descr:Transfer Sec:CCD       Trace#:091000017413421 Eed:230815 Ind
            ID:St-A3W4X3K8R5Z5                Ind Name:Mmqb Trn: 2277413421Tc
08/15       Orig CO Name:Stripe                Orig ID:4270465600 Desc Date:   CO Entry                                     659.19
            Descr:Transfer Sec:CCD       Trace#:111000021174966 Eed:230815 Ind
            ID:St-Y0M2F0D5M0J1               Ind Name: Mmqb Trn: 227117 4966Tc
08/16       Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:   CO Entry                                     182.17
            Descr:Transfer Sec:CCD       Trace#:091000014462509 Eed:230816 Ind
            ID: St-O7N8G3A8J7X7              Ind Name:Michael Wolf Trn: 2284462509Tc
08/17       Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:   CO Entry                                     991.94
            Descr:Transfer Sec:CCD       Trace#:091000019181106 Eed:230817 Ind
            ID:St-B9V4P5F7J4A5              Ind Name:Michael Wolf Trn: 2299181106Tc
08/23       Orig CO Name:Stripe                Orig ID:4270465600 Desc Date:   CO Entry                                      47.40
            Descr:Transfer Sec:CCD       Trace#: 111000023494268 Eed:230823 Ind
            ID: St-G8P3D1 A2L5N7             Ind Name:Mmqb Trn: 2353494268Tc
08/24       Orig CO Name:Stripe                Orig ID:1800948598 Desc Date:   CO Entry                                     961.66
            Descr:Transfer Sec:CCD       Trace#:091000019401341 Eed:230824 Ind
            ID: St-Q2E9V4D3T 4D5             Ind Name:Mmqb Trn: 2369401341Tc
08/24       Orig CO Name:Stripe                Orig ID: 1800948598 Desc Date:  CO Entry                                     870.09
            Descr:Transfer Sec:CCD       Trace#:091000019400911 Eed:230824 Ind
            ID: St-O3X3Q6A0D4X4               Ind Name:Mmgb Trn: 236940091 Hc
08/24       Orig CO Name:Stripe                Orig ID:4270465600 Desc Date:   CO Entry                                     305.42
            Descr:Transfer Sec:CCD       Trace#: 111000027480900 Eed: 230824 Ind
            ID: St-R6N0l 6K9T5A9           Ind Name:Mmqb Trn: 2367480900Tc



                                                                                                             Page 2 of 8
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           .CHASEO                                                                     August 01, 2023 through August 31, 2023
                                                                                     Account Number:                      2511



I   DEPOSITS AND ADDITIONS                        -1(_co_nt,_·nu_ed_~_ _ _ _ _ _ _ _ _ _ _ _ __

    DATE          DESCRIPTION                                                                                                   AMOUNT
    08/25         Orig CO Name:Stripe          Orig ID:1800948598 Desc Date:     CO Entry                                        364.34
                  Descr:Transfer Sec:CCD Trace#:091000016078788 Eed:230825 Ind
                  ID:St-H5T4B2H0W9C5          Ind Name:Michael Wolf Trn: 2376078788Tc
                                                                                                                                           --
    08/29         Orig CO Name:Stripe          Orig ID:1800948598 Desc Date:
                  Descr:Transfer Sec:CCD Trace#:091000012684392 Eed:230829 Ind
                                                                                 CO Entry                                   2,113.26
                                                                                                                                           -=
                  ID:St-O2N7D9S0M6P5           Ind Name:Mmqb Trn: 2412684392Tc
    08/29         Orig CO Name:Stripe          Orig ID:1800948598 Desc Date:     CO Entry                                        580.06
                  Descr:Transfer Sec:CCD Trace#:091000012686134 Eed:230829 Ind
                  ID:St-W9T8E3R3G2N2           Ind Name:Mmqb Trn: 2412686134Tc
                                                                                                                                           -
    08/29         Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                                        449.07    =
                                                                                                                                           ====
                  Descr:Transfer Sec:CCD Trace#:111000028710782 Eed:230829 Ind
                  ID:St-O3N8X6S5D4S6          Ind Name:Mmqb Trn: 2418710782Tc                                                              =
                                                                                                                                           =
    08/29         Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                                        182.17
                  Descr:Transfer Sec:CCD Trace#:091000012671442 Eed:230829 Ind
                  ID:St-V6M7A2L9W8M7            Ind Name:Michael Wolf Trn: 2412671442Tc
    08/30         Orig CO Name:Ais            Orig ID:1029268000 Desc Date:230830 CO Entry                                  7,500.00
                  Descr:Payments Sec:CCD Trace#:021000028021754 Eed:230830 Ind ID:817090
                  Ind Name:Mmqb/ Michael Wolf Trn: 2428021754Tc
    Total Deposits and Additions                                                                                        $24,996.62


ICHECKS PAID I
                                                                                                        DATE
    CHECK NO.            DESCRIPTION                                                                    PAID                    AMOUNT
    1002 "                                                                                              08/22             $5,013.00
    Total Checks Paid                                                                                                     $5,013.00
    If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
    "An image of this check may be available for you to view on Chase.com.


    IATM & DEBIT CARD WITHDRAWALS!
     DATE       DESCRIPTION                                                                                                     AMOUNT
    08/02       Card Purchase       08/01 Pwe*Privacy.Com Busine 844-7718229 NY Card 7957                                         $10.00
    08/04       Card Purchase       08/03 Mid-Pines Developmen Southern Pine NC Card 7957                                          18.00
    08/07       Card Purchase       08/01 Pinehurst Lod1:iin1:i Pinehurst NC Card 7957                                          1,732.00
    08/07       Recurring Card Purchase 08/05 Aeele.Com/Bill 866-712-7753 CA Card 7957                                             15.99
    08/07       Card Purchase       08/06 Pinehurst Lodging Pinehurst NC Card 7957                                                146.21
    08/07       Card Purchase       08/07 Sq *Precision Lawn Serv Gosq.Com FL Card 7957                                           100.00
    08/10       Recurring Card Purchase 08/10 Aeple.Com/Bill 866-712-7753 CA Card 7957                                             10.69
    08/10       Card Purchase       08/10 Amzn Mkte US*Ta60T5K Amzn.Com/Bill WA Card 7957                                          92.01
    08/10       Card Purchase       08/09 Amzn Mktp US*Ta7Ng1 D Amzn.Com/Bill WA Card 7957                                         18.18
    08/10       Card Purchase       08/10 Amzn Mktp US*Ta7Sq99 Amzn.Com/Bill WA Card 7957                                         111.80
    08/11       Card Purchase       08/11 Amzn Mkte US*To8CT6A Amzn.Com/Bill WA Card 7957                                          94.66
    08/11       Card Purchase       08/10 Amzn Mktp US*Ta99R7I Amzn.Com/Bill WA Card 7957                                          34.14
    08/11       Card Purchase       08/10 Amzn Mkte US*To3Xd4Z Amzn.Com/Bill WA Card 7957                                         159.30
    08/11       Card Purchase       08/10 Amzn Mktp US*Ta9CU07 Amzn.Com/Bill WA Card 7957                                          16.24
    08/14       Card Purchase       08/11 Amazon.Com*To8Zt9F40 Amzn.Com/Bill WA Card 7957                                         155.30
    08/14       Card Purchase       08/12 Amzn Mkte US*To6Ro1F Amzn.Com/Bill WA Card 7957                                         299.59
    08/14       Card Purchase       08/12 Amzn Mktp US*Ta7Rv4Y Amzn.Com/Bill WA Card 7957                                          96.29
    08/14       Card Purchase       08/11 Warbz'. Parker Warbyearker.C NY Card 7957                                                95.00
    08/14       Card Purchase       08/11 Warby Parker Warbyparker.C NY Card 7957                                                  45.00
    08/14       Recurring Card Purchase 08/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                                      30.00


                                                                                                                  Page 3 of 8
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       CHASEO                                                          August 01, 2023 through August 31, 2023
                                                                      Account Number:                      2511



IATM & DEBIT CARD WITHDRAWALS! (continued)
DATE    DESCRIPTION                                                                                             AMOUNT
08/14   ATM Withdrawal       08/12 431 0 53Rd Ave E Bradenton FL Card 7957                                  1,000.00
08/14   Card Purchase       08/14 Amzn Mktp US*To6S27D Amzn.Com/Bill WA Card 7957                             147.71
08/14   Recurring Card Purchase 08/14 Apple.Com/Bill 866-712-7753 CA Card 7957                                  9.98
08/14   Card Purchase       08/14 Amazon.Com*To34R16W2 Amzn.Com/Bill WA Card 7957                             230.72
08/14   Card Purchase With Pin 08/14 Lowe's #772 Bradenton FL Card 7957                                       114.38
08/14   Card Purchase With Pin 08/14 Lowe's #772 Bradenton FL Card 7957                                        56.60
08/16   Recurring Card Purchase 08/16 Audible*To94S7Vo1 Amzn.Com/Bill NJ Card 7957                             14.95
08/16   Recurring Card Purchase 08/16 Apple. Com/Bill 866-712-7753 CA Card 7957                                35.04
08/16   Card Purchase With Pin 08/16 Lowe's #772 Bradenton FL Card 7957                                        10.66
08/17   Card Purchase       08/16 Amzn Mktp US*Tq3Yh4F Amzn.Com/Bill WA Card 7957                              64.15
08/17   Recurring Card Purchase 08/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                  4.27
08/17   Card Purchase       08/16 Amazon.Com*Tq6Hm5Ou2 Amzn.Com/Bill WA Card 7957                              26.99
08/21   Card Purchase       08/18 Hotelscom7263526926103 Hotels.Com WA Card 7957                                0.27
08/21   Card Purchase       08/21 Amzn Mktp US*Tq8Fa6X Amzn.Com/Bill WA Card 7957                              95.23
08/21   Card Purchase       08/19 Amzn Mktp US*To6A85Y Amzn.Com/Bill WA Card 7957                               5.34
08/21   Card Purchase       08/19 Amzn Mktp US*Tq5Ae03 Amzn.Com/Bill WA Card 7957                              77.03
08/21   Card Purchase       08/20 Amzn Mktp US*Tq1814T Amzn.Com/Bill WA Card 7957                              57.25
08/21   Card Purchase       08/20 Amzn Mktp US*Tq24Q3T Amzn.Com/Bill WA Card 7957                              14.97
08/21   Recurring Card Purchase 08/20 Covenant Health Produc 800-6276518 NC Card 7957                          44.71
08/21   Card Purchase       08/21 Amzn Mktp US*Tq4Z96Q Amzn.Com/Bill WA Card 7957                              31.02
08/21   Card Purchase       08/21 Amzn Mktp US*Tq08V4J Amzn.Com/Bill WA Card 7957                              33.69
08/21   Card Purchase       08/21 Amzn Mktp US*Tq3Zz4T Amzn.Com/Bill WA Card 7957                              29.91
08/22   Recurring Card Purchase 08/22 Apple.Com/Bill 866-712-7753 CA Card 7957                                 12.20
08/22   Card Purchase       08/22 Amzn Mktp US*Tq1Zb48 Amzn.Com/Bill WA Card 7957                             149.79
08/22   Card Purchase       08/22 Amzn Mktp US*Tq76T0P Amzn.Com/Bill WA Card 7957                               8.55
08/23   Card Purchase       08/23 Amzn Mktp US*Tq9Wp92 Amzn.Com/Bill WA Card 7957                             124.11
08/24   Recurring Card Purchase 08/23 Apple. Com/Bill 866-712-7753 CA Card 7957                                13.31
08/24   Card Purchase With Pin 08/24 Lowe's #772 Bradenton FL Card 7957                                        17.10
08/24   Card Purchase With Pin 08/24 The Home Depot #6319 Bradenton FL Card 7957                               32.07
08/25   Card Purchase        08/24 Amzn Mktp US*T365E1 N Amzn.Com/Bill WA Card 7957                            35.30
08/25   Recurring Card Purchase 08/24 Apple.Com/Bill 866-712-7753 CA Card 7957                                 15.99
08/25   Card Purchase       08/24 Amazon Kids+*Tq4L5874 888-802-3080 WA Card 7957                               4.99
08/25   Card Purchase        08/25 Amzn Mktp US*T32192C Amzn.Com/Bill WA Card 7957                             25.67
08/28   Card Purchase        08/26 Amazon.Com*T32V41Np0 Amzn.Com/Bill WA Card 7957                            150.35
08/28   Card Purchase        08/25 Amzn Mktp US*T319T4E Amzn. Com/Bill WA Card 7957                            12.81
08/28   Card Purchase        08/26 Amzn Mktp US*T37Zh43 Amzn.Com/Bill WA Card 7957                             77.03
08/28   Card Purchase With Pin 08/26 The Home Depot #1863 Bradenton FL Card 7957                               30.38
08/28   Card Purchase        08/27 Amzn Mktp US*T33PR41 Amzn.Com/Bill WA Card 7957                            167.98
08/29   Recurring Card Purchase 08/28 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                          80.50
08/29   Card Purchase With Pin 08/29 Wholefds Sar 101 1451 Sarasota FL Card 7957                               97.81
08/30   Recurring Card Purchase 08/30 Tmobile*Auto Pay 800-937-8997 WA Card 7957                              197.92
Total ATM & Debit Card Withdrawals                                                                         $6,639.13



1ATM & DEBIT CARD SUMMARY 1 1 - - - - - - - - - - - - - - -
Michael A Wolf Card 7957
                      Total ATM Withdrawals & Debits                                                      $1,000.00
                      Total Card Purchases                                                                $5,639.13
                      Total Card Deposits & Credits                                                           $0.00


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        CHASEO                                                             August 01, 2023 through August 31, 2023
                                                                          Account Number:                      2511


ATM & Debit Card Totals
                      Total ATM Withdrawals & Debits                                                          $1,000.00
                      Total Card Purchases                                                                    $5,639.13
                      Total Card Deposits & Credits                                                               $0.00

!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                                 AMOUNT
08/01   Orig CO Name:Pwp Chargepoint          Orig ID: 626060084 Desc Date:    CO Entry                              $20.00
        Descr:Privacycomsec:Web Trace#:021115084441905 Eed:230801 Ind ID:TN: 4668896
        Ind Name:(844) 771-8229 Trn: 2134441905Tc
08/01   Orig CO Name:Pwp Concierge C           Orig ID: 626060084 Desc Date:   CO Entry                              760.00
        Descr:Privacycomsec:Web Trace#:021115089528979 Eed:230801 Ind ID:TN: 9306288
        Ind Name:(844) 771-8229 Trn: 2139528979Tc
08/02   Orig CO Name:Pwp Sarasota GI          Orig ID: 626060084 Desc Date:   CO Entry                               175.00
        Descr:Privacycomsec:Web Trace#:021115085563220 Eed:230802 Ind ID:TN: 1756036
        Ind Name:(844) 771-8229Trn: 2145563220Tc
08/02   Orig CO Name:Pwp Google Gsu            Orig ID: 626060084 Desc Date:   CO Entry                               36.00
        Descr:Privacycomsec:Web Trace#:021115085561593 Eed:230802 Ind ID:TN: 6187923
        Ind Name:(844) 771-8229 Trn: 2145561593Tc
08/02   Orig CO Name:Pwp Google Gsu            Orig ID: 626060084 Desc Date:   CO Entry                               21.60
        Descr:Privacycomsec:Web Trace#:021115085561591 Eed:230802 Ind ID:TN: 1723216
        Ind Name:(844) 771-8229 Trn: 2145561591Tc
08/03   Orig CO Name:Pwp Smartstop S           Orig ID: 626060084 Desc Date:   CO Entry                              164.01
        Descr: Privacycomsec:Web Trace#:021115081083563 Eed:230803 Ind ID:TN: 1021097
        Ind Name:(844) 771-8229 Trn: 2151083563Tc
08/03   Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:    CO Entry                                  4.99
        Descr:Privacycomsec:Web Trace#:021115081083664 Eed:230803 Ind ID:TN: 1089608
        Ind Name:(844) 771-8229 Trn: 2151083664Tc
08/03   Orig CO Name:Thebainbridge-10         Orig ID:9000326709 Desc Date:080323 CO Entry                      2,843.56
        Descr:Web Pmts Sec:Web Trace#:111924683544258 Eed:230803 Ind ID:11B7Kd
        Ind Name:Peterwolf
        805-699-2040 Trn: 2153544258Tc
08/03   Orig CO Name:Yardi Service Ch        Orig ID:9000278329 Desc Date:080323 CO Entry                              0.95
        Descr:Web Pmts Sec:Web Trace#:111924683541570 Eed:230803 Ind ID:Jmf6Kd
        Ind Name:Peterwolf
        805-699-2040 Trn: 2153541570Tc
08/04   Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:   CO Entry                                 25.00
        Descr:Privacycomsec:Web Trace#:021115087990530 Eed:230804 Ind ID:TN: 5922609
        Ind Name:(844) 771-8229 Trn: 2167990530Tc
08/04   08/04 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Stripe Payments                  2,500.00
        Company South San Francisco CA 94080 US Ref:/Time/05:28 !mad: 0804B1 Qgc07C001381
        Trn: 3141963216Es
08/07   Orig CO Name:Unitedhealthcare         Orig ID:1836282001 Desc Date:   CO Entry                               197.41
        Descr:Premium Sec:Web Trace#:021000022746355 Eed:230807 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 2192746355Tc
08/07   Orig CO Name:Wepay                 Orig ID:4693231001 Desc Date:230806 CO Entry                                9.95
        Descr:Payments Sec:PPD Trace#:021000021081616 Eed:230807 Ind ID:24490495
        Ind Name:Michael A Wolf           Nte*Zzz*Acct Recovery\ Trn: 2191081616Tc
08/07   Orig CO Name:Pwp Mmqb.lo              Orig ID: 626060084 Desc Date:   CO Entry                                19.95
        Descr:Privacycomsec:Web Trace#:021115080928048 Eed:230807 Ind ID:TN: 1687993
        Ind Name:(844) 771-8229 Trn: 2190928048Tc
08/07   08/07 Online Transfer To Chk ... 7880 Transaction#: 18103201685                                             1,000.00
08/08   Orig CO Name:Pwp Parcel Pend           Orig ID: 626060084 Desc Date:   CO Entry                                 3.00
        Descr:Privacycomsec:Web Trace#:021115089929173 Eed:230808 Ind ID:TN: 2724648
        Ind Name:(844) 771-8229 Trn: 2209929173Tc
08/09   Orig CO Name:Gardens By Allis        Orig ID:9215986202 Desc Date:230809 CO Entry                       3,788.14
        Descr:Sale     Sec:CCD Trace#:021000021752621 Eed:230809 Ind ID:
        Ind Name:Null Mmqb Trn: 2211752621Tc
08/09   08/09 Online Transfer To Chk ... 7880 Transaction#: 18123834479                                         2,000.00



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        CHASEO                                                                  August 01, 2023 through August 31, 2023
                                                                              Account Number:                       2511



!ELECTRONIC WITHDRAWALSJ_<0_0 n_u_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                      AMOUNT
08/10   Orig CO Name:Pwp Niceboard.C         Orig ID: 626060084 Desc Date:     CO Entry                                  179.00
        Descr:Privacycomsec:Web Trace#:021115089011514 Eed:230810 Ind ID:TN: 1186557
        Ind Name:(844) 771-8229 Trn: 2229011514Tc
08/10   Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:     CO Entry                                   39.99
        Descr:Privacycomsec:Web Trace#:021115089011354 Eed:230810 Ind ID:TN: 1001227
        Ind Name:(844) 771-8229 Trn: 2229011354Tc
08/11   Orig CO Name:Pwp Chargepoint         Orig ID: 626060084 Desc Date:     CO Entry                                   10.00
        Descr:Privacycomsec:Web Trace#:021115087010966 Eed:230811 Ind ID:TN: 7434405
        Ind Name:(844) 771-8229 Trn: 2237010966Tc
08/14   Orig CO Name:Vw Credit, Inc.      Orig ID:1382362409 Desc Date:230812 CO Entry                                   247.10
        Descr:Auto Debitsec:Web Trace#:022000023986255 Eed:230814 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202308100000000018Trn: 2263986255Tc
08/14   Orig CO Name:Pwp Chargepoint         Orig ID: 626060084 Desc Date:     CO Entry                                   20.00
        Descr:Privacycomsec:Web Trace#:021115083749177 Eed:230814 Ind ID:TN: 1046932
        Ind Name:(844) 771-8229 Trn: 2263749177Tc
08/14   Orig CO Name:Pwp Squarespace          Orig ID: 626060084 Desc Date:     CO Entry                                  19.26
        Descr:Privacycomsec:Web Trace#:021115083749371 Eed:230814 Ind ID:TN: 1384990
        Ind Name:(844) 771-8229 Trn: 2263749371Tc
08/15   Orig CO Name:Peace River Elec       Orig ID:1590395398 Desc Date:      CO Entry                                   96.00
        Descr:Bank Draftsec:CCD Trace#:063104927988442 Eed:230815 Ind ID:0204133001
        Ind Name:Mmqb                                                                     Utility Bill
        Trn: 2277988442Tc
08/15   Orig CO Name:Manatee County U         Orig ID:7530166011 Desc Date:      CO Entry                                 53.13
        Descr:Payment Sec:CCD Trace#:031101117840154 Eed:230815 Ind
        ID:300790000205322           Ind Name:Mmqb Trn: 2277840154Tc
08/16   Orig CO Name:Pwp Chatgpt Sub          Orig ID: 626060084 Desc Date:     CO Entry                                  20.00
        Descr:Privacycomsec:Web Trace#:021115084542629 Eed:230816 Ind ID:TN: 6375342
        Ind Name:(844) 771-8229 Trn: 2284542629Tc
08/17   Orig CO Name:Pwp lnvoiceninj       Orig ID: 626060084 Desc Date:      CO Entry                                    10.00
        Descr:Privacycomsec:Web Trace#:021115089274103 Eed:230817 Ind ID:TN: 1325780
        Ind Name:(844) 771-8229 Trn: 2299274103Tc
08/18   Orig CO Name:Ally Cc            Orig ID:9000002835 Desc Date:       CO Entry                                     200.00
        Descr:Onlinepymtsec:Web Trace#: 124384603845869 Eed:230818 Ind
        ID:232290350031998            Ind Name:Michael Wolf Trn: 2303845869Tc
08/18   Orig CO Name:Fpl Direct Debit      Orig ID:3590247775 Desc Date:08/23 CO Entry                                   136.01
        Descr:Elec Pymt Sec:Web Trace#:111000011379204 Eed:230818 Ind ID:4842986087 Webi
         Ind Name:Scott Wolf
        000000000000O0000000Trn: 2301379204Tc
08/18   Orig CO Name:Pwp Geico *Aut         Orig ID: 626060084 Desc Date:      CO Entry                                  255.57
         Descr:Privacycomsec:Web Trace#:021115087882918 Eed:230818 Ind ID:TN: 1027966
         Ind Name:(844) 771-8229 Trn: 2307882918Tc
08/21   Orig CO Name:Bmw Bank              Orig ID:0870631885 Desc Date:230819 CO Entry                                  817.50
         Descr:Bmwfs Pymtsec:PPD Trace#:021000029935925 Eed:230821 Ind ID:
         Ind Name:Michael Wolf1004495593 Trn: 2339935925Tc
08/21    Orig CO Name:Pwp Memberful.C         Orig ID: 626060084 Desc Date:     CO Entry                                 103.60
         Descr:Privacycomsec:Web Trace#:021115089291267 Eed:230821 Ind ID:TN: 2577778
         Ind Name:(844) 771-8229 Trn: 2339291267Tc
08/21    Orig CO Name:Pwp Moonbeam             Orig ID: 626060084 Desc Date:     CO Entry                                 18.00
         Descr:Privacycomsec:Web Trace#:021115089291584 Eed:230821 Ind ID:TN: 1218940
         Ind Name:(844) 771-8229 Trn: 2339291584Tc
08/21    Orig CO Name:Pwp Alivecor IN       Orig ID: 626060084 Desc Date:     CO Entry                                     9.99
         Descr:Privacycomsec:Web Trace#:021115089290556 Eed:230821 Ind ID:TN: 1185014
         Ind Name:(844) 771-8229 Trn: 2339290556Tc
08/22    Orig CO Name:Pwp Visible         Orig ID: 626060084 Desc Date:      CO Entry                                     25.00
         Descr:Privacycomsec:Web Trace#:021115085503310 Eed:230822 Ind ID:TN: 1615387
         Ind Name:(844) 771-8229 Trn: 2345503310Tc
08/24    Orig CO Name:Barclaycard US        Orig ID:2510407970 Desc Date:      CO Entry                                  300.00
         Descr:Creditcardsec:Web Trace#:026002579541691 Eed:230824 Ind ID:1030603520
         Ind Name:Michael Wolf Trn: 2369541691Tc

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        .CHASEO                                                              August 01, 2023 through August 31, 2023
                                                                            Account Number:                      2511



!ELECTRONIC WITHDRAWALSl_(c_on_ti_nu_ed_;_ _ _ _ _ _ _ _ _ _ _ __
 DATE    DESCRIPTION                                                                                                  AMOUNT
08/24    Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:     CO Entry                              11.50
         Descr:Privacycomsec:Web Trace#:021115089584983 Eed:230824 Ind ID:TN: 1472865
         Ind Name:(844) 771-8229 Trn: 2369584983Tc
                                                                                                                                  =
                                                                                                                                  =
                                                                                                                                  =
08/24
08/25
         08/24 Online Transfer To Chk ... 7880 Transaction#: 18254107427
         Orig CO Name:Pwp Dnh*Godaddy             Orig ID: 626060084 Desc Date:    CO Entry
                                                                                                                  3,000.00
                                                                                                                     94.16
                                                                                                                                  --
         Descr:Privacycomsec:Web Trace#:021115086289068 Eed:230825 Ind ID:TN: 1252837
         Ind Name:(844) 771-8229 Trn: 2376289068Tc
                                                                                                                                  -
                                                                                                                                  ====
08/25    Orig CO Name: Pwp Notion Labs         Orig ID: 626060084 Desc Date:     CO Entry
         Descr: Privacycomsec: Web Trace#:021115086289628 Eed:230825 Ind ID:TN: 4403597
                                                                                                                        80.00     ===
                                                                                                                                  =
         Ind Name:{844) 771-8229 Trn: 2376289628Tc
                                                                                                                                  ====
                                                                                                                                  =
08/25    Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:     CO Entry
         Descr: Privacycomsec: Web Trace#:021115086290634 Eed:230825 Ind ID:TN: 3023576
         Ind Name:(844) 771-8229 Trn: 2376290634Tc
                                                                                                                         5.00
                                                                                                                                  ===
                                                                                                                                  =
08/28    Orig CO Name:Pwp Adobe *Cre            Orig ID: 626060084 Desc Date:    CO Entry                               54.99
         Descr:Privacycomsec:Web Trace#:021115085357891 Eed:230828 Ind ID:TN: 1065042
         Ind Name:{844) 771-8229 Trn: 2405357891Tc
 08/28   Orig CO Name:Pwp Openphone             Orig ID: 626060084 Desc Date:     CO Entry                              10.00
         Descr:Privacycomsec:Web Trace#:021115085357995 Eed:230828 Ind ID:TN: 1678295
         Ind Name:(844) 771-8229 Trn: 2405357995Tc
 08/29   Orig CO Name:Pwp Proton             Orig ID: 626060084 Desc Date:      CO Entry                                12.99
         Descr: Privacycomsec: Web Trace#:021115082725858 Eed:230829 Ind ID:TN: 1595202
         Ind Name:(844) 771-8229 Trn: 2412725858Tc
 08/30   Orig CO Name:Mdvip, Inc            Orig ID:0009122507 Desc Date:230829 CO Entry                               450.00
         Descr:8778861411 Sec:Web Trace#:021000027945357 Eed:230830 Ind ID:
         Ind Name:Michael Wolf
         2629011652512Trn: 2427945357Tc
 08/30   Orig CO Name:Pwp Frontier CO          Orig ID: 626060084 Desc Date:     CO Entry                               99.99
         Descr:Privacycomsec:Web Trace#:021115087881512 Eed:230830 Ind ID:TN: 2122717
         Ind Name:(844) 771-8229 Trn: 2427881512Tc
 Total Electronic Withdrawals                                                                                  $19,948.34


I FEES 1--I- - - - - - - - - - - - - - - - - -
 DATE    DESCRIPTION                                                                                                  AMOUNT
 08/04   Online Domestic Wire Fee                                                                                      $25.00
 Total Fees                                                                                                            $25.00


1DAILY ENDING BALANCE 1---------------
DATE                      AMOUNT          DATE                   AMOUNT               DATE                             AMOUNT

08/01                  $42,216.63        08/11                 27,543.68             08/22                            28,196.26
08/02                   42,156.20        08/14                 24,976.75             08/23                            28,119.55
08/03                   39,324.86        08/15                 34,346.84             08/24                            26,882.74
08/04                   36,939.03        08/16                  34,448.36            08/25                            26,985.97
08/07                   33,717.52        08/17                  35,334.89            08/28                            26,482.43
08/08                   33,714.52        08/18                  34,743.31            08/29                            29,615.69
08/09                   28,127.52        08/21                 33,404.80             08/30                            36,367.78
08/10                   27,858.02




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      CHASEO                                                                                       August 01, 2023 through August 31, 2023
                                                                                                  Account Number:                          2511




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
you need more information about a transfer listed on the statement or receipt.

For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:

        •     Your name and account number;
        •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
        •     The amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation.
For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
agreement or other applicable agreements that govern your account.

                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                  Page 8 of 8
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        .CHASEO                                                                September 01, 2023 through September 29, 2023
        JPMorgan Chase Bank, N.A.
        PO Box 182051                                                            Account Number:                      2511
        Columbus, OH 43218 -2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                             Web site:                       Chase.com
                                                                             Service Center:             1-800-242-7338
    00315031 DRE 021 21 0 27323 NNNNNNNNNNN 1 000000000 64 0000              Para Espanol:               1-888-622-4273
     MICHAEL WOLF                                                            International Calls:        1-713-262-1679
                                                                             We accept operator relay calls
     SARASOTA FL 34236-5125




J CHECKING SUMMARY J_Ch_a_s_e_Bu_s_in_es_s_C_o_m_pl_et_e_C_he_c_ki_ng_ _ _ _ _ _ _ _ _ _ _ _ __
                                              INSTANCES                      AMOUNT
 Beginning Balance                                                       $36,367.78
 Deposits and Additions                               22                  12,177.71
 ATM & Debit Card Withdrawals                         50                  -2,929.62
 Electronic Withdrawals                               40                 -15,647.18
 Ending Balance                                      112                 $29,968.69


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF}
If you meet any of the following qualifying activities for this Chase Business Complete CheckingsM account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $22,238.56.
    •    $2,000 Chase Payment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


1 DEPOSITS AND               ADDITIONSt-1- - - - - - - - - - - - - -
DATE           DESCRIPTION                                                                                                AMOUNT
09/01          Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:     CO Entry                                  $182.17
               Descr:Transfer Sec:CCD     Trace#:091000011668521 Eed:230901 Ind
               ID: St-Y8X0M8W0N0l 5          Ind Name:Michael Wolf Trn: 2441668521Tc
09/06          Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:     CO Entry                                   182.17
               Descr:Transfer Sec:CCD     Trace#:091000012441016 Eed:230906 Ind
               ID:St-N0G7K9G6Q1 A7            Ind Name:Michael Wolf Trn: 2492441016Tc
09/08          Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:     CO Entry                                    18.97
               Descr:Transfer Sec:CCD     Trace#:091000018033624 Eed:230908 Ind
               ID:St-W1 L6A5G5O5G9             Ind Name:Michael Wolf Trn: 2518033624Tc
09/12          Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:     CO Entry                                   182.17
               Descr:Transfer Sec:CCD     Trace#:091000015036354 Eed:230912 Ind
               ID:St-M1 T0E5T2O0D7           Ind Name:Michael Wolf Trn: 2555036354Tc



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            CHASEO                                                          September 01, 2023 through September 29, 2023
                                                                              Account Number:                      2511



I   DEPOSITS AND ADDITIONS                      (_co_nt_in_ue_d)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             1--I




    DATE      DESCRIPTION                                                                                               AMOUNT
    09/13     Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                   179.18
              Descr:Transfer Sec:CCD    Trace#:091000015861227 Eed:230913 Ind
              ID:St-X7N3P1 H6X4N4          Ind Name:Michael Wolf Trn: 2565861227Tc
    09/14     Deposit     5100011568                                                                                1,025.00
    09/14     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                           1,534.47
              Descr:Transfer Sec:CCD    Trace#:091000016294933 Eed:230914 Ind
              ID:St-A0L0G7J1D2Y1            Ind Name:Mmqb Trn: 2576294933Tc
    09/14     Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                               287.10
              Descr:Transfer Sec:CCD    Trace#: 111000022970418 Eed:230914 Ind
              ID: St-U9X3R8Z4C1 W1             Ind Name:Mmqb Trn: 2572970418Tc
    09/14     Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:    CO Entry                               281.06
              Descr:Transfer Sec:CCD    Trace#:091000016284138 Eed:230914 Ind
              ID: St-P3V0R8B 1Q5D8            Ind Name:Mmqb Trn: 2576284138Tc
    09/20     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                               364.34
              Descr:Transfer Sec:CCD    Trace#:091000017487238 Eed:230920 Ind
              ID: St-N5V3M5A 1Z6L3           Ind Name:Michael Wolf Trn: 2637487238Tc
    09/22     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                           2,607.90
              Descr:Transfer Sec:CCD    Trace#: 091 000015965616 Eed: 230922 Ind
              ID:St-H0V7C511 E6X3          Ind Name:Michael Wolf Trn: 2655965616Tc
    09/22     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                               762.75
              Descr:Transfer Sec:CCD    Trace#:091000015977509 Eed:230922 Ind
              ID: St-S4Q6V219M8S1           Ind Name:Mmqb Trn: 2655977509Tc
    09/22     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                               580.06
              Descr:Transfer Sec:CCD    Trace#:091000015961408 Eed:230922 Ind
              ID:St-G7K6G8A0P8Y8              Ind Name:Mmqb Trn: 2655961408Tc
    09/22     Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:    CO Entry                               525.00
              Descr:Transfer Sec:CCD    Trace#: 111000024279313 Eed:230922 Ind
              ID: St-R0V0A8Z6W7D1              Ind Name:Mmqb Trn: 2654279313Tc
    09/27     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                           1,347.52
              Descr:Transfer Sec:CCD    Trace#:091000015185013 Eed:230927 Ind
              ID:St-G6O8V3Y8L4B1              Ind Name:Mmqb Trn: 2705185013Tc
    09/27     Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:    CO Entry                               290.03
               Descr:Transfer Sec:CCD   Trace#:091000015160405 Eed:230927 Ind
              ID: St-B2W0J5F5P3C5            Ind Name:Mmqb Trn: 2705160405Tc
    09/27     Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:    CO Entry                               277.39
               Descr:Transfer Sec:CCD   Trace#: 111000024886859 Eed:230927 Ind
              ID:St-L4P819X1 Z0U9         Ind Name:Mmqb Trn: 2704886859Tc
    09/28     Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                               385.86
               Descr:Transfer Sec:CCD   Trace#:091000011366401 Eed:230928 Ind
              ID:St-M916N0Z7Z3N7            Ind Name:Mmqb Trn: 2711366401 Tc
    09/28     Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:    CO Entry                                85.54
               Descr:Transfer Sec:CCD   Trace#:111000028369876 Eed:230928 Ind
               ID: St-V612D2H9G6Z4          Ind Name:Mmgb Trn: 2718369876Tc
    09/29      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                               809.77
               Descr:Transfer Sec:CCD   Trace#:091000012191117 Eed:230929 Ind
               ID:St-M6Z7M1 B6D9Y9             Ind Name:Michael Wolf Trn: 2722191117Tc
    09/29      Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:   CO Entry                               192.93
               Descr:Transfer Sec:CCD   Trace#:091000012211349 Eed:230929 Ind
               ID: St-D7P6D7O6C5V5             Ind Name: Mmqb Trn: 2722211349Tc
    09/29      Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:    CO Entry                                76.33
               Descr:Transfer Sec:CCD   Trace#: 111000028623140 Eed:230929 Ind
               ID: St-Q8N0M8E4E2L4             Ind Name:Mmgb Trn: 2728623140Tc
    Total Deposits and Additions                                                                                 $12,177.71




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       CHASEO                                                         September 01, 2023 through September 29, 2023
                                                                       Account Number:                       2511



IATM & DEBIT CARD WITHDRAWALS!
DATE    DESCRIPTION                                                                                               AMOUNT
09/05   Card Purchase         09/01 Apple.Com/Bill 866-712-7753 CA Card 7957                                      $27.18
09/05   Card Purchase         09/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                10.00   -
                                                                                                                           =
                                                                                                                           =
09/05
09/05
        Card Purchase
        Card Purchase
                              09/03 Amzn Mktp US*Tl76Q4V Amzn.Com/Bill WA Card 7957
                              09/03 Amzn Mktp US*Tl46X20 Amzn.Com/Bill WA Card 7957
                                                                                                                   16.04
                                                                                                                   13.90
                                                                                                                           =
                                                                                                                           ====
09/05   Card Purchase         09/05 Amzn Mktp US*Tl3Yr00 Amzn.Com/Bill WA Card 7957                                34.45
09/05   Card Purchase         09/03 Amzn Mktp US*Tl12Z8M Amzn.Com/Bill WA Card 7957                                33.16   =
09/05   Card Purchase With Pin 09/04 Lowe's #1935 Sarasota FL Card 7957                                            14.65   =
09/05   Card Purchase         09/05 Www Costco Com 800-955-2292 WA Card 7957                                       60.00   ===
                                                                                                                           =====
09/06
09/06
        Card Purchase         09/05 Amzn Mktp US*Tl9M086 Amzn.Com/Bill WA Card 7957
        Recurring Card Purchase 09/05 Apple.Com/Bill 866-712-7753 CA Card 7957
                                                                                                                   63.10
                                                                                                                   18.99   =
09/07   Card Purchase         09/07 Amzn Mktp US*Tr5Yl24 Amzn.Com/Bill WA Card 7957                                50.27
09/07   Card Purchase         09/06 Amzn Mktp US*Tl20L87 Amzn.Com/Bill WA Card 7957                                83.46
09/07   Card Purchase         09/07 Amazon.Com*TrOS84Cj2 Amzn.Com/Bill WA Card 7957                                35.28
09/07   Card Purchase         09/07 Amzn Mktp US*TI0U74W Amzn.Com/Bill WA Card 7957                                30.98
09/07   Card Purchase         09/07 Sg *Air Flo Cleaning LI Gosq.Com FL Card 7957                                 456.00
09/11   Card Purchase         09/09 Amzn Mktp US*Tr7Uz60 Amzn.Com/Bill WA Card 7957                                 6.41
09/11   Card Purchase         09/09 Sq *Precision Lawn Serv Gosq. Com FL Card 7957                                100.00
09/11   Recurring Card Purchase 09/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                     10.69
09/11   Card Purchase         09/10 Wawa 5312 Sarasota FL Card 7957                                                45.47
09/12   Card Purchase         09/11 Amzn Mktp US*Tr1383Q Amzn.Com/Bill WA Card 7957                               149.79
09/12   Card Purchase         09/11 Amazon.Com*Tr8V00Zr1 Amzn.Com/Bill WA Card 7957                               226.66
09/12   Card Purchase         09/12 Amazon.Com*Tr7849Zy1 Amzn.Com/Bill WA Card 7957                                43.94
09/12   Card Purchase         09/12 Amzn Mktp US*Tr69S5S Amzn.Com/Bill WA Card 7957                                30.98
09/12   Card Purchase         09/12 Amzn Mktp US*Tr8Hz0Q Amzn.Com/Bill WA Card 7957                                13.47
09/12   Card Purchase         09/12 Amzn Mktp US*Tr6Vm9D Amzn.Com/Bill WA Card 7957                                49.99
09/12   Recurrin~ Card Purchase 09/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                              30.00
09/14   Card Purchase         09/14 Apple.Com/Bill 866-712-7753 CA Card 7957                                       13.30
09/14   Recurrin!:! Card Purchase 09/14 Apple.Com/Bill 866-712-7753 CA Card 7957                                    9.98
09/14   Card Purchase         09/14 Amzn Mktp US*Tr08B5V Amzn.Com/Bill WA Card 7957                                 6.41
09/15   Card Purchase         09/14 Amzn Mktp US*TX7Ng7L Amzn.Com/Bill WA Card 7957                                84.73
09/15   Card Purchase         09/15 Amzn Mktp US*TX3Mt4L Amzn.Com/Bill WA Card 7957                                32.09
09/15   Card Purchase         09/14 Amzn Mktp US*TX0Bk7N Amzn.Com/Bill WA Card 7957                                62.05
09/15   Card Purchase         09/15 Amzn Mktp US*TX6Vz9L Amzn.Com/Bill WA Card 7957                                27.81
09/15   Card Purchase         09/15 Amzn Mktp US*TX1 Ha03 Amzn. Com/Bill WA Card 7957                              26.95
09/15   Card Purchase         09/15 Amzn Mktp US*TX7Ha83 Amzn.Com/Bill WA Card 7957                                12.83
09/18   Card Purchase         09/15 Amazon.Com*TX8Q40372 Amzn.Com/Bill WA Card 7957                                 7.44
09/18   Recurring Card Purchase 09/16 Audible*TX6WY5Ef2 Amzn. Com/Bill NJ Card 7957                                14.95
09/18   Recurring Card Purchase 09/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                      4.27
09/18   Recurring Card Purchase 09/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                     35.04
09/18   Card Purchase         09/18 Amzn Mktp US*TX1 IL5C Amzn. Com/Bill WA Card 7957                              11.01
09/18   Card Purchase         09/17 Www.Dwr.Com 800-944-2233 CT Card 7957                                         521.04
09/20   Recurring Card Purchase 09/19 Covenant Health Produc 800-6276518 NC Card 7957                              44.71
09/21   Card Purchase         09/21 Amazon.Com*TX6Tt3Pv1 Amzn.Com/Bill WA Card 7957                                 8.44
09/25   Recurring Card Purchase 09/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                     12.20
09/25   Recurring Card Purchase 09/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                     13.31
09/25   Card Purchase         09/24 Amazon Kids+*TX7M509U 888-802-3080 WA Card 7957                                 4.99
09/26   Card Purchase         09/25 Five Guys FL 1940 Qs University Pk FL Card 7957                                20.22




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        CHASEO                                                        September 01, 2023 through September 29, 2023
                                                                        Account Number:                      2511



IATM & DEBIT CARD WITHDRAWALS! (continued)
DA TE    DESCRIPTION                                                                                              AMOUNT
09/28   Recurring Card Purchase 09/27 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                              80.50
09/28   Recurring Card Purchase 09/28 Apple. Com/Bill 866-712-7753 CA Card 7957                                    23.98
09/29   Card Purchase       09/28 Amazon.Com*T15LA7Xq1 Amzn.Com/Bill WA Card 7957                                 196.51
Total ATM & Debit Card Withdrawals                                                                          $2,929.62



I ATM & DEBIT CARD SUMMARY I
Michael A Wolf Card 7957
                       Total ATM Withdrawals & Debits                                                           $0.00
                       Total Card Purchases                                                                 $2,929.62
                       Total Card Deposits & Credits                                                            $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                        $0.00
                          Total Card Purchases                                                              $2,929.62
                          Total Card Deposits & Credits                                                         $0.00

!ELECTRONIC WITHDRAWALS!
 DATE    DESCRIPTION                                                                                              AMOUNT
09/01   Zelle Payment To Peter Wolf Jpm99A1Gzbn9                                                             $4,000.00
09/01   09/01 Online Transfer To Chk ... 7880 Transaction#: 18317580388                                       3,000.00
09/05   Orig CO Name:Unitedhealthcare         Orig ID:1836282001 Desc Date:    CO Entry                         197.41
        Descr:Premium Sec:Web Trace#:021000029164108 Eed:230905 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 2489164108Tc
09/05   Orig CO Name:Thebainbridge-10         Orig ID:9000326709 Desc Date:090523 CO Entry                    2,854.09
        Descr:Web Pmts Sec:Web Trace#:111924687902044 Eed:230905 Ind ID:Nlnlrd
        Ind Name:Peterwolf
        805-699-2040 Trn: 2487902044Tc
09/05   Orig CO Name:Pwp Smartstop S           Orig ID: 626060084 Desc Date:    CO Entry                          191.70
        Descr:Privacycomsec:Web Trace#:021115087540533 Eed:230905 Ind ID:TN: 3169724
        Ind Name:(844) 771-8229 Trn: 2487540533Tc
09/05   Orig CO Name:Pwp Google *Gsu           Orig ID: 626060084 Desc Date:    CO Entry                           36.00
        Descr:Privacycomsec:Web Trace#:021115087538981 Eed:230905 Ind ID:TN: 1678108
        Ind Name:(844) 771-8229 Trn: 2487538981 Tc
09/05   Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:    CO Entry                             30.00
        Descr: Privacycomsec:Web Trace#:021115087539021 Eed:230905 Ind ID:TN: 1588160
        Ind Name:(844) 771-8229 Trn: 2487539021Tc
09/05   Orig CO Name:Pwp Google *Gsu           Orig ID: 626060084 Desc Date:    CO Entry                           21.60
        Descr:Privacycomsec:Web Trace#:021115087538985 Eed:230905 Ind ID:TN: 6408093
        Ind Name:(844) 771-8229 Trn: 2487538985Tc
09/05   Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:     CO Entry                              4.99
        Descr:Privacycomsec:Web Trace#:021115087540183 Eed:230905 Ind ID:TN: 1438472
        Ind Name:(844) 771-8229 Trn: 2487540183Tc
09/05   Orig CO Name:Yardi Service Ch         Orig ID:9000278329 Desc Date:090523 CO Entry                          0.95
        Descr:Web Pmts Sec:Web Trace#:111924687907932 Eed:230905 Ind ID:6Lxgrd
        Ind Name:Peterwolf
        805-699-2040 Trn: 2487907932Tc
09/06   Orig CO Name:Wepay                 Orig ID:5551232356 Desc Date:230906 CO Entry                             9.95
        Descr:Payments Sec:PPD Trace#:021000028599609 Eed:230906 Ind ID:24971597
        Ind Name:Michael A Wolf            Nte*Zzz*Acct Recovery\ Trn: 2498599609Tc
09/07   Orig CO Name:Pwp Mmqb.lo              Orig ID: 626060084 Desc Date:    CO Entry                            19.95
        Descr:Privacycomsec:Web Trace#:021115085842094 Eed:230907 Ind ID:TN: 6623243
        Ind Name:(844) 771-8229 Trn: 2505842094Tc
09/08   09/08 Online Transfer To Chk ... 7880 Transaction#: 18385696712                                       2,000.00


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        CHASEO                                                               September 01, 2023 through September 29, 2023
                                                                              Account Number:                      2511



!ELECTRONIC WITHDRAWALSl_(c_on_tin_u_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                      AMOUNT
09/11   Orig CO Name:Pwp Niceboard.C         Orig ID: 626060084 Desc Date:     CO Entry                                  179.00
        Descr: Privacycomsec: Web Trace#:021115083074131 Eed:230911 Ind ID:TN: 1506042                                            =
                                                                                                                                  =
        Ind Name:(844) 771-8229 Trn: 2543074131Tc                                                                                 =
09/11   Orig CO Name:Pwp Adobe *Cre          Orig ID: 626060084 Desc Date:     CO Entry                                   39.99   --
        Descr: Privacycomsec: Web Trace#:021115083073856 Eed:230911 Ind ID:TN: 9817548
        Ind Name:{844) 771-8229 Trn: 2543073856Tc
                                                                                                                                  ===
09/12   Orig CO Name:Vw Credit, Inc.      Orig ID:1382362409 Desc Date:230912 CO Entry                                   247.10
                                                                                                                                  ====
                                                                                                                                  =
                                                                                                                                  =
        Descr:Auto Debitsec: Web Trace#:022000029914666 Eed:230912 Ind ID: 000008132333861
        Ind Name:Michael Wolf                                                                                                     ===
        65202309080000000011 Trn: 2559914666Tc                                                                                    -
                                                                                                                                  ====
09/12   Orig CO Name:Ally Cc            Orig ID:9000002835 Desc Date:      CO Entry                                      200.00   -
                                                                                                                                  =
        Descr:Onlinepymtsec:Web Trace#: 124384605287297 Eed:230912 Ind
        ID:232540355127568           Ind Name:Michael Wolf Trn: 2555287297Tc                                                      =
09/12   Orig CO Name:Pwp Squarespace          Orig ID: 626060084 Desc Date:     CO Entry                                   7.11
        Descr:Privacycomsec:Web Trace#:021115085181685 Eed:230912 Ind ID:TN: 1768940
        Ind Name:{844) 771-8229 Trn: 2555181685Tc
09/14   Orig CO Name:Peace River Elec       Orig ID:1590395398 Desc Date:      CO Entry                                  189.00
        Descr: Bank Draftsec: CCD Trace#:063104926565430 Eed:230914 Ind ID:0204133001
        Ind Name:Mmqb                                                                     Utility Bill
        Trn: 2576565430Tc
09/15   Orig CO Name:Comenity Pay OH          Orig ID:1651180275 Desc Date:091423 CO Entry                               250.00
        Descr:Web Pymt Sec:Web Trace#:242071751550776 Eed:230915 Ind
        ID:P23257238887871            Ind Name:Michael Wolf
        800-395-5714 Trn: 2581550776Tc
09/18   Orig CO Name:Pwp Chatgpt Sub          Orig ID: 626060084 Desc Date:     CO Entry                                  20.00
        Descr: Privacycomsec: Web Trace#:021115087122110 Eed:230918 Ind ID:TN: 9337781
        Ind Name:(844) 771-8229 Trn: 2617122110Tc
09/18   Orig CO Name:Pwp lnvoiceninj       Orig ID: 626060084 Desc Date:      CO Entry                                    10.00
        Descr: Privacycomsec: Web Trace#:021115087122066 Eed:230918 Ind ID:TN: 3597919
        Ind Name:(844) 771-8229 Trn: 2617122066Tc
09/18   Orig CO Name:Pwp Geico *Aut         Orig ID: 626060084 Desc Date:      CO Entry                                  307.63
        Descr:Privacycomsec:Web Trace#:021115088857552 Eed:230918 Ind ID:TN: 2959846
        Ind Name:(844) 771-8229 Trn: 2618857552Tc
09/19   Orig CO Name:Thd Loan Svcs          Orig ID:2274797123 Desc Date:230915 CO Entry                                 200.00
        Descr:Web Pay Sec:CCD Trace#:242071756285691 Eed:230919 Ind ID:Greensky
        Ind Name:Michael Wolf
        8669360602 Trn: 2626285691Tc
09/19   Orig CO Name:Pwp Moonbeam              Orig ID: 626060084 Desc Date:     CO Entry                                 18.00
        Descr:Privacycomsec:Web Trace#:021115086388229 Eed:230919 Ind ID:TN: 1630545
         Ind Name:(844) 771-8229 Trn: 2626388229Tc
09/20   Orig CO Name:Bmw Bank              Orig ID:0870631885 Desc Date:230919 CO Entry                                  817.50
         Descr:Bmwfs Pymtsec:PPD Trace#:021000029251172 Eed:230920 Ind ID:
         Ind Name:Michael Wolf1004495593 Trn: 2639251172Tc
09/20   Orig CO Name:Pwp Alivecor IN        Orig ID: 626060084 Desc Date:     CO Entry                                     9.99
         Descr:Privacycomsec:Web Trace#:021115087579497 Eed:230920 Ind ID:TN: 5188229
         Ind Name:(844) 771-8229 Trn: 2637579497Tc
09/21   Orig CO Name:Pwp Memberful.C          Orig ID: 626060084 Desc Date:     CO Entry                                 103.60
         Descr:Privacycomsec:Web Trace#:021115086447986 Eed:230921 Ind ID:TN: 1204428
         Ind Name:{844) 771-8229 Trn: 2646447986Tc
09/22   Orig CO Name:Pwp Visible          Orig ID: 626060084 Desc Date:      CO Entry                                     25.00
         Descr:Privacycomsec:Web Trace#:021115086367120 Eed:230922 Ind ID:TN: 1281025
         Ind Name:(844) 771-8229 Trn: 2656367120Tc
09/25   Orig CO Name:Pwp UPS*Billing        Orig ID: 626060084 Desc Date:      CO Entry                                   83.12
         Descr:Privacycomsec:Web Trace#:021115087353962 Eed:230925 Ind ID:TN: 1564048
         Ind Name:(844) 771-8229 Trn: 2687353962Tc
09/25    Orig CO Name:Pwp Notion Labs        Orig ID: 626060084 Desc Date:     CO Entry                                   80.00
         Descr:Privacycomsec:Web Trace#:021115087352923 Eed:230925 Ind ID:TN: 1833057
         Ind Name:{844) 771-8229 Trn: 2687352923Tc
09/25    Orig CO Name:Pwp UPS*Billing       Orig ID: 626060084 Desc Date:      CO Entry                                   11.93
         Descr:Privacycomsec:Web Trace#:021115087353961 Eed:230925 Ind ID:TN: 1451557
         Ind Name:(844) 771-8229 Trn: 2687353961Tc
                                                                                                           Page 5 of 8
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!ELECTRONIC WITHDRAWALSl_(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __
 DATE   DESCRIPTION                                                                                              AMOUNT
09/25   Orig CO Name:Pwp Extravm* Ex        Orig ID: 626060084 Deso Date:    CO Entry                              11.50
        Desor:Privaoyoomseo:Web Traoe#:021115087352263 Eed:230925 Ind ID:TN: 4672784
        Ind Name:(844) 771-8229 Trn: 2687352263To
09/25   Orig CO Name:Pwp Extravm* Ex        Orig ID: 626060084 Deso Date:    CO Entry                               5.00
        Desor:Privaoyoomseo:Web Traoe#:021115087352262 Eed:230925 Ind ID:TN: 3354987
        Ind Name:(844) 771-8229 Trn: 2687352262To
09/26   Orig CO Name:Pwp Adobe *Cre         Orig ID: 626060084 Deso Date:    CO Entry                              54.99
        Desor:Privaoyoomseo:Web Traoe#:021115085863312 Eed:230926 Ind ID:TN: 1624986
        Ind Name:(844) 771-8229 Trn: 2695863312To
09/28   Orig CO Name:Pwp Frontier CO       Orig ID: 626060084 Deso Date:    CO Entry                               99.99
        Desor:Privaoyoomseo:Web Traoe#:021115081670391 Eed:230928 Ind ID:TN: 1605934
        Ind Name:(844) 771-8229 Trn: 2711670391To
09/28   Orig CO Name:Pwp Openphone           Orig ID: 626060084 Deso Date:    CO Entry                             10.00
        Desor:Privaoyoomsec:Web Traoe#:021115081670311 Eed:230928 Ind ID:TN: 4624597
        Ind Name:(844) 771-8229 Trn: 271167031 Ho
09/29   Orig CO Name:Comenity Pay OH         Orig ID:1651180275 Deso Date:092823 CO Entry                         250.00
        Desor:Web Pymt Seo:Web Traoe#:242071750196895 Eed:230929 Ind
        ID:P23271242935028           Ind Name:Miohael Wolf
        800-395-5714 Trn: 2720196895To
09/29   Orig CO Name:Pwp Ebay 0*22-1         Orig ID: 626060084 Deso Date:   CO Entry                              37.10
        Desor:Privaoyoomseo:Web Traoe#:021115082256268 Eed:230929 Ind ID:TN: 3251167
        Ind Name:(844) 771-8229 Trn: 2722256268To
09/29   Orig CO Name:Pwp Proton           Orig ID: 626060084 Deso Date:    CO Entry                                12.99
        Desor:Privaoyoomseo:Web Traoe#:021115082256271 Eed:230929 Ind ID:TN: 9912735
        Ind Name:(844) 771-8229 Trn: 2722256271To
Total Electronic Withdrawals                                                                              $15,647.18


IDAILy ENDING BALANCE I
DATE                     AMOUNT         DATE                    AMOUNT              DATE                          AMOUNT
09/01                 $29,549.95       09/13                  22,417.74            09/22                         27,511.65
09/05                  26,003.83       09/14                  25,326.68            09/25                         27,289.60
09/06                  26,093.96       09/15                  24,830.22            09/26                         27,214.39
09/07                  25,418.02       09/18                  23,898.84            09/27                         29,129.33
09/08                  23,436.99       09/19                  23,680.84            09/28                         29,386.26
09/11                  23,055.43       09/20                  23,172.98            09/29                         29,968.69
09/12                  22,238.56       09/21                  23,060.94




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      .CHASEO                                                                                  September 01, 2023 through September 29, 2023
                                                                                                  Account Number:                         2511




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
you need more information about a transfer listed on the statement or receipt.

For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                                                                                                                                                            -=
appeared. Be prepared to give us the following information:                                                                                                  ====
        •
        •
              Your name and account number;
              A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
                                                                                                                                                            -
        •     The amount of the suspected error.                                                                                                            -
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                                                                                                                                                            =
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation.                                                                                                                           ====
                                                                                                                                                            =
For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
agreement or other applicable agreements that govern your account.

                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                  Page 7 of 8
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CHASEO                                                    September 01, 2023 through September 29, 2023
                                                              Account Number:                   2511




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        CHASEO                                                                  September 30, 2023 through October 31, 2023
       JPMorgan Chase Bank, N.A.
       PO Box 182051                                                            Account Number:                      2511
       Columbus, OH 43218 - 2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                             Web site:                       Chase.com
                                                                             Service Center:             1-800-242-7338
    00327362 DRE 021 210 30523 NNNNNNNNNNN 1 000000000 64 0000               Para Espanol:               1-888-622-4273
    MICHAEL WOLF                                                             International Calls:        1-713-262-1679
                                                                             We accept operator relay calls
     SARASOTA FL 34236-5125




ICHECKING SUMMARY ,_C_h_a_se_Bu_s_in_es_s_C_o_m_pl_et_e_C_he_c_ki_ng_ _ _ _ _ _ _ _ _ _ _ __
                                              INSTANCES                      AMOUNT
 Beginning Balance                                                       $29,968.69
 Deposits and Additions                              28                   13,205.53
 ATM & Debit Card Withdrawals                        54                   -2,855.03
 Electronic Withdrawals                              44                  -17,618.61
 Ending Balance                                     126                  $22,700.58


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete CheckingsM account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $21,829.85.
    •    $2,000 Chase Payment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


IDEPOSITS AND ADDITIONS I
DATE          DESCRIPTION                                                                                                 AMOUNT
10/03         Card Purchase Return 10/03 Amzn Mktp US Amzn.Com/Bill WA Card 7957                                          $83.46
10/04         Orig CO Name:Stripe          Orig ID: 1800948598 Desc Date:   CO Entry                                      771.72
              Descr:Transfer Sec:CCD Trace#: 091000014627399 Eed: 231004 Ind
              ID: St-T2A2C5C0l 3I5     Ind Name:Mmqb Trn: 2774627399Tc
10/04         Orig CO Name:Stripe          Orig ID:1800948598 Desc Date:    CO Entry                                      364.34
              Descr:Transfer Sec:CCD Trace#:091000014542714 Eed:231004 Ind
              ID:St-K9S6L3T4M7 A5         Ind Name:Michael Wolf Trn: 2774542714Tc
10/04         Orig CO Name:Stripe          Orig ID:1800948598 Desc Date:    CO Entry                                      290.03
              Descr:Transfer Sec:CCD Trace#:091000014630451 Eed:231004 Ind
              ID:St-L1H5J0Y9D3B7         Ind Name:Mmqb Trn: 2774630451Tc




                                                                                                            Page 1 of 8
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        CHASEO                                                           September 30, 2023 through October 31, 2023
                                                                          Account Number:                      2511



IDEPOSITS AND ADDITIONS (_co_nt_in_ue_d)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                        ,_j




DATE     DESCRIPTION                                                                                                AMOUNT
10/04    Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                  66.92
         Descr:Transfer Sec:CCD    Trace#: 111000020991019 Eed:231004 Ind
         ID:St-P3J1I1 A7H2U4          Ind Name:Mmqb Trn: 2770991019Tc
10/05    Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                            1,540.45
         Descr:Transfer Sec:CCD    Trace#:091000013703686 Eed:231005 Ind
         ID:St-D6Q9U8K4Y1 NS             Ind Name:Mmqb Trn: 2783703686Tc
10/05    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                                 580.06
         Descr:Transfer Sec:CCD    Trace#:091000013685685 Eed:231005 Ind
         ID:St-A0A0X9B2F8X8             Ind Name:Mmqb Trn: 2783685685Tc
10/05    Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                 364.34
         Descr:Transfer Sec:CCD    Trace#:091000013678304 Eed:231005 Ind
         ID:St-J8A6I1 E8A2W6           Ind Name:Michael Wolf Trn: 2783678304Tc
10/05    Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                  19.07
         Descr:Transfer Sec:CCD    Trace#: 111000020876651 Eed:231005 Ind
         ID:St-A7K7H2G8Z3I4            Ind Name:Mmqb Trn: 2780876651Tc
10/06    Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                                 189.94
         Descr:Transfer Sec:CCD    Trace#:091000018495374 Eed:231006 Ind
         ID:St-K0l4T4W3K7Q1             Ind Name:Mmqb Trn: 2798495374Tc
10/06    Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                                 182.17
         Descr:Transfer Sec:CCD    Trace#:091000018330457 Eed:231006 Ind
         ID: St-R6R7F0A0W9U 1             Ind Name:Michael Wolf Trn: 2798330457Tc
10/10    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                                 364.34
         Descr:Transfer Sec:CCD    Trace#:091000010931658 Eed:231010 Ind
         ID:St-F3A8R1 J3G5U7            Ind Name:Michael Wolf Trn: 2830931658Tc
10/11    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:    CO Entry                                  18.97
         Descr:Transfer Sec:CCD    Trace#:091000010510675 Eed:231011 Ind
         ID: St-F0Y3R0O7Q5W3               Ind Name:Michael Wolf Trn: 2840510675Tc
10/12    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:    CO Entry                                 546.51
         Descr:Transfer Sec:CCD    Trace#:091000016557221 Eed:231012 Ind
         ID:St-A5J6R7T4T0V5            Ind Name:Michael Wolf Trn: 2856557221Tc
10/12    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:   CO Entry                                 192.93
         Descr:Transfer Sec:CCD    Trace#:091000016587186 Eed:231012 Ind
         ID:St-C1 l6U6K9L0l8         Ind Name:Mmqb Trn: 2856587186Tc
10/13    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:    CO Entry                           1,151.60
         Descr:Transfer Sec:CCD    Trace#:091000011737796 Eed:231013 Ind
         ID:St-I4O2I1 C7P7I3        Ind Name:Mmqb Trn: 2861737796Tc
10/13    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:    CO Entry                                870.09
         Descr:Transfer Sec:CCD    Trace#:091000011691198 Eed:231013 Ind
         ID: St-W4L9R2F2A2F4             Ind Name:Mmqb Trn: 2861691198Tc
10/13    Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:     CO Entry                                745.18
         Descr:Transfer Sec:CCD    Trace#: 111000028591069 Eed:231013 Ind
         ID:St-A5F3W3X7Y0Q1               Ind Name:Mmqb Trn: 2868591069Tc
10/17    Deposit     5100037568                                                                                     1,866.68
10/18    Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                      809.77
         Descr:Transfer Sec:CCD    Trace#:091000010888115 Eed:231018 Ind
         ID: St-Z6A0S2J5M8H 1         Ind Name:Michael Wolf Trn: 2910888115Tc
10/18    Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                     189.94
         Descr:Transfer Sec:CCD    Trace#:091000011066227 Eed:231018 Ind
         ID: St-E 1T7P6M6U8F8         Ind Name:Mmqb Trn: 2911066227Tc
10/18    Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:    CO Entry                                      66.92
          Descr:Transfer Sec:CCD   Trace#: 111000028690655 Eed:231018 Ind
         ID:St-B2D5S3H1 Z1 Y2         Ind Name:Mmqb Trn: 2918690655Tc
10/20    Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:    CO Entry                                     575.80
          Descr:Transfer Sec:CCD   Trace#:091000010293129 Eed:231020 Ind
         ID: St-P0W3G9Q4G8E0            Ind Name:Mmqb Trn: 2930293129Tc
10/20    Orig CO Name:Stripe           Orig ID: 1800948598 Desc Date:   CO Entry                                     290.03
          Descr:Transfer Sec:CCD   Trace#:091000010548705 Eed:231020 Ind
         ID: St-E5W7Q0W3Z6T6            Ind Name:Mmqb Trn: 2930548705Tc



                                                                                                      Page 2 of 8
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            .CHASEO                                                          September 30, 2023 through October 31, 2023
                                                                              Account Number:                     2511



I   DEPOSITS AND ADDITIONS - I(_co_nt,_·nu_ed_~_ _ _ _ _ _ _ _ _ _ _ _ __
    DATE       DESCRIPTION                                                                                              AMOUNT
    10/24      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:    CO Entry                                578.79
               Descr:Transf er Sec: CCD   Trace#:091000012091718 Eed:231024 Ind                                                  =
                                                                                                                                 =
    10/25
               ID:St-E2P1 S7V5S7E5
               Orig CO Name:Stripe
               Descr:Transf er Sec: CCD
                                             Ind Name:Mmqb Trn: 2972091718Tc
                                              Orig ID:1800948598 Desc Date:
                                          Trace#:091000012071263 Eed:231025 Ind
                                                                                CO Entry                                182.17   ==
                                                                                                                                 -
               ID: St-D7M4E5W8W8K9             Ind Name:Michael Wolf Trn: 2982071263Tc
    10/27      Orig CO Name:Stripe            Orig ID:4270465600 Desc Date:     CO Entry                                124.13
                                                                                                                                 -
               Descr:Transfer Sec:CCD     Trace#:111000027944608 Eed:231027 Ind
               ID:St-Y4U9K4N2W5I1            Ind Name:Mmqb Trn: 3007944608Tc
    10/31      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:    CO Entry                                179.18
               Descr:Transfer Sec:CCD     Trace#:091000017567157 Eed:231031 Ind                                                  =
               ID: St-O7S2B2Z4B0l 1
    Total Deposits and Additions
                                            Ind Name:Michael Wolf Trn: 3047567157Tc
                                                                                                                 $13,205.53
                                                                                                                                 =
IATM & DEBIT CARD WITHDRAWALS!
    DATE     DESCRIPTION                                                                                                AMOUNT
    10/02    Card Purchase       09/29 Amzn Mktp US*T129418 Amzn.Com/Bill WA Card 7957                                  $22.46
    10/02    Card Purchase       09/30 Herman Miller 888-798-0202 CT Card 7957                                          252.26
    10/02    Card Purchase       09/30 Amazon.Com*T989395O2 Amzn.Com/Bill WA Card 7957                                   11.47
    10/02    Card Purchase       09/30 Amazon.Com*T92Sh5552 Amzn.Com/Bill WA Card 7957                                  161.89
    10/02    Card Purchase       09/30 Amazon.Com*T103828E1 Amzn.Com/Bill WA Card 7957                                   68.30
    10/02    Recurring Card Purchase 09/29 Tmobile*Auto Pal 800-937-8997 WA Card 7957                                   197.92
    10/02    Card Purchase       10/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                   10.00
    10/03    Card Purchase       10/03 Apple.Com/Bill 866-712-7753 CA Card 7957                                          17.19
    10/03    Card Purchase       10/03 Amzn Mktp US*T93I15W Amzn.Com/Bill WA Card 7957                                   26.75
    10/03    Card Purchase       10/03 Amazon.Com*T91R30C71 Amzn.Com/Bill WA Card 7957                                   26.99
    10/03    Card Purchase       10/03 Amzn Mktp US*T90Wz35 Amzn.Com/Bill WA Card 7957                                   21.39
    10/05    Card Purchase       10/04 Amzn Mktp US*T94Fj7O Amzn.Com/Bill WA Card 7957                                   21.25
    10/05    Recurring Card Purchase 10/05 Apple.Com/Bill 866-712-7753 CA Card 7957                                      18.99
    10/06    Card Purchase       10/05 Amzn Mktp US*T96Tq3G Amzn.Com/Bill WA Card 7957                                   99.61
    10/10    Card Purchase       10/06 Gap Outlet. Com 2679 844-4376654 OH Card 7957                                     84.53
    10/10    Card Purchase       10/07 Amzn Mkte US*Te61D7J Amzn.Com/Bill WA Card 7957                                   17.10
    10/10    Card Purchase       10/07 Amzn Mktp US*T917C9D Amzn. Com/Bill WA Card 7957                                  13.67
    10/10    Recurring Card Purchase 10/10 Apple.Com/Bill 866-712-7753 CA Card 7957                                      10.69
    10/10    Card Purchase       10/10 Amazon.Com*Te6Xq0Le1 Amzn.Com/Bill WA Card 7957                                   39.37
    10/10    Card Purchase       10/10 Amzn Mktp US*Te5829D Amzn.Com/Bill WA Card 7957                                   81.76
    10/10    Card Purchase       10/10 Amazon.Com*Te6O972N2 Amzn.Com/Bill WA Card 7957                                   82.29
    10/10    Card Purchase       10/10 Amzn Mktp US*Te09T44 Amzn.Com/Bill WA Card 7957                                    9.99
    10/10    Card Purchase       10/10 Amazon.Com*Te85174V1 Amzn.Com/Bill WA Card 7957                                   32.09
    10/11    Card Purchase       10/10 Sq *Precision Lawn Serv Gosq.Com FL Card 7957                                    100.00
    10/11    Card Purchase       10/11 Amazon.Com*Te0Jq0IV0 Amzn.Com/Bill WA Card 7957                                   19.24
    10/12    Recurrin9 Card Purchase 10/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                               30.00
    10/16    Recurring Card Purchase 10/14 Apple.Com/Bill 866-712-7753 CA Card 7957                                       9.98
    10/16    Card Purchase       10/14 Cee*Palmaireccsarasot Sarasota FL Card 7957                                       17.12
    10/16    Recurrin9 Card Purchase 10/15 Audible*Te9Ze2K00 Amzn.Com/Bill NJ Card 7957                                  14.95
    10/16    Card Purchase       10/16 Nespresso USA Inc Wilmington De Card 7957                                         40.00
    10/16    Card Purchase        10/16 Crate And Barrel 847-239-6065 IL Card 7957                                      124.10
    10/17    Recurring Card Purchase 10/17 Apple.Com/Bill 866-712-7753 CA Card 7957                                       4.27
    10/17    Recurring Card Purchase 10/17 Aeele.Com/Bill 866-712-7753 CA Card 7957                                      35.04
    10/17    Card Purchase       10/17 Amazon.Com*Te86T6Yk0 Amzn.Com/Bill WA Card 7957                                  106.99
    10/18    Card Purchase       10/18 Amzn Mktp US*Tp5Hs5V Amzn.Com/Bill WA Card 7957                                   16.69

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        CHASEO                                                          September 30, 2023 through October 31, 2023
                                                                        Account Number:                       2511



!ATM & DEBIT CARD WITHDRAWALS! (continued)
DATE    DESCRIPTION                                                                                                AMOUNT
10/19   Card Purchase With Pin 10/19 Publix Super Mar 11250 Bradenton FL Card 7957                                   5.69
10/20   Recurring Card Purchase 10/19 Covenant Health Produc 800-6276518 NC Card 7957                               45.59
10/23   Recurring Card Purchase 10/22 Apple.Com/Bill 866-712-7753 CA Card 7957                                      12.20
10/24   Recurring Card Purchase 10/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                      13.31
10/24   Card Purchase       10/24 Amazon Kids+*Pl1 P01 Eg 888-802-3080 WA Card 7957                                  4.99
10/25   Card Purchase       10/24 Hillview Family Dental Sarasota FL Card 7957                                     198.00
10/25   Card Purchase With Pin 10/25 Lowe's #1935 Sarasota FL Card 7957                                             84.87
10/26   Card Purchase       10/25 Amzn Mktp US*Cv3Wn97 Amzn.Com/Bill WA Card 7957                                   64.19
10/26   Card Purchase       10/26 Amazon.Com*699Ae1Z43 Amzn.Com/Bill WA Card 7957                                   27.27
10/27   Card Purchase       10/27 Amzn Mktp US*705565G Amzn.Com/Bill WA Card 7957                                   74.95
10/27   Card Purchase       10/27 Amzn Mktp US*4D9Yj6X Amzn.Com/Bill WA Card 7957                                   63.49
10/27   Card Purchase       10/27 Amzn Mktp US*Pm81 N3Q Amzn.Com/Bill WA Card 7957                                  27.81
10/30   Recurring Card Purchase 10/27 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                               80.50
10/30   Card Purchase       10/28 Amzn Mktp US*Yz3Si3X Amzn.Com/Bill WA Card 7957                                    9.62
10/30   Card Purchase       10/28 Amzn Mktp US*Pk9Ld72 Amzn.Com/Bill WA Card 7957                                   20.32
10/30   Card Purchase        10/28 Amzn Mktp US*0S6T16P Amzn.Com/Bill WA Card 7957                                  21.39
10/30   Card Purchase        10/28 Amzn Mktp US*419P345 Amzn.Com/Bill WA Card 7957                                  13.40
10/30   Recurring Card Purchase 10/28 Apple. Com/Bill 866-712-7753 CA Card 7957                                     33.18
10/30   Card Purchase With Pin 10/30 Tmobile Auto Pay Bellevue WA Card 7957                                        207.92
Total ATM & Debit Card Withdrawals                                                                            $2,855.03



1ATM & DEBIT CARD SUMMARY 1--------------
Michael A Wolf Card 7957
                          Total ATM Withdrawals & Debits                                                         $0.00
                          Total Card Purchases                                                               $2,855.03
                          Total Card Deposits & Credits                                                         $83.46
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                         $0.00
                          Total Card Purchases                                                               $2,855.03
                          Total Card Deposits & Credits                                                         $83.46

IELECTRONIC WITHDRAWALS!
 DATE    DESCRIPTION                                                                                               AMOUNT
10/02   Zelle Payment To Peter Wolf Jpm99A2Vxris                                                              $3,500.00
10/02   09/30 Online Transfer To Chk ... 7880 Transaction#: 18593678324                                        1,000.00
10/03   Orig CO Name:Pwp Google*Gsui          Orig ID: 626060084 Desc Date:    CO Entry                           36.00
        Descr:Privacycomsec:Web Trace#:021115085071490 Eed:231003 Ind ID:TN: 1839647
        Ind Name:(844) 771-8229 Trn: 2765071490Tc
10/03   Orig CO Name:Pwp Google*Gsui          Orig ID: 626060084 Desc Date:    CO Entry                             21.60
        Descr:Privacycomsec:Web Trace#:021115085071491 Eed:231003 Ind ID:TN: 5295648
        Ind Name:(844) 771-8229 Trn: 2765071491Tc
10/03   Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:    CO Entry                                4.99
        Descr:Privacycomsec:Web Trace#:021115085071391 Eed:231003 Ind I D:TN: 8837342
        Ind Name:(844) 771-8229 Trn: 2765071391Tc
10/03   Orig CO Name:Thebainbridge-10         Orig ID:9000326709 Desc Date:100323 CO Entry                     2,842.14
        Descr:Web Pmts Sec:Web Trace#:111924689850906 Eed:231003 Ind ID:R071Yd
        Ind Name:Peterwolf
        805-699-2040 Trn: 2769850906Tc




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       .CHASEO                                                                 September 30, 2023 through October 31, 2023
                                                                                Account Number:                      2511



!ELECTRONIC WITHDRAWALSl_(c_on_tin_u_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                       AMOUNT
10/03   Orig CO Name:Yardi Service Ch         Orig ID:9000278329 Desc Date:100323 CO Entry                                  0.95
        Descr:Web Pmts Sec:Web Trace#:111924689848694 Eed:231003 Ind ID:Xg40Yd
                                                                                                                                   =
                                                                                                                                   =
10/04
        Ind Name:Peterwolf
        805-699-2040 Trn: 2769848694Tc
        Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Deso Date:      CO Entry                                   30.00
                                                                                                                                   ==
                                                                                                                                   ====
                                                                                                                                   ====
        Descr:Privacycomsec:Web Trace#:021115084738415 Eed:231004 Ind ID:TN: 8830238
        Ind Name:(844) 771-8229 Trn: 2774738415Tc
                                                                                                                                   -
10/05   Orig CO Name:Fpl Direct Debit       Orig ID:3590247775 Deso Date:10/23 CO Entry                                   239.74   -=
        Descr:Elec Pymt Sec:Web Trace#:111000010856826 Eed:231005 Ind ID:4842986087 Webi
        Ind Name:Scott Wolf
        00000000000000000000Trn: 2780856826Tc
10/05   Orig CO Name:Barclaycard US           Orig ID:2510407970 Desc Date:      CO Entry                                 200.00
        Descr: Creditcardsec: Web Trace#: 026002573660529 Eed: 231 005 Ind ID: 1041119135
        Ind Name:Michael Wolf Trn: 2783660529Tc
10/05   Orig CO Name:Unitedhealthcare         Orig ID:1836282001 Deso Date:      CO Entry                                 197.41
        Descr:Premium Sec:Web Trace#:021000029251308 Eed:231005 Ind ID:3425550781
        Ind Name:Wolf            M Trn: 2789251308Tc
10/05   Orig CO Name:Pwp Sunpass*Acc            Orig ID: 626060084 Desc Date:      CO Entry                                10.00
        Descr:Privacycomsec:Web Trace#:021115083546977 Eed:231005 Ind ID:TN: 1096277
        Ind Name:(844) 771-8229 Trn: 2783546977Tc
10/06   Orig CO Name:Wepay                 Orig ID:5551232356 Desc Date:231006 CO Entry                                     9.95
        Descr:Payments Sec:PPD Trace#:021000027316710 Eed:231006 Ind ID:25464126
        Ind Name:Michael A Wolf            Nte*Zzz*Acct Recovery\ Trn: 2797316710Tc
10/10   Orig CO Name:Pwp Niceboard.C           Orig ID: 626060084 Desc Date:      CO Entry                                179.00
        Descr:Privacycomsec:Web Trace#:021115081794819 Eed:231010 Ind ID:TN: 7338667
        Ind Name:(844) 771-8229 Trn: 2831794819Tc
10/10   Orig CO Name: Pwp Adobe *Cre           Orig ID: 626060084 Desc Date:      CO Entry                                 39.99
        Descr:Privacycomsec:Web Trace#:021115081793860 Eed:231010 Ind ID:TN: 1015030
        Ind Name:(844) 771-8229 Trn: 2831793860Tc
10/10   Orig CO Name:Pwp Mmqb.lo              Orig ID: 626060084 Desc Date:      CO Entry                                  19.95
        Descr:Privacycomsec:Web Trace#:021115081795394 Eed:231010 Ind ID:TN: 4552070
        Ind Name:(844) 771-8229 Trn: 2831795394Tc
10/10   10/10 Online Transfer To Chk ... 7880 Transaction#: 18683087782                                               2,000.00
10/12   Orig CO Name:Vw Credit, Inc.        Orig ID:1382362409 Desc Date:231012 CO Entry                                247.10
        Descr:Auto Debitsec:Web Trace#:022000022325123 Eed:231012 Ind ID:000008132333861
        Ind Name:Michael Wolf
        65202310100000000009Trn: 2852325123Tc
10/12   Orig CO Name:Peace River Elec         Orig ID:1590395398 Desc Date:       CO Entry                                175.00
        Descr:Bank Draftsec:CCD Trace#:063104926762495 Eed:231012 Ind ID:0204133001
        Ind Name:Mmqb                                                                       Utility Bill
        Trn: 2856762495Tc
10/16   Orig CO Name:Barclaycard US           Orig ID:2510407970 Desc Date:      CO Entry                                 125.00
        Descr:Creditcardsec:Web Trace#:026002575493305 Eed:231016 Ind ID: 1052377760
        Ind Name:Michael Wolf Trn: 2895493305Tc
10/16   Orig CO Name:Pwp Chatgpt Sub            Orig ID: 626060084 Deso Date:     CO Entry                                 20.00
        Descr:Privacycomsec:Web Trace#:021115085216608 Eed:231016 Ind ID:TN: 4091346
        Ind Name:(844) 771-8229 Trn: 2895216608Tc
10/17   Orig CO Name:Thd Loan Svcs            Orig ID:2274797123 Desc Date:231015 CO Entry                                200.00
        Descr:Web Pay Sec:CCD Trace#:242071751709222 Eed:231017 Ind ID:Greensky
        Ind Name:Michael Wolf
        8669360602 Trn: 2901709222Tc
10/17   Orig CO Name:Ally Cc              Orig ID:9000002835 Desc Date:       CO Entry Descr:Mobile                       150.00
        Pymsec:Web Trace#:124384602134504 Eed:231017 Ind ID:232890360763465                         Ind
        Name:Michael Wolf Trn: 2902134504Tc
10/17   Orig CO Name:Pwp lnvoiceninj         Orig ID: 626060084 Desc Date:      CO Entry                                   10.00
        Descr:Privacycomsec:Web Trace#:021115081933426 Eed:231017 Ind ID:TN: 1011545
        Ind Name:(844) 771-8229 Trn: 2901933426Tc
10/17   Orig CO Name:Pwp Intuit *Tur        Orig ID: 626060084 Desc Date:      CO Entry                                   288.00
        Descr:Privacycomsec:Web Trace#:021115087194214 Eed:231017 Ind ID:TN: 1832736
        Ind Name:(844) 771-8229 Trn: 2907194214Tc

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       CHASEO                                                                September 30, 2023 through October 31, 2023
                                                                              Account Number:                      2511



!ELECTRONIC WITHDRAWALSj_(c_on_tin_u_ed_;- - - - - - - - - - - - -
DATE    DESCRIPTION                                                                                                     AMOUNT
10/18   Orig CO Name:Pwp Geico *Aut           Orig ID: 626060084 Desc Date:       CO Entry                              229.23
        Descr:Privacycomsec:Web Trace#:021115085345049 Eed:231018 Ind ID:TN: 1198225
        Ind Name:(844) 771-8229 Trn: 2915345049Tc
10/18   Orig CO Name:Pwp Questhealth           Orig ID: 626060084 Desc Date:       CO Entry                             222.00
        Descr:Privacycomsec:Web Trace#:021115085345055 Eed:231018 Ind ID:TN: 1118655
        Ind Name:(844) 771-8229 Trn: 2915345055Tc
10/19   Orig CO Name:Home Depot               Orig ID:Citictp Desc Date:231018 CO Entry                                  29.00
        Descr:Online Pmtsec:Web Trace#:091409680224329 Eed:231019 Ind
        ID:621199616862044            Ind Name:Michael Wolf Trn: 2920224329Tc
10/19   Orig CO Name:Pwp Moonbeam                Orig ID: 626060084 Desc Date:      CO Entry                             18.00
        Descr: Privacycomsec:Web Trace#:021115080155323 Eed:231019 Ind ID:TN: 1606867
        Ind Name:(844) 771-8229 Trn: 2920155323Tc
10/20   Orig CO Name:Bmw Bank                Orig ID:0870631885 Desc Date:231019 CO Entry                               817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000020810637 Eed:231020 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 2930810637Tc
10/20   Orig CO Name:Pwp Alivecor IN          Orig ID: 626060084 Desc Date:       CO Entry                                9.99
        Descr:Privacycomsec:Web Trace#:021115080416780 Eed:231020 Ind ID:TN: 1214759
        Ind Name:(844) 771-8229 Trn: 2930416780Tc
10/20   Orig CO Name:Pwp Memberful.C            Orig ID: 626060084 Desc Date:       CO Entry                            103.60
        Descr:Privacycomsec:Web Trace#:021115083520571 Eed:231020 Ind ID:TN: 1179582
        Ind Name:(844) 771-8229 Trn: 2933520571Tc
10/23   Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:       CO Entry Descr:Transfer                   314.00
        Sec:CCD Trace#:091000011731482 Eed:231023 Ind ID:St-K9U3C1M3B8R9                        Ind
        Name:Mmqb Trn: 2961731482Tc
10/23   Orig CO Name:Home Depot               Orig ID:Citiautfdr Desc Date:231022 CO Entry Descr:Auto                    29.00
        Pymt Sec:Web Trace#:122402152120956 Eed:231023 Ind ID:711199617336761
        Ind Name:Michael Wolf Trn: 2962120956Tc
10/23   Orig CO Name:Pwp Visible            Orig ID: 626060084 Desc Date:       CO Entry                                 25.00
        Descr: Privacycomsec:Web Trace#:021115082120256 Eed:231023 Ind ID:TN: 1724299
        Ind Name:(844) 771-8229 Trn: 2962120256Tc
10/24   Orig CO Name:Pwp Extravm* Ex            Orig ID: 626060084 Desc Date:       CO Entry                             11.50
        Descr:Privacycomsec:Web Trace#:021115081672247 Eed:231024 Ind ID:TN: 2461124
        Ind Name:(844) 771-8229 Trn: 2971672247Tc
10/25   Orig CO Name:Pwp Notion Labs            Orig ID: 626060084 Desc Date:      CO Entry                              80.00
        Descr:Privacycomsec:Web Trace#:021115082273297 Eed:231025 Ind ID:TN: 5559436
        Ind Name: (844) 771-8229 Trn: 2982273297Tc
10/25   Orig CO Name:Pwp Extravm* Ex            Orig ID: 626060084 Desc Date:       CO Entry                              5.00
        Descr:Privacycomsec:Web Trace#:021115082272977 Eed:231025 Ind ID:TN: 1260062
         Ind Name:(844) 771-8229 Trn: 2982272977Tc
10/26   Orig CO Name:Pwp Adobe Inc.            Orig ID: 626060084 Desc Date:       CO Entry                              54.99
         Descr:Privacycomsec:Web Trace#:021115080036801 Eed:231026 Ind ID:TN: 6370886
         Ind Name:(844) 771-8229 Trn: 2990036801Tc
10/30   Orig CO Name:Pwp Frontier CO           Orig ID: 626060084 Desc Date:       CO Entry                              99.99
         Descr:Privacycomsec:Web Trace#:021115085176771 Eed:231030 Ind ID:TN: 1081324
         Ind Name:(844) 771-8229 Trn: 3035176771Tc
10/30   Orig CO Name:Pwp Proton              Orig ID: 626060084 Desc Date:       CO Entry                                12.99
         Descr: Privacycomsec: Web Trace#:021115085176377 Eed:231030 Ind I D:TN: 1368959
         Ind Name:(844) 771-8229 Trn: 3035176377Tc
10/30   Orig CO Name:Pwp Openphone               Orig ID: 626060084 Desc Date:      CO Entry                             10.00
         Descr:Privacycomsec:Web Trace#:021115085176159 Eed:231030 Ind ID:TN: 1737106
         Ind Name:(844) 771-8229 Trn: 3035176159Tc
10/31    Zelle Payment To Peter Wolf Jpm99A4Bwjvm                                                                   3,000.00
10/31    10/31 Online Transfer To Chk ... 7880 Transaction#: 18869430814                                            1,000.00
Total Electronic Withdrawals                                                                                     $17,618.61




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           CHASEO                                                                                    September 30, 2023 through October 31, 2023
                                                                                                     Account Number:                           2511




I   DAILy ENDING BALANCE I
    DATE                           AMOUNT                 DATE                            AMOUNT                  DATE                              AMOUNT
10/02                          $24,744.39                10/12                          23,312.92                10/23                          26,855.99
                                                                                                                                                                =
                                                                                                                                                                =
10/03                           21,829.85                10/13                          26,079.79                10/24                          27,404.98       =
10/04                           23,292.86                10/16                          25,728.64                10/25                          27,219.28       =
                                                                                                                                                                =
10/05                           25,109.39                10/17                          26,801.02                10/26                          27,072.83       =
10/06                           25,371.94                                               27,399.73                10/27                          27,030.71
                                                                                                                                                                =
                                                         10/18                                                                                                  -
10/10                           23,125.85                10/19                          27,347.04                10/30                          26,521.40
10/11                           23,025.58                10/20                          27,236.19                10/31                          22,700.58       =
                                                                                                                                                                ====
    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

    Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
    you need more information about a transfer listed on the statement or receipt.

    For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
    appeared. Be prepared to give us the following information:

            •     Your name and account number;
            •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
            •     The amount of the suspected error.
    We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
    accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
    us to complete our investigation.
    For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
    IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
    incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
    agreement or other applicable agreements that govern your account.

                                                                                                            JPMorgan Chase Bank, N.A. Member FDIC




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CHASEO                                                        September 30, 2023 through October 31, 2023
                                                              Account Number:                      2511




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        CHASEO                                                                 November 01, 2023 through November 30, 2023
       JPMorgan Chase Bank, N.A.
       PO Box 182051                                                             Account Number:                    2511
       Columbus, OH 43218-2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                             Web site:                       Chase.com
                                                                             Service Center:             1-800-242-7338
    00336090 DRE 021 21 O 33523 NNNNNNNNNNN 1 000000000 64 0000              Para Espanol:               1-888-622-4273
    MICHAEL WOLF                                                             International Calls:        1-713-262-1679            =
                                                                             We accept operator relay calls
     SARASOTA FL 34236-5125
                                                                                                                                   ==
                                                                                                                                   ==
                                                                                                                                   ===
                                                                                                                                   -


ICHECKING SUMMARY I_c_h_a_se_Bu_s_in_es_s_c_o_m_pl_et_e_C_he_c_ki_ng_ _ _ _ _ _ _ _ _ _ _ __
                                              INSTANCES                      AMOUNT
 Beginning Balance                                                       $22,700.58
 Deposits and Additions                               25                  19,100.42
 ATM & Debit Card Withdrawals                         79                   -4,492.74
 Electronic Withdrawals                               43                  -13,430.58
 Ending Balance                                      147                 $23,877.68


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete CheckingsM account in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $18,735.59.
    •    $2,000 Chase Payment Solutions8MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink® Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


IDEPOSITS AND ADDITIONS I
DATE          DESCRIPTION                                                                                                AMOUNT
11/01         Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date: CO Entry                                   $964.65
              Descr:Transfer Sec:CCD      Trace#:091000016125059 Eed:231101 Ind
              ID:St-E9V2A0K5F3P3             Ind Name:Mmqb Trn: 3056125059Tc
11/01         Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date: CO Entry                                    575.57
              Descr:Transfer Sec:CCD      Trace#:091000016108073 Eed:231101 Ind
              ID:St-S6W6P4Z1 B8N0             Ind Name:Mmgb Trn: 3056108073Tc
11/01         Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:  CO Entry                                    296.06
              Descr:Transfer Sec:CCD      Trace#: 111000022600633 Eed:231101 Ind
              ID:St-I2A5L1 M1A6X7           Ind Name:Mmqb Trn: 3052600633Tc
11/03         Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date: CO Entry                                    771.72
              Descr:Transfer Sec:CCD      Trace#:091000012607396 Eed:231103 Ind
              ID:St-W2E4C6W1 H7Z8              Ind Name:Mmgb Trn: 3072607396Tc



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        CHASEO                                                      November 01, 2023 through November 30, 2023
                                                                     Account Number:                     2511



IDEPOSITS AND ADDITIONS! (_co_nt_in_ue_d)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                      t-


DATE     DESCRIPTION                                                                                          AMOUNT
11/03    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                        580.06
         Descr:Transfer Sec:CCD Trace#:091000012605552 Eed:231103 Ind
         ID:St-Y1 R5X1 D3X8P1           Ind Name:Mmqb Trn: 3072605552Tc
11/03    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                        182.17
         Descr:Transfer Sec:CCD Trace#:091000012610867 Eed:231103 Ind
         ID: St-P9E4U0A5N7K4            Ind Name:Michael Wolf Trn: 3072610867Tc
11/03    Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:      CO Entry                         66.92
         Descr:Transfer Sec:CCD Trace#:111000027812798 Eed:231103 Ind
         ID:St-16P1 X2A1W3C8            Ind Name:Mmqb Trn: 3077812798Tc
11/08    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:     CO Entry                    2,893.95
         Descr:Transfer Sec:CCD Trace#:091000013737297 Eed:231108 Ind
         ID:St-T2K2T7T3N4M7             Ind Name:Mmqb Trn: 3123737297Tc
11/08    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                    1,735.69
         Descr:Transfer Sec:CCD Trace#:091000013762832 Eed:231108 Ind
         ID: St-H4 W8H4K9A2T3             Ind Name:Mmqb Trn: 3123762832Tc
11/08    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:     CO Entry                        201.14
         Descr:Transfer Sec:CCD Trace#:091000013771944 Eed:231108 Ind
         ID:St-M4Z0F5R2O2G7               Ind Name:Michael Wolf Trn: 3123771944Tc
11/08    Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:      CO Entry                         57.56
         Descr:Transfer Sec:CCD Trace#: 111000022508726 Eed:231108 Ind
         ID:St-F1 K4U5V8U2X0            Ind Name:Mmqb Trn: 3122508726Tc
11/13    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                        364.34
         Descr:Transfer Sec:CCD Trace#:091000014449159 Eed:231113 Ind
         ID:St-B4D4K619X5O6            Ind Name:Michael Wolf Trn: 3174449159Tc
11/13    Orig CO Name:Pwp Ring Yearly           Orig ID: 626060084 Desc Date:    CO Entry                      23.34
         Descr: Privacycomsec: Web Trace#:021115084347193 Eed:231113 Ind ID:TN: 1180810
         Ind Name: (844) 771-8229 Trn: 317 4347193Tc
11/17    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                        627.60
         Descr:Transfer Sec:CCD Trace#:091000014832091 Eed:231117 Ind
         ID:St-E9H6Q1 D2J4L6            Ind Name:Michael Wolf Trn: 3214832091Tc
11/17    Orig CO Name:Stripe               Orig ID:4270465600 Desc Date:      CO Entry                        420.59
         Descr:Transfer Sec:CCD Trace#: 111000021730272 Eed: 231117 Ind
         ID:St-U0T8F2L7F7O4             Ind Name:Mmqb Trn: 3211730272Tc
11/17    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                        290.03
         Descr:Transfer Sec:CCD Trace#:091000014731944 Eed:231117 Ind
         !D:St-l0M4F4H8T7M3             Ind Name:Mmqb Trn: 3214731944Tc
11/22    Orig CO Name:Stripe               Orig ID:1800948598 Desc Date:      CO Entry                    2,801.10
         Descr:Transfer Sec:CCD Trace#:091000011402845 Eed:231122 Ind
         ID:St-S7C8Z3C6K313            Ind Name:Michael Wolf Trn: 3261402845Tc
11/24    Orig CO Name:Stripe               Orig ID: 1800948598 Desc Date:     CO Entry                    2,116.25
         Descr:Transfer Sec:CCD Trace#:091000014764956 Eed:231124 Ind
          ID: St-I 916A7K4X7S4       Ind Name:Mmqb Trn: 3284764956Tc
11/24     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                    1,445.66
          Descr:Transfer Sec:CCD Trace#:091000014763054 Eed:231124 Ind
          ID:St-H5F2J4S9W7T3             Ind Name:Mmqb Trn: 3284763054Tc
11/24     Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:      CO Entry                        343.66
          Descr:Transfer Sec:CCD Trace#: 111000024671596 Eed:231124 Ind
          ID: St-P4H0H9K4N6M9             Ind Name:Mmgb Trn: 3284671596Tc
11/27     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                        768.73
          Descr:Transfer Sec:CCD Trace#:091000016536817 Eed:231127 Ind
          ID: St-C7D9W6U9Q2F0              Ind Name:Mmqb Trn: 3316536817Tc
11/27     Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:     CO Entry                        285.54
          Descr:Transfer Sec:CCD Trace#:091000016568595 Eed:231127 Ind
          ID:St-Y3K9H519R3K3           Ind Name:Mmqb Trn: 3316568595Tc




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            CHASEO                                                          November 01, 2023 through November 30, 2023
                                                                             Account Number:                      2511



J   DEPOSITS AND ADDITIONS                      (_co_nt_inu_ed_~ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             1--J




    DATE       DESCRIPTION                                                                                             AMOUNT
    11/27      Orig CO Name:Stripe           Orig ID:1800948598 Desc Date:     CO Entry                                182.17
               Descr:Transfer Sec:CCD   Trace#:091000016562292 Eed:231127 Ind                                                    =
                                                                                                                                 =
    11/29
               ID:St-O4H7G0A6X0O2
               Orig CO Name:Stripe
               Descr:Transfer Sec:CCD
                                             Ind Name:Michael Wolf Trn: 3316562292Tc
                                             Orig ID:1800948598 Desc Date:
                                        Trace#:091000012082919 Eed:231129 Ind
                                                                               CO Entry                                771.72    ==
                                                                                                                                 ===
                                                                                                                                 -
               ID:St-Z7K7T8M0V3C6           Ind Name:Mmqb Trn: 3332082919Tc
    11/29      Orig CO Name:Stripe           Orig ID:4270465600 Desc Date:     CO Entry                                334.20    -
               Descr:Transfer Sec:CCD
               ID: St-O9F4D9X9J6E7
                                        Trace#:111000029012892 Eed:231129 Ind
                                           Ind Name:Mmgb Trn: 3339012892Tc                                                       -
    Total Deposits and Additions                                                                                $19,100.42


!ATM & DEBIT CARD WITHDRAWALS!
    DATE     DESCRIPTION                                                                                               AMOUNT
    11/02   Card Purchase       11/01 Ralph Lauren Corporati 888-4757674 NY Card 7957                                  $117.70
    11/02   Card Purchase       11/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                    10.00
    11/03   Card Purchase       11/02 Amzn Mktp US*Nf2815F Amzn.Com/Bill WA Card 7957                                    59.91
    11/03   Card Purchase       11/03 Amazon.Com*NA4W18393 Amzn.Com/Bill WA Card 7957                                   191.10
    11/03   Card Purchase       11 /02 Wyndham 407-6172645 FL Card 7957                                                 258.51
    11/03   Card Purchase       11/03 Amzn Mktp US*L108U6A Amzn.Com/Bill WA Card 7957                                    10.26
    11/03   Card Purchase       11/03 Amzn Mktp US*8790U0Z Amzn.Com/Bill WA Card 7957                                    43.83
    11/03   Card Purchase       11/03 Sp Koruser-US Httpsus.Korus FL Card 7957                                          115.56
    11/06   Card Purchase       11/03 Amzn Mktp US*8K7NV6W Amzn.Com/Bill WA Card 7957                                    57.76
    11/06   Card Purchase       11/03 Amzn Mktp US*8C5Ou3F Amzn.Com/Bill WA Card 7957                                    24.60
    11/06   Card Purchase       11/03 Amzn Mktp US*F50Xf01 Amzn.Com/Bill WA Card 7957                                     7.45
    11/06   Card Purchase       11/04 Amzn Mktp US*0J2H66L Amzn.Com/Bill WA Card 7957                                    49.21
    11/06   Card Purchase       11/04 Amzn Mktp US*Hj86U4U Amzn.Com/Bill WA Card 7957                                     9.62
    11/06   Card Purchase       11/04 Amzn Mktp US*4507G4U Amzn.Com/Bill WA Card 7957                                     7.36
    11/07   Card Purchase       11/07 Amzn Mktp US*WA96A46 Amzn.Com/Bill WA Card 7957                                     9.62
    11/07   Card Purchase       11/07 Amzn Mktp US*H57425G Amzn.Com/Bill WA Card 7957                                    41.24
    11/07   Card Purchase       11/07 Amzn Mktp US*Y869T3Y Amzn.Com/Bill WA Card 7957                                    21.39
    11/07   Card Purchase       11/07 Amazon.Com*Bm4Gd0Gw3 Amzn.Com/Bill WA Card 7957                                   191.54
    11/07   Card Purchase       11/07 Amzn Mktp US*Dn3TX81 Amzn.Com/Bill WA Card 7957                                    24.06
    11/08   Card Purchase       11/07 Amzn Mktp US*L65Fp6J Amzn.Com/Bill WA Card 7957                                    42.79
    11/08   Card Purchase       11/08 Amzn Mktp US*072Ha9D Amzn.Com/Bill WA Card 7957                                    51.79
    11/08   Card Purchase       11/07 Amazon.Com*Ya1 Do0Cf3 Amzn.Com/Bill WA Card 7957                                   26.99
    11/08   Card Purchase       11/08 Sq *Precision Lawn Serv Gosq.Com FL Card 7957                                     100.00
    11/08   Card Purchase With Pin 11 /08 Wholefds Ute #10 5298 Sarasota FL Card 7957                                    55.51
    11/09   Card Purchase       11/08 Amzn Mktp US*Xq48N4K Amzn.Com/Bill WA Card 7957                                     7.05
    11/09   Card Purchase       11/09 Amazon.Com*DC4Cp4T43 Amzn.Com/Bill WA Card 7957                                    62.05
    11/09   Card Purchase       11 /08 Amzn Mktp US*Y67Jh2Y Amzn. Com/Bill WA Card 7957                                  10.69
    11/10   Card Purchase       11/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                           25.64
    11/10   Recurring Card Purchase 11/09 Apple.Com/Bill 866-712-7753 CA Card 7957                                       10.69
    11/13   Card Purchase       11/11 Amazon.Com*Vp01 M37A3 Amzn.Com/Bill WA Card 7957                                   31.18
    11/13   Card Purchase       11/11 Amazon.Com*J84Vq8G03 Amzn.Com/Bill WA Card 7957                                    30.38
    11/13   Card Purchase       11/11 Amazon.Com*V99748Lu3 Amzn.Com/Bill WA Card 7957                                     5.70
    11/13   Card Purchase       11/11 Amzn Mktp US*E948N3K Amzn.Com/Bill WA Card 7957                                    10.69
    11/13   Recurring Card Purchase 11 /12 Apple. Com/Bill 866-712-7753 CA Card 7957                                    106.99
    11/13   Recurring Card Purchase 11/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                                30.00
    11/14   Card Purchase       11/14 Amzn Mktp US*Lq7Qu2P Amzn.Com/Bill WA Card 7957                                    13.89
    11/14   Card Purchase With Pin 11/14 The Home Depot #6319 Bradenton FL Card 7957                                     70.78
    11/15   Card Purchase       11/14 Amzn Mktp US*l92Z63J Amzn.Com/Bill WA Card 7957                                    21.39

                                                                                                         Page 3 of 8
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       CHASEO                                                          November 01, 2023 through November 30, 2023
                                                                        Account Number:                      2511



IATM & DEBIT CARD WITHDRAWALS! (continued)
DATE     DESCRIPTION                                                                                              AMOUNT
11/16    Card Purchase       11 /16 Amzn Mktp US*S93858E Amzn. Com/Bill WA Card 7957                               17.07
11/16    Card Purchase       11/15 Amzn Mktp US*Tp9Vv6P Amzn.Com/Bill WA Card 7957                                 11.76
11 /16   Card Purchase       11/16 Amzn Mktp US*5A4S18G Amzn.Com/Bill WA Card 7957                                 64.17
11/16    Recurring Card Purchase 11/15 Audible*VA8So5Z03 Amzn.Com/Bill NJ Card 7957                                14.95
11/16    Card Purchase With Pin 11/16 The Home Depot #6319 Bradenton FL Card 7957                                 142.29
11/17    Recurring Card Purchase 11 /17 Apple. Com/Bill 866-712-7753 CA Card 7957                                   9.98
11/17    Card Purchase       11/16 Amazon.Com*MT2Nu9Y23 Amzn.Com/Bill WA Card 7957                                 15.19
11 /17   Card Purchase       11/17 Amzn Mktp US*Uj12O33 Amzn.Com/Bill WA Card 7957                                 35.29
11/17    Card Purchase       11/16 Amzn Mktp US*8Q7T58S Amzn.Com/Bill WA Card 7957                                 10.69
11/17    Card Purchase        11/17 Amzn Mktp US*Zz9B19K Amzn.Com/Bill WA Card 7957                                17.11
11/17    Card Purchase        11/17 Amzn Mktp US*817Yi59 Amzn.Com/Bill WA Card 7957                                20.32
11/17    Card Purchase       11/17 Amzn Mktp US*Qx3213Z Amzn.Com/Bill WA Card 7957                                374.49
11/17    Card Purchase        11/17 Amazon.Com*Ui60X10H3 Amzn.Com/Bill WA Card 7957                               116.81
11/20    Recurring Card Purchase 11/18 Apple.Com/Bill 866-712-7753 CA Card 7957                                     4.27
11/20    Recurring Card Purchase 11 /18 Apple. Com/Bill 866-712-7753 CA Card 7957                                  34.95
11/20    Recurring Card Purchase 11/18 Covenant Health Produc 800-6276518 NC Card 7957                             45.59
11/20    Card Purchase        11/19 Amzn Mktp US*490ND9T Amzn.Com/Bill WA Card 7957                                18.17
11/20    Card Purchase        11/19 Amzn Mktp US*S22Gd3I Amzn.Com/Bill WA Card 7957                                16.04
11/20    Card Purchase        11 /19 Amzn Mktp US*803S67 A Amzn. Com/Bill WA Card 7957                             32.09
11/20    Card Purchase With Pin 11/20 Lowe's #1935 Sarasota FL Card 7957                                           44.13
11/21    Card Purchase        11/21 Amazon.Com*Hq06T3983 Amzn.Com/Bill WA Card 7957                                29.76
11/21    Card Purchase        11/21 Amzn Mktp US*lt04R15 Amzn.Com/Bill WA Card 7957                                 9.14
11/21    Card Purchase        11/21 Amzn Mktp US*S01 Vl71 Amzn.Com/Bill WA Card 7957                                4.86
11/21    Card Purchase        11/21 Amzn Mktp US*393Hn03 Amzn.Com/Bill WA Card 7957                                 7.48
11/21    Card Purchase With Pin 11/21 Costco Whse #1364 Bradenton FL Card 7957                                    247.23
11/22    Card Purchase        11/22 Amzn Mktp US*Vd2Hh0C Amzn.Com/Bill WA Card 7957                                34.45
11/22    Card Purchase        11/22 Amazon.Com*Vj5Qr90P3 Amzn.Com/Bill WA Card 7957                                60.99
11/22    Card Purchase        11/22 Amazon.Com*0T0Mw7Pj3 Amzn.Com/Bill WA Card 7957                               559.06
11/22    Recurring Card Purchase 11/21 Apple.Com/Bill 866-712-7753 CA Card 7957                                    12.20
11/24    Card Purchase        11/24 Amzn Mktp US*0S3K75R Amzn.Com/Bill WA Card 7957                                43.43
11/24    Recurring Card Purchase 11/23 Apple. Com/Bill 866-712-7753 CA Card 7957                                   13.31
11/24    Card Purchase        11/24 Amazon Kids+*3J6Rs938 888-802-3080 WA Card 7957                                 4.99
11/27    Card Purchase        11/27 Amzn Mktp US*703Rg0M Amzn.Com/Bill WA Card 7957                                18.18
11/28    Card Purchase        11/27 Ralph Lauren Corporati 888-4757674 NY Card 7957                                70.62
11/28    Card Purchase        11/28 Amzn Mktp US*Ye7Fq8T Amzn.Com/Bill WA Card 7957                                64.19
11/28    Recurring Card Purchase 11/28 Apple.Com/Bill 866-712-7753 CA Card 7957                                    15.99
11/28    Recurring Card Purchase 11/28 Apele.Com/Bill 866-712-7753 CA Card 7957                                    17.19
11/29    Card Purchase With Pin 11/29 Tmobile Auto Pay Bellevue WA Card 7957                                      216.92
11/30    Card Purchase        11/29 Amzn Mktp US*3S0Z685 Amzn.Com/Bill WA Card 7957                                13.40
11/30    Card Purchase        11/29 Amzn Mktp US*5E7Hz24 Amzn.Com/Bill WA Card 7957                                15.39
11/30    Card Purchase        11/30 Amazon.Com*I02S57Kl3 Amzn.Com/Bill WA Card 7957                                23.68
Total ATM & Debit Card Withdrawals                                                                           $4,492.74



I ATM & DEBIT CARD SUMMARY 1--I- - - - - - - - - - - - -

Michael A Wolf Card 7957
                       Total ATM Withdrawals & Debits                                                           $0.00
                       Total Card Purchases                                                                 $4,492.74
                       Total Card Deposits & Credits                                                            $0.00


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        CHASEO                                                                November 01, 2023 through November 30, 2023
                                                                               Account Number:                     2511


ATM & Debit Card Totals
                        Total ATM Withdrawals & Debits                                                                $0.00
                        Total Card Purchases                                                                      $4,492.74
                        Total Card Deposits & Credits                                                                 $0.00

!ELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION                                                                                                    AMOUNT
                                                                                                                                  -
                                                                                                                                  ==
11/01    Orig CO Name:Pwp Concierge C           Orig ID: 626060084 Desc Date:     CO Entry                              $750.00
         Descr:Privacycomsec:Web Trace#:021115085383887 Eed:231101 Ind ID:TN: 1162807
         Ind Name:(844) 771-8229 Trn: 3055383887Tc
                                                                                                                                  =
11/02    Orig CO Name:Pwp Google Gsu            Orig ID: 626060084 Desc Date:     CO Entry                                36.00
         Descr:Privacycomsec:Web Trace#:021115086148089 Eed:231102 Ind ID:TN: 1216768                                             =
11/03
         Ind Name:(844) 771-8229 Trn: 3066148089Tc
         Orig CO Name:Pwp Google *Gsu           Orig ID: 626060084 Desc Date:     CO Entry                                21.60
                                                                                                                                  -
                                                                                                                                  =
         Descr: Privacycomsec:Web Trace#:021115082671390 Eed:231103 Ind ID:TN: 5936205
         Ind Name:(844) 771-8229 Trn: 3072671390Tc
11/03    Orig CO Name:Pwp Pocket             Orig ID: 626060084 Desc Date:     CO Entry                                    4.99
         Descr:Privacycomsec:Web Trace#:021115082671100 Eed:231103 Ind ID:TN: 1056232
         Ind Name:(844) 771-8229 Trn: 3072671100Tc
11/03    Orig CO Name:Thebainbridge-10         Orig ID:9000326709 Desc Date:110323 CO Entry                         2,864.58
         Descr:Web Pmts Sec:Web Trace#:111924687223023 Eed:231103 Ind ID:Q3Bj4F
         Ind Name:Peterwolf
         805-699-2040 Trn: 3077223023Tc
11 /03   Orig CO Name: Yardi Service Ch       Orig ID: 9000278329 Desc Date: 110323 CO Entry                               0.95
         Descr:Web Pmts Sec:Web Trace#:111924687220676 Eed:231103 Ind ID:Ds3H4F
         Ind Name:Peterwolf
         805-699-2040 Trn: 3077220676Tc
11/06    Orig CO Name:Unitedhealthcare         Orig ID:1836282001 Desc Date:     CO Entry                                197.41
         Descr:Premium Sec:Web Trace#:021000020821318 Eed:231106 Ind ID:3425550781
         Ind Name:Wolf            M Trn: 3100821318Tc
11/06    Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:     CO Entry                                  30.00
         Descr:Privacycomsec:Web Trace#:021115089719100 Eed:231106 Ind ID:TN: 1430967
         Ind Name:(844) 771-8229 Trn: 3109719100Tc
11/06    Orig CO Name:Wepay                 Orig ID:5551232356 Desc Date:231106 CO Entry                                   9.95
         Descr:Payments Sec:PPD Trace#:021000029405982 Eed:231106 Ind ID:25948212
         Ind Name:Michael A Wolf           Nte*Zzz*Acct Recovery\ Trn: 3109405982Tc
11/07    Orig CO Name:Pwp Mmqb.lo              Orig ID: 626060084 Desc Date:     CO Entry                                 19.95
         Descr:Privacycomsec:Web Trace#:021115083810202 Eed:231107 Ind ID:TN: 1158165
         Ind Name:(844) 771-8229 Trn: 3113810202Tc
11/09    Orig CO Name:Pwp Niceboard.C           Orig ID: 626060084 Desc Date:     CO Entry                               179.00
         Descr:Privacycomsec:Web Trace#:021115088796498 Eed:231109 Ind ID:TN: 9304210
         Ind Name:(844) 771-8229 Trn: 3138796498Tc
11/10    11/10 Online Transfer To Chk ... 7880 Transaction#: 18971991946                                            2,000.00
11/13    Orig CO Name:Vw Credit, Inc.        Orig ID:1382362409 Desc Date:231112 CO Entry                             247.10
         Descr:Auto Debitsec:Web Trace#:022000026679502 Eed:231113 Ind ID:000008132333861
         Ind Name:Michael Wolf
         65202311090000000019Trn: 3176679502Tc
11/13    Orig CO Name:Barclaycard US           Orig ID:2510407970 Desc Date:     CO Entry                                200.00
         Descr:Creditcardsec:Web Trace#:026002574902741 Eed:231113 Ind ID:1062334579
         Ind Name:Michael Wolf Trn: 3174902741Tc
11 /13   Orig CO Name: Pwp Adobe Inc.          Orig ID: 626060084 Desc Date:     CO Entry                                 39.99
         Descr:Privacycomsec:Web Trace#:021115084345305 Eed:231113 Ind ID:TN: 1138055
         Ind Name:(844) 771-8229 Trn: 3174345305Tc
11/13    Orig CO Name:Pwp Ring Unlimi          Orig ID: 626060084 Desc Date:    CO Entry                                  10.70
         Descr:Privacycomsec:Web Trace#:021115084347236 Eed:231113 Ind ID:TN: 5466369
         Ind Name:(844) 771-8229 Trn: 3174347236Tc
11 /14   Orig CO Name: Peace River Elec        Orig ID: 1590395398 Desc Date:     CO Entry                               176.00
         Descr:Bank Draftsec:CCD Trace#:063104925035657 Eed:231114 Ind ID:0204133001
         Ind Name:Mmqb                                                                     Utility Bill
         Trn: 3185035657Tc



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       CHASEO                                                              November 01, 2023 through November 30, 2023
                                                                             Account Number:                    2511



IELECTRONIC WITHDRAWALSl_(c_on_tin_u_ed_~_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                   AMOUNT
11/16   Orig CO Name:Ally Cc             Orig ID:9000002835 Desc Date:       CO Entry Descr:Mobile                    300.00
        Pymsec:Web Trace#:124384609357059 Eed:231116 Ind ID:233190365227221                      Ind
        Name:Michael Wolf Trn: 3209357059Tc
11/16   Orig CO Name:Thd Loan Svcs           Orig ID:2274797123 Desc Date:231115 CO Entry                             200.00
        Descr:Web Pay Sec:CCD Trace#:242071759252027 Eed:231116 Ind ID:Greensky
        Ind Name:Michael Wolf
        8669360602 Trn: 3209252027Tc
11/16   Orig CO Name:Pwp Chatgpt Sub           Orig ID: 626060084 Desc Date:      CO Entry                             20.00
        Descr:Privacycomsec:Web Trace#:021115089296972 Eed:231116 Ind ID:TN: 6611487
        Ind Name:(844) 771-8229 Trn: 3209296972Tc
11/17   Orig CO Name:Pwp Chargepoint          Orig ID: 626060084 Desc Date:      CO Entry                              20.00
        Descr:Privacycomsec:Web Trace#:021115084922146 Eed:231117 Ind ID:TN: 2765048
        Ind Name:(844) 771-8229 Trn: 3214922146Tc
11/17   Orig CO Name:Pwp lnvoiceninj        Orig ID: 626060084 Desc Date:       CO Entry                               10.00
        Descr:Privacycomsec:Web Trace#:021115084922352 Eed:231117 Ind ID:TN: 1220811
        Ind Name:(844) 771-8229 Trn: 3214922352Tc
11/20   Orig CO Name:Bmw Bank               Orig ID:0870631885 Desc Date:231119 CO Entry                              817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000025488428 Eed:231120 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 3245488428Tc
11/20   Orig CO Name:Pwp Geico *Aut          Orig ID: 626060084 Desc Date:       CO Entry                             271.00
        Descr:Privacycomsec:Web Trace#:021115086181678 Eed:231120 Ind ID:TN: 4653070
        Ind Name:(844) 771-8229 Trn: 3246181678Tc
11/20   Orig CO Name:Pwp Chargepoint          Orig ID: 626060084 Desc Date:      CO Entry                              20.00
        Descr:Privacycomsec:Web Trace#:021115086181005 Eed:231120 Ind ID:TN: 8387303
        Ind Name:(844) 771-8229 Trn: 3246181005Tc
11/20   Orig CO Name:Pwp Moonbeam              Orig ID: 626060084 Desc Date:       CO Entry                            18.00
        Descr:Privacycomsec:Web Trace#:021115086181944 Eed:231120 Ind ID:TN: 2345109
        Ind Name:(844) 771-8229 Trn: 3246181944Tc
11/20   Orig CO Name:Pwp Sunpass*Acc            Orig ID: 626060084 Desc Date:      CO Entry                            10.00
        Descr:Privacycomsec:Web Trace#:021115086182190 Eed:231120 Ind ID:TN: 1452079
        Ind Name:(844) 771-8229 Trn: 3246182190Tc
11/20   Orig CO Name:Pwp Alivecor IN         Orig ID: 626060084 Desc Date:      CO Entry                                 9.99
        Descr:Privacycomsec:Web Trace#:021115086181120 Eed:231120 Ind ID:TN: 9361078
        Ind Name:(844) 771-8229 Trn: 3246181120Tc
11/20   Orig CO Name:Pwp Memberful.C           Orig ID: 626060084 Desc Date:      CO Entry                            103.60
        Descr:Privacycomsec:Web Trace#:021115081804728 Eed:231120 Ind ID:TN: 1626216
        Ind Name:(844) 771-8229 Trn: 3241804728Tc
11/20   11/20 Online Transfer To Chk ... 7880 Transaction#: 19066142615                                              2,000.00
11/21   Orig CO Name:Fpl Direct Debit       Orig ID:3590247775 Desc Date:11/23 CO Entry                                119.32
        Descr:Elec Pymt Sec:Web Trace#:111000013965878 Eed:231121 Ind ID:4842986087 Webi
        Ind Name:Scott Wolf
        000000000000O0000000Trn: 3253965878Tc
11/22   Orig CO Name:Pwp Visible           Orig ID: 626060084 Desc Date:       CO Entry                                25.00
        Descr:Privacycomsec:Web Trace#:021115081487777 Eed:231122 Ind ID:TN: 1714471
        Ind Name:(844) 771-8229 Trn: 3261487777Tc
11/24   Orig CO Name:Home Depot              Orig ID:Citiautfdr Desc Date:231122 CO Entry Descr:Auto                   29.00
        Pymt Sec:Web Trace#:122402151194337 Eed:231124 Ind ID:721203447270340
        Ind Name:Michael Wolf Trn: 3281194337Tc
11/27   Orig CO Name:Pwp Niceboard.C           Orig ID: 626060084 Desc Date:      CO Entry                            808.98
        Descr:Privacycomsec:Web Trace#:021115086662462 Eed:231127 Ind ID:TN: 1483939
        Ind Name:(844) 771-8229 Trn: 3316662462Tc
11/27   Orig CO Name:Pwp Notion Labs          Orig ID: 626060084 Desc Date:      CO Entry                              80.00
        Descr:Privacycomsec:Web Trace#:021115086662624 Eed:231127 Ind ID:TN: 1185042
        Ind Name:(844) 771-8229 Trn: 3316662624Tc
11/27   Orig CO Name:Pwp Adobe *Cre            Orig ID: 626060084 Desc Date:      CO Entry                             54.99
        Descr:Privacycomsec:Web Trace#:021115086662012 Eed:231127 Ind ID:TN: 4667568
        Ind Name:(844) 771-8229 Trn: 3316662012Tc
11/27   Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:      CO Entry                              5.00
        Descr:Privacycomsec:Web Trace#:021115086662636 Eed:231127 Ind ID:TN: 7257511
        Ind Name:(844) 771-8229 Trn: 3316662636Tc

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        CHASEO                                                                                   November 01, 2023 through November 30, 2023
                                                                                                  Account Number:                           2511




JELECTRONIC WITHDRAWALSJ_<c_on_un_u_ed_~_ _ _ _ _ _ _ _ _ _ _ __
 DATE        DESCRIPTION                                                                                                                         AMOUNT
11/27        Orig CO Name:Pwp Publicate        Orig ID: 626060084 Desc Date:    CO Entry                                                          490.00
             Descr:Privacycomsec:Web Trace#:021115080234654 Eed:231127 Ind ID:TN: 5524140
                                                                                                                                                             =
11/28
             Ind Name:(844) 771-8229 Trn: 3310234654Tc
             Orig CO Name:Pwp Openphone           Orig ID: 626060084 Desc Date:   CO Entry                                                         10.00     =
                                                                                                                                                             =
             Descr:Privacycomsec:Web Trace#:021115086233024 Eed:231128 Ind ID:TN: 1773640
             Ind Name:(844) 771-8229 Trn: 3326233024Tc                                                                                                       ====
11/29        Orig CO Name:Comenity Pay OH         Orig ID:1651180275 Desc Date:112823 CO Entry                                                    657.00
             Descr:Web Pymt Sec:Web Trace#:242071751204127 Eed:231129 Ind                                                                                    =
             ID:P23332262779937           Ind Name:Michael Wolf
             800-395-5714 Trn: 3331204127Tc
11/29        Orig CO Name:Pwp Frontier CO       Orig ID: 626060084 Desc Date:    CO Entry                                                          99.99
             Descr:Privacycomsec:Web Trace#:021115082227437 Eed:231129 Ind ID:TN: 1730357
             Ind Name:(844) 771-8229 Trn: 3332227437Tc
11/30        Orig CO Name:Mdvip, Inc         Orig ID:0009122507 Desc Date:231129 CO Entry                                                         450.00
             Descr:8778861411 Sec:Web Trace#:021000027 470195 Eed:231130 Ind ID:
             Ind Name:Michael Wolf
             2630628530315Trn: 3347470195Tc
 11/30       Orig CO Name:Pwp Proton           Orig ID: 626060084 Desc Date:    CO Entry                                                           12.99
             Descr: Privacycomsec: Web Trace#:021115082875010 Eed:231130 Ind ID:TN: 1664129
             Ind Name:~844) 771-8229 Trn: 3342875010Tc
Total Electronic Withdrawals                                                                                                              $13,430.58


I DAILy ENDING BALANCE I
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                               AMOUNT
11/01                       $23,786.86                 11/10                         23,267.72                11/21                              18,735.59
11/02                         23,623.16                11/13                         22,942.67                11/22                              20,844.99
11/03                         21,652.74                11/14                         22,682.00                11/24                              24,659.83
11/06                         21,259.38                11/15                         22,660.61                11/27                              24,439.12
11/07                         20,951.58                11/16                         21,890.37                11/28                              24,261.13
11/08                         25,562.84                11/17                         22,598.71                11/29                              24,393.14
11/09                         25,304.05                11/20                         19,153.38                11/30                              23,877.68



 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only:We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •      Your name and account number;
         •      A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •      The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                   Page 7 of 8
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CHASEO                                                    November 01, 2023 through November 30, 2023
                                                              Account Number:                  2511




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            CHASEO                                                               December 01, 2023 through December 29, 2023
           JPMorgan Chase Bank, N.A.
           PO Box 182051                                                          Account Number:                     2511
           Columbus, OH 43218 -2051

                                                                                CUSTOMER SERVICE INFORMATION
                                                                               Web site:                       Chase.com
                                                                               Service Center:             1-800-242-7338
        00339355 DRE 021 210 36423 NNNNNNNNNNN 1 000000000 64 0000             Para Espanol:               1-888-622-4273
        MICHAEL WOLF                                                           International Calls:        1-713-262-1679
        11509 GRAMERCY PARK AVE                                                We accept operator relay calls
        BRADENTON FL 34211-8461




ICHECKING SUMMARY I Chase Business Complete Checking
                                                  INSTANCES                    AMOUNT
    Beginning Balance                                                      $23,877.68
    Deposits and Additions                               20                 18,768.96
    ATM & Debit Card Withdrawals                         48                 -4,041.41
    Electronic Withdrawals                               44                -15,846.21
    Ending Balance                                      112                $22,759.02


Congratulations, we waived the $15 Monthly Service Fee for this statement period, based on your qualifying activity.
How to Avoid the Monthly Service Fee (MSF)
If you meet any of the following qualifying activities for this Chase Business Complete Checking 8 Maccount in a statement
period, we will waive the $15 MSF.

Here's the business activity we used to determine if you qualified for the MSF waiver:
    •    $2,000 Minimum Daily Ending Balance: Your lowest daily ending balance was $16,764.56.
    •    $2,000 Chase Pa~ment Solutions8 MActivity: $0.00 was deposited into this account.
    •    $2,000 Chase Ink Business Card Activity: $0.00 was your total Ink activity.

You can also avoid the MSF if you:
    •   Maintain a linked Chase Private Client Checking 8 Maccount OR
    •   Meet Chase Military Banking requirements
For complete details on all requirements to avoid the MSF, please review the Additional Banking Services and Fees for
Business Accounts at chase.com/business/disclosures or visit a Chase branch.


1   DEPOSITS AND ADDITIONSt--1- - - - - - - - - - - - - -
    DATE          DESCRIPTION                                                                                              AMOUNT
    12/05         Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                              $771.72
                  Descr:Transfer Sec:CCD     Trace#:091000015822125 Eed:231205 Ind
                  ID: St-L2S8E6Z9N3W8             Ind Name:Mmqb Trn: 3395822125Tc
    12/05         Orig CO Name:Stripe              Orig ID: 1800948598 Desc Date:    CO Entry                               290.03
                  Descr:Transfer Sec:CCD     Trace#:091000015879329 Eed:231205 Ind
                  ID: St-Z5E9A6H4N7T5            Ind Name:Mmgb Trn: 3395879329Tc
    12/05         Orig CO Name:Stripe              Orig ID:4270465600 Desc Date:     CO Entry                                66.92
                  Descr:Transfer Sec:CCD     Trace#:111000021866998 Eed:231205 Ind
                  ID: St-N3G8I5K0S2E2           Ind Name:Mmqb Trn: 3391866998Tc
    12/06         Orig CO Name:Stripe              Orig ID:1800948598 Desc Date:     CO Entry                               179.18
                  Descr:Transfer Sec:CCD     Trace#:091000011231874 Eed:231206 Ind
                  ID:St-W1 U2Q7S0L5R7              Ind Name:Michael Wolf Trn: 3401231874Tc



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            CHASEO                                                         December 01, 2023 through December 29, 2023
                                                                             Account Number:                    2511



J   DEPOSITS AND ADDITIONS 1-(_co_nti_·nu_ed_~_ _ _ _ _ _ _ _ _ _ _ _ __
    DATE       DESCRIPTION                                                                                           AMOUNT
    12/07      Orig CO Name:Stripe          Orig ID: 1800948598 Desc Date:   CO Entry                                182.17
               Descr:Transfer Sec:CCD   Trace#:091000015863683 Eed:231207 Ind
               ID: St-O4F3V2N7 A1X9        Ind Name:Michael Wolf Trn: 3415863683Tc
    12/08      Orig CO Name:Stripe          Orig ID: 1800948598 Desc Date:   CO Entry                                 18.97
               Descr:Transfer Sec:CCD   Trace#:091000017202396 Eed:231208 Ind
               ID:St-Y4X9L8H2D0Y9          Ind Name:Michael Wolf Trn: 3427202396Tc
    12/11      Deposit     2026348619                                                                            2,050.00
    12/13      Orig CO Name:Stripe            Orig ID:1800948598 Desc Date:    CO Entry                          1,155.63
               Descr:Transfer Sec:CCD   Trace#:091000015828970 Eed:231213 Ind
               ID: St-K7F0E8L5A4S2         Ind Name:Mmqb Trn: 3475828970Tc
    12/13      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:   CO Entry                          1,154.59
               Descr:Transfer Sec:CCD   Trace#:091000015828323 Eed:231213 Ind
               ID:St-T8Y8P1 E3D5B5          Ind Name:Mmqb Trn: 3475828323Tc
    12/13      Orig CO Name:Stripe            Orig ID:4270465600 Desc Date:    CO Entry                              182.04
               Descr:Transfer Sec:CCD   Trace#:111000024947541 Eed:231213 Ind
               ID:St-V2W7P9I6C9U6           Ind Name:Mmqb Trn: 3474947541Tc
    12/18      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:   CO Entry                              364.34
               Descr:Transfer Sec:CCD   Trace#:091000016083251 Eed:231218 Ind
               ID:St-Y8O3N6W9T8J1            Ind Name:Michael Wolf Trn: 3526083251Tc
    12/19      Orig CO Name:Stripe            Orig ID: 1800948598 Desc Date:   CO Entry                              627.60
               Descr:Transfer Sec:CCD   Trace#:091000013213621 Eed:231219 Ind
               ID: St-L5I3H9Y3C6J5        Ind Name:Michael Wolf Trn: 3533213621Tc
    12/19      Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:  CO Entry                              192.93
               Descr:Transfer Sec:CCD   Trace#:091000013247369 Eed:231219 Ind
               ID: St-A4X5Y8C5Z7X2          Ind Name:Mmqb Trn: 3533247369Tc
    12/19      Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:   CO Entry                               19.07
               Descr:Transfer Sec:CCD   Trace#: 111000025947277 Eed:231219 Ind
               ID:St-X1 Q8K5I5M5F9         Ind Name:Mmqb Trn: 3535947277Tc
    12/20      Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:   CO Entry                               28.78
               Descr:Transfer Sec:CCD   Trace#: 111000027354703 Eed:231220 Ind
               ID: St-E6X3K8K2C4K2          Ind Name:Mmqb Trn: 3547354703Tc
    12/22      Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:  CO Entry                          8,003.48
               Descr:Transfer Sec:CCD   Trace#:091000015425447 Eed:231222 Ind
               ID: St-K6I9K0E2H8M9         Ind Name:Michael Wolf Trn: 3565425447Tc
    12/28      Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:  CO Entry                          1,923.32
               Descr:Transfer Sec:CCD   Trace#:091000011346167 Eed:231228 Ind
               ID:St-W6F2B8O7 A8P4            Ind Name:Mmgb Trn: 3621346167Tc
    12/28      Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:  CO Entry                              870.09
               Descr:Transfer Sec:CCD   Trace#:091000011347569 Eed:231228 Ind
               ID:St-E8Y7M8I7N1 U5         Ind Name:Mmqb Trn: 3621347569Tc
    12/28      Orig CO Name:Stripe             Orig ID:4270465600 Desc Date:   CO Entry                              505.93
               Descr:Transfer Sec:CCD   Trace#: 111000024684595 Eed:231228 Ind
               ID: St-F8V9D8R0K4G5           Ind Name:Mmqb Trn: 3624684595Tc
    12/29      Orig CO Name:Stripe             Orig ID: 1800948598 Desc Date:  CO Entry                              182.17
               Descr:Transfer Sec:CCD   Trace#:091000014261024 Eed:231229 Ind
               ID:St-U6E1 S9A5L1Q9           Ind Name:Michael Wolf Trn: 3634261024Tc
    Total Deposits and Additions                                                                              $18,768.96


!ATM & DEBIT CARD WITHDRAWALS!
    DATE     DESCRIPTION                                                                                             AMOUNT
    12/01    Recurring Card Purchase 11/30 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                           $80.50
    12/04    Card Purchase       12/01 Amzn Mktp US*1C5T11Y Amzn.Com/Bill WA Card 7957                                63.12
    12/04    Card Purchase       12/01 Pwp*Privacy.Com Busine 844-7718229 NY Card 7957                                10.00
    12/04    Card Purchase       12/04 Amzn Mktp US*Uy26F26 Amzn.Com/Bill WA Card 7957                                21.39
    12/05    Card Purchase       12/04 Amzn Mktp US*Zz2H46A Amzn.Com/Bill WA Card 7957                                25.66
    12/06    Card Purchase       12/05 Amzn Mktp US*Qh96P10 Amzn.Com/Bill WA Card 7957                                44.93


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JATM & DEBIT CARD WITHDRAWALSJ (continued)
DATE    DESCRIPTION                                                                                            AMOUNT
12/06   Card Purchase       12/05 Tmobile*Web Order 800-672-5390 WA Card 7957                                     35.00
12/06   Card Purchase       12/05 Tmobile*Web Order 800-672-5390 WA Card 7957                                      2.45   =====
                                                                                                                          =
12/07   Card Purchase       12/07 Amzn Mktp US*Kv4K16Q Amzn.Com/Bill WA Card 7957                                 31.66   =
12/07
12/07
        Card Purchase
        Card Purchase
                            12/07 Amzn Mktp US*Tj8Pp1 I Amzn. Com/Bill WA Card 7957
                            12/07 Amzn Mktp US*Ra0Xs2U Amzn.Com/Bill WA Card 7957
                                                                                                                  24.60
                                                                                                                  20.20
                                                                                                                          ==
                                                                                                                          ===
12/08   Recurring Card Purchase 12/07 Apple.Com/Bill 866-712-7753 CA Card 7957                                    18.99   -
12/11   Card Purchase       12/08 Wyndham 407-6172645 FL Card 7957                                               129.25
                                                                                                                          =
12/11
12/11
        Card Purchase       12/10 Wyndham 407-6172645 FL Card 7957
        Recurring Card Purchase 12/10 Apple.Com/Bill 866-712-7753 CA Card 7957
                                                                                                                   4.84
                                                                                                                  10.69
                                                                                                                          =
                                                                                                                          =
                                                                                                                          =
12/12   Card Purchase       12/12 Amzn Mktp US*Xx2Mw2U Amzn.Com/Bill WA Card 7957                                  9.58   =====
12/12   Recurring Card Purchase 12/12 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 7957                             30.00
12/13   Card Purchase       12/12 Amzn Mktp US*T63Pi0W Amzn.Com/Bill WA Card 7957                                 17.11
12/14   Recurring Card Purchase 12/14 Apple.Com/Bill 866-712-7753 CA Card 7957                                     9.98
12/18   Recurring Card Purchase 12/15 Audible*Fh8PA7Gf3 Amzn.Com/Bill NJ Card 7957                                14.95
12/18   Recurring Card Purchase 12/16 Apple. Com/Bill 866-712-7753 CA Card 7957                                    4.27
12/18   Recurring Card Purchase 12/16 Apple.Com/Bill 866-712-7753 CA Card 7957                                    40.25
12/18   Card Purchase        12/18 Amzn Mktp US*Ax1Dm93 Amzn.Com/Bill WA Card 7957                                58.84
12/19   Recurring Card Purchase 12/18 Covenant Health Produc 800-6276518 NC Card 7957                             45.59
12/19   Card Purchase With Pin 12/19 Rei #230 Palm Beach Palm Beach Gd FL Card 7957                               64.15
12/20   Card Purchase       12/19 Trump National Doral - Miami FL Card 7957                                       53.50
12/21   Card Purchase        12/21 Apple.Com/Bill 866-712-7753 CA Card 7957                                       20.00
12/22   Recurring Card Purchase 12/22 Apple.Com/Bill 866-712-7753 CA Card 7957                                    15.53
12/22   Card Purchase With Pin 12/22 Wm Superc Wal-Mart Sup Bradenton FL Card 7957                                64.30
12/26   Recurring Card Purchase 12/23 Apple.Com/Bill 866-712-7753 CA Card 7957                                    13.31
12/26   Card Purchase        12/23 Amzn Mktp US*714196O Amzn. Com/Bill WA Card 7957                               40.39
12/26   Card Purchase        12/26 Amzn Mktp US*2N4W443 Amzn.Com/Bill WA Card 7957                                49.99
12/26   Card Purchase With Pin 12/23 Costco Whse #1364 Bradenton FL Card 7957                                     78.04
12/26   Card Purchase        12/24 Amzn Mktp US*D60Wr2E Amzn.Com/Bill WA Card 7957                                32.09
12/26   Recurring Card Purchase 12/24 Apple.Com/Bill 866-712-7753 CA Card 7957                                    15.99
12/26   Card Purchase        12/24 Amazon Kids+*Ci91Z26W 888-802-3080 WA Card 7957                                 4.99
12/26   Card Purchase        12/26 Amzn Mktp US*707069G Amzn.Com/Bill WA Card 7957                                85.25
12/26   Card Purchase With Pin 12/26 The Home Depot #6319 Bradenton FL Card 7957                                 158.29
12/26   Card Purchase With Pin 12/26 Wholefds Ute #10 5298 Sarasota FL Card 7957                                 190.28
12/27   Card Purchase        12/27 Amzn Mktp US*3Z5203U Amzn.Com/Bill WA Card 7957                                77.04
12/27   Card Purchase        12/26 Veteran Air Conditioni 941-4041788 FL Card 7957                             2,000.00
12/27   Card Purchase        12/27 Amzn Mktp US*0951Y5Z Amzn.Com/Bill WA Card 7957                                45.80
12/27   Card Purchase        12/27 Amzn Mktp US*Lt3Ep8W Amzn. Com/Bill WA Card 7957                               41.72
12/28   Recurring Card Purchase 12/27 Wdw Ap Monthly Payment 888-7014100 CA Card 7957                             80.50
12/28   Card Purchase        12/28 Amzn Mktp US*Uv21L39 Amzn.Com/Bill WA Card 7957                                52.00
12/29   Recurring Card Purchase 12/28 Apple.Com/Bill 866-712-7753 CA Card 7957                                    17.19
12/29   Card Purchase        12/29 Amzn Mktp US*Si4P100 Amzn.Com/Bill WA Card 7957                                17.50
12/29   Card Purchase        12/29 Amzn Mktp US*J84Ns5G Amzn.Com/Bill WA Card 7957                                69.71
Total ATM & Debit Card Withdrawals                                                                        $4,041.41



1ATM & DEBIT CARD SUMMARY 1 - - - - - - - - - - - - -
Michael A Wolf Card 7957
                      Total ATM Withdrawals & Debits                                                         $0.00
                      Total Card Purchases                                                               $4,041.41
                      Total Card Deposits & Credits                                                          $0.00

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ATM & Debit Card Totals
                        Total ATM Withdrawals & Debits                                                                  $0.00
                        Total Card Purchases                                                                        $4,041.41
                        Total Card Deposits & Credits                                                                   $0.00

IELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION                                                                                                      AMOUNT
12/01    Zelle Payment To Peter Wolf Jpm99A5Sh5F7                                                                    $3,000.00
12/01    12/01 Online Transfer To Chk ... 7880 Transaction#: 19154155982                                              1,000.00
12/04    Orig CO Name:Thebainbridge-10          Orig ID:9000326709 Desc Date:120423 CO Entry                          2,844.57
         Descr:Web Pmts Sec:Web Trace#:111924680969932 Eed:231204 Ind ID:Ngffbf
         Ind Name:Peterwolf
         805-699-2040 Trn: 3380969932Tc
12/04    Orig CO Name:Pwp Google *Gsu            Orig ID: 626060084 Desc Date:     CO Entry                                 36.00
         Descr:Privacycomsec:Web Trace#:021115081635495 Eed:231204 Ind ID:TN: 1154640
         Ind Name:(844) 771-8229 Trn: 3381635495Tc
12/04    Orig CO Name:Pwp Intuit *Qbo         Orig ID: 626060084 Desc Date:     CO Entry                                    30.00
         Descr: Privacycomsec:Web Trace#:021115081635015 Eed:231204 Ind I D:TN: 1374973
         Ind Name:(844) 771-8229 Trn: 3381635015Tc
12/04    Orig CO Name:Pwp Google *Gsu            Orig ID: 626060084 Desc Date:     CO Entry                                 21.60
         Descr:Privacycomsec:Web Trace#:021115081635497 Eed:231204 Ind ID:TN: 1241448
         Ind Name:(844) 771-8229 Trn: 3381635497Tc
12/04    Orig CO Name:Pwp Pocket              Orig ID: 626060084 Desc Date:     CO Entry                                     4.99
         Descr:Privacycomsec:Web Trace#:021115081635210 Eed:231204 Ind ID:TN: 4948594
         Ind Name:(844) 771-8229 Trn: 3381635210Tc
12/04    Orig CO Name:Yardi Service Ch         Orig ID:9000278329 Desc Date:120423 CO Entry                                  0.95
         Descr:Web Pmts Sec:Web Trace#:111924680969040 Eed:231204 Ind ID:W96Dbf
         Ind Name:Peterwolf
         805-699-2040 Trn: 3380969040Tc
12/05    Orig CO Name:Unitedhealthcare          Orig ID:1836282001 Desc Date:     CO Entry                                 197.41
         Descr:Premium Sec:Web Trace#:021000029378091 Eed:231205 Ind ID:3425550781
         Ind Name:Wolf             M Trn: 3399378091Tc
12/05    Orig CO Name:Pwp Www Costco              Orig ID: 626060084 Desc Date:     CO Entry                               299.58
         Descr:Privacycomsec:Web Trace#:021115086924996 Eed:231205 Ind ID:TN: 1702990
         Ind Name:(844) 771-8229 Trn: 3396924996Tc
12/06    Orig CO Name:Wepay                  Orig ID:5551232356 Desc Date:231206 CO Entry                                    9.95
         Descr:Payments Sec:PPD Trace#:021000020511766 Eed:231206 Ind ID:26403710
         Ind Name:Michael A Wolf            Nte*Zzz*Acct Recovery\ Trn: 3400511766Tc
12/07    Orig CO Name:Pwp Mmqb.lo               Orig ID: 626060084 Desc Date:    CO Entry                                   19.95
         Descr:Privacycomsec:Web Trace#:021115085609787 Eed:231207 Ind ID:TN: 1762099
         Ind Name: (844) 771-8229 Trn: 3415609787Tc
12/08    Orig CO Name:Pwp Monocle              Orig ID: 626060084 Desc Date:     CO Entry                                  202.27
         Descr:Privacycomsec:Web Trace#:021115082139415 Eed:231208 Ind ID:TN: 7032680
         Ind Name:(844) 771-8229 Trn: 3422139415Tc
12/11    Orig CO Name:Pwp Adobe *Cre             Orig ID: 626060084 Desc Date:    CO Entry                                  39.99
         Descr:Privacycomsec:Web Trace#:021115082785967 Eed:231211 Ind ID:TN: 6795038
         Ind Name:(844) 771-8229 Trn: 3452785967Tc
12/11    Orig CO Name:Pwp Ring Unlimi           Orig ID: 626060084 Desc Date:    CO Entry                                   10.70
         Descr: Privacycomsec: Web Trace#:021115082785924 Eed:231211 Ind ID:TN: 1310460
         Ind Name:(844) 771-8229 Trn: 3452785924Tc
12/12    Orig CO Name:Vw Credit, Inc.         Orig ID:1382362409 Desc Date:231212 CO Entry                                 247.10
          Descr: Auto Debitsec:Web Trace#: 022000029266250 Eed:231212 Ind I D:000008132333861
          Ind Name:Michael Wolf
         65202312080000000010Trn: 3469266250Tc
12/12    Orig CO Name:Peace River Elec          Orig ID:1590395398 Desc Date:     CO Entry                                 130.00
          Descr:Bank Draftsec:CCD Trace#:063104926394774 Eed:231212 Ind ID:0204133001
         Ind Name:Mmqb                                                                       Utility Bill
         Trn: 3466394774Tc
12/13     12/13 Online Transfer To Chk ... 7880 Transaction#: 19273538631                                                 1,000.00



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!ELECTRONIC WITHDRAWALSl_(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                    AMOUNT
12/18   Orig CO Name:Ally Cc             Orig ID:9000002835 Desc Date:       CO Entry Descr:Mobile                     225.00
        Pymsec:Web Trace#:124384602216628 Eed:231218 Ind ID:233490370199119                      Ind
        Name:Michael Wolf Trn: 3522216628Tc
                                                                                                                                ====:
12/18   Orig CO Name:Thd Loan Svcs           Orig ID:2274797123 Desc Date:231215 CO Entry
        Descr:Web Pay Sec:CCD Trace#:242071751652758 Eed:231218 Ind ID:Greensky
                                                                                                                       200.00
                                                                                                                                ===
        Ind Name:Michael Wolf
        8669360602 Trn: 3521652758Tc
12/18   Orig CO Name:Pwp Chatgpt Sub           Orig ID: 626060084 Desc Date:      CO Entry                              20.00
        Descr:Privacycomsec:Web Trace#:021115086649927 Eed:231218 Ind ID:TN: 8744921
        Ind Name:(844) 771-8229 Trn: 3526649927Tc                                                                               ===
                                                                                                                                =
12/18   Orig CO Name:Pwp lnvoiceninj        Orig ID: 626060084 Desc Date:       CO Entry                                10.00   =
        Descr:Privacycomsec:Web Trace#:021115086650599 Eed:231218 Ind ID:TN: 1329778
        Ind Name:(844) 771-8229 Trn: 3526650599Tc
                                                                                                                                =
12/18   Orig CO Name:Pwp Sunpass*Acc            Orig ID: 626060084 Desc Date:      CO Entry                             10.00
        Descr:Privacycomsec:Web Trace#:021115086650659 Eed:231218 Ind ID:TN: 1327087
        Ind Name:(844) 771-8229 Trn: 3526650659Tc
12/18   Orig CO Name:Pwp Geico *Aut          Orig ID: 626060084 Desc Date:       CO Entry                              271.00
        Descr:Privacycomsec:Web Trace#:021115084039792 Eed:231218 Ind ID:TN: 1594265
        Ind Name:(844) 771-8229 Trn: 3524039792Tc
12/18   12/18 Online Transfer To Chk ... 7880 Transaction#: 19331084787                                            1,000.00
12/19   Orig CO Name:Pwp Moonbeam               Orig ID: 626060084 Desc Date:      CO Entry                           18.00
        Descr:Privacycomsec:Web Trace#:021115083111289 Eed:231219 Ind ID:TN: 1476706
        Ind Name:(844) 771-8229 Trn: 3533111289Tc
12/20   Orig CO Name:Bmw Bank               Orig ID:0870631885 Desc Date:231219 CO Entry                               817.50
        Descr:Bmwfs Pymtsec:PPD Trace#:021000029303715 Eed:231220 Ind ID:
        Ind Name:Michael Wolf1004495593 Trn: 3549303715Tc
12/20   Orig CO Name:Pwp Alivecor IN         Orig ID: 626060084 Desc Date:      CO Entry                                 9.99
        Descr:Privacycomsec:Web Trace#:021115088724077 Eed:231220 Ind ID:TN: 1259369
        Ind Name:(844) 771-8229 Trn: 3548724077Tc
12/21   Orig CO Name:Pwp Memberful.C           Orig ID: 626060084 Desc Date:       CO Entry                            100.80
        Descr:Privacycomsec:Web Trace#:021115082136557 Eed:231221 Ind ID:TN: 1535382
        Ind Name:(844) 771-8229 Trn: 3552136557Tc
12/22   Orig CO Name:Pwp Visible           Orig ID: 626060084 Desc Date:       CO Entry                                 25.00
        Descr:Privacycomsec:Web Trace#:021115085244954 Eed:231222 Ind ID:TN: 1773931
        Ind Name:(844) 771-8229 Trn: 3565244954Tc
12/26   Orig CO Name:Home Depot              Orig ID:Citiautfdr Desc Date:231222 CO Entry Descr:Auto                    29.00
        Pymt Sec:Web Trace#:122402152873057 Eed:231226 Ind ID:721230267700426
        Ind Name:Michael Wolf Trn: 3602873057Tc
12/26   Orig CO Name:Pwp Notion Labs          Orig ID: 626060084 Desc Date:      CO Entry                               80.00
        Descr:Privacycomsec:Web Trace#:021115087601007 Eed:231226 Ind ID:TN: 1504644
        Ind Name:(844) 771-8229 Trn: 3607601007Tc
12/26   Orig CO Name:Pwp Adobe *Cre            Orig ID: 626060084 Desc Date:      CO Entry                              54.99
        Descr:Privacycomsec:Web Trace#:021115087600785 Eed:231226 Ind ID:TN: 1408253
        Ind Name:(844) 771-8229 Trn: 3607600785Tc
12/26   Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:      CO Entry                              11.50
        Descr:Privacycomsec:Web Trace#:021115087601240 Eed:231226 Ind ID:TN: 2402712
        Ind Name:(844) 771-8229 Trn: 3607601240Tc
12/26   Orig CO Name:Pwp Extravm* Ex           Orig ID: 626060084 Desc Date:      CO Entry                               5.00
        Descr:Privacycomsec:Web Trace#:021115087601241 Eed:231226 Ind ID:TN: 5965171
        Ind Name:(844) 771-8229 Trn: 3607601241Tc
12/28   Orig CO Name:Pwp Frontier CO          Orig ID: 626060084 Desc Date:      CO Entry                               99.99
        Descr:Privacycomsec:Web Trace#:021115081495223 Eed:231228 Ind ID:TN: 1016754
        Ind Name:(844) 771-8229 Trn: 3621495223Tc
12/28   Orig CO Name:Pwp Nic*-FL Sun          Orig ID: 626060084 Desc Date:       CO Entry                              50.00
        Descr:Privacycomsec:Web Trace#:021115081495239 Eed:231228 Ind ID:TN: 8318502
        Ind Name:(844) 771-8229 Trn: 3621495239Tc
12/28   Orig CO Name:Pwp Openphone              Orig ID: 626060084 Desc Date:      CO Entry                             10.00
        Descr:Privacycomsec:Web Trace#:021115081495600 Eed:231228 Ind ID:TN: 1114052
        Ind Name:(844) 771-8229 Trn: 3621495600Tc


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        CHASEO                                                                                   December 01, 2023 through December 29, 2023
                                                                                                  Account Number:                           2511




!ELECTRONIC WITHDRA WALSj_<c_on_ti_nu_ed_~_ _ _ _ _ _ _ _ _ _ _ __
 DATE        DESCRIPTION                                                                                                                          AMOUNT
12/28        Orig CO Name:Pwp Www Costco         Orig ID: 626060084 Desc Date:   CO Entry                                                         299.58
             Descr:Privacycomsec:Web Trace#:021115088214423 Eed:231228 Ind ID:TN: 3701437
             Ind Name:(844) 771-8229 Trn: 3628214423Tc
12/29        Orig CO Name:Pwp Www Costco         Orig ID: 626060084 Desc Date:   CO Entry                                                         213.98
             Descr:Privacycomsec:Web Trace#:021115084500583 Eed:231229 Ind ID:TN: 4762062
             Ind Name:(844) 771-8229 Trn: 3634500583Tc
12/29        Orig CO Name:Pwp Beehiiv.Com       Orig ID: 626060084 Desc Date:   CO Entry                                                           99.00
             Descr:Privacycomsec:Web Trace#:021115084500195 Eed:231229 Ind ID:TN: 8251895
             Ind Name:(844) 771-8229 Trn: 3634500195Tc
12/29        Orig CO Name:Pwp Publicate       Orig ID: 626060084 Desc Date:    CO Entry                                                            49.00
             Descr:Privacycomsec:Web Trace#:021115084500275 Eed:231229 Ind ID:TN: 1576417
             Ind Name:(844) 771-8229 Trn: 3634500275Tc
12/29        Orig CO Name:Pwp Notion Labs      Orig ID: 626060084 Desc Date:    CO Entry                                                           41.82
             Descr:Privacycomsec:Web Trace#:021115084500573 Eed:231229 Ind ID:TN: 1106031
             Ind Name:(844) 771-8229 Trn: 3634500573Tc
12/29        Zelle Payment To Peter Wolf Jpm99A7880D6                                                                                            3,000.00
Total Electronic Withdrawals                                                                                                              $15,846.21


I DAILy ENDING BALANCE I
DATE                            AMOUNT                 DATE                             AMOUNT                 DATE                                AMOUNT

12/01                       $19,797.18                 12/12                         18,778.75                12/21                              18,492.80
12/04                        16,764.56                 12/13                         20,253.90                12/22                              26,391.45
12/05                         17,370.58                12/14                         20,243.92                12/26                              25,542.34
12/06                         17,457.43                12/18                         18,753.95                12/27                              23,377.78
12/07                         17,543.19                12/19                         19,465.81                12/28                              26,085.05
12/08                         17,340.90                12/20                         18,613.60                12/29                              22,759.02
12/11                         19,195.43


 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
 you need more information about a transfer listed on the statement or receipt.

 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:

         •     Your name and account number;
         •     A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         •     The amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
 agreement or other applicable agreements that govern your account.

                                                                                                         JPMorgan Chase Bank, N.A. Member FDIC




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